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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   JANE DOES 1 through 11, and JOHN DOES
   1 through 7,

    Plaintiffs,

   v.

   BOARD OF REGENTS of the UNIVERSITY                      No. 21 CV 2637
   OF COLORADO, TODD SALIMAN,
   President of the University of Colorado, in his
   official capacity, DONALD ELLIMAN,
   Chancellor of the University of Colorado                The Hon. Raymond P. Moore
   Anschutz Campus, in his official & personal             U.S. District Judge
   capacity, SHANTA ZIMMER, Senior
   Associate Dean of Medical Education,
   University of Colorado School of Medicine, in
   her official & personal capacity, ERIC
   MEDIAVILLA, Associate Dean for Student
   Affairs, University of Colorado School of
   Dental Medicine, in his official & personal
   capacity, ANN-MICHAEL HOLLAND,
   Master of Science Program Director,
   Department of Anesthesiology, in her official           TRIAL BY JURY DEMANDED
   & personal capacity, JOHN & JANE DOES
   1-9, members of the Vaccine Verify team, in
   their official & personal capacities,

    Defendants.

                VERIFIED AMENDED & SUPPLEMENTAL COMPLAINT
           FOR TEMPORARY AND PERMANENT INJUNCTION AND DAMAGES

          1.      Defendants enacted a policy dividing the staff and students of the University of

   Colorado’s Anschutz Campus into two categories based on their religious beliefs: the “sheep,”

   whose religions taught the approved orthodoxy, were to receive exemptions to the University’s

   COVID vaccine mandate, while the “goats,” who held non-approved religious beliefs, were

   denied exemptions and then fired or expelled.
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          2.      Defendants’ foray into theology went deep, probing and debating the religious

   beliefs of staff and students and imposing value judgments on believers in an Inquisition process

   that further violates the First Amendment.

          3.      Defendants rejected every single request for religious exemption by Plaintiffs and

   others by unapologetically, aggressively enforcing their policy, which allowed exemptions only

   for those who are members of organized religions whose teachings entirely forbid vaccinations.

   At the same time, Defendants granted medical exemptions to the vaccine mandate to Anschutz

   staff and students. And Defendants liberally allowed religious and medical exemptions to staff

   and students of every other University campus, with all or most of those religious exemptions

   granted summarily, without any review or testing of sincerity at all.

          4.      Plaintiffs are staff and students of the Anschutz Campus, dedicated to the health

   and well-being of the people of Colorado. Plaintiffs respectively embrace a variety of faith

   traditions, and each of them has a sincere religious objection to the currently available COVID

   vaccines.

          5.      After rejecting all submitted religious exemption requests, Defendants received

   several demand letters in September 2021, on behalf of staff and students, highlighting the illegal

   and unconstitutional nature of their policy, which had purported to require vaccination by

   September 1. In response, Defendants neither reconsidered their decisions under the policy nor

   conceded any defects in it. Well after all religious exemption requests were required to be

   submitted—and after they had all been denied—Defendants then amended their policy on

   September 24 in preparation for litigation, without notice to Plaintiffs and without in any way

   applying the amended policy to rescind or reconsider the blanket denials issued against Plaintiffs

   and others.




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          6.      For Plaintiffs who are staff, that September 24 Policy purports to remove the

   limitation on certain religious beliefs qualifying for exemption imposed by the September 1

   Policy. But whatever the alleged improvements in the text of the amended Policy, Defendants’

   illegal actions have not changed. In this litigation, Defendants both defended their past religious

   discrimination and launched vigorous and illegal challenges to the religious beliefs of at least

   Plaintiffs Jane Doe 1, M.D., a practicing Catholic who holds an advanced degree in Catholic

   bioethics, and John Doe 1, a faithful Buddhist who has repeatedly and concretely expressed his

   faith with his past actions. Defendants have even taken the position that Plaintiffs (or at least the

   physicians among them) have a duty, as a matter of professional ethics, to violate their religious

   beliefs and obey Defendants’ vaccine mandate—unless they also have a medical contraindication

   to the COVID vaccine, in which case they are wholly exempt. (See, e.g., Dkt. 15-10, ¶ 10).

          7.      For Plaintiffs who are students, they are worse off under the September 24 Policy,

   on its face. That Policy allows Anschutz staff to apply for religious exemptions but strips that

   right entirely from Anschutz students. At the same time, students and staff at every other

   University campus may freely apply for and be granted religious exemptions. No challenges are

   made by the University to the sincerity of belief of those other students and staff, no

   consideration taken of the alleged hardship of “accommodating” them, and no concern that

   students and staff at other campuses are in situations where they may be more likely to spread

   COVID-19 than Plaintiffs and others who sit under the auspices of Defendants at the Anschutz

   campus.

          8.      That severe treatment for religious students and staff at Anschutz under both the

   September 1 and September 24 Policies, moreover, cannot be a product of any feature of the

   work they perform or of any feature of their studies at Anschutz. It must, rather, be a product of




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   anti-religious animus at Anschutz. Three of the plaintiffs here, John Doe 3, John Doe 5, and

   John Doe 7, for example, work for the university’s Office of Information Technology, a Central

   Services Administrative unit serving the computing and IT needs of both Anschutz’s Aurora

   campus and the University of Colorado Denver’s downtown Denver campus. While colleagues

   of theirs at the Denver campus, sharing their very same building workspaces, have routinely been

   granted exemptions from vaccination because they fall under the Denver campus hierarchy, these

   individuals are facing loss of their jobs. While they routinely interact with colleagues at both

   campuses, and have workspaces at both, they are not in physical contact with Anschutz health

   care staff and students any more than their off-campus family and friends, or on-campus patients

   (none of whom Anschutz requires to be vaccinated) are in contact with those staff and students.

          9.      That same animus infects the decision to terminate Jane Doe 11, who works at an

   institution unaffiliated with Anschutz, a facility neither owned nor controlled by Defendants, nor

   even near any facility owned or controlled by Anschutz (she works at the Colorado Mental

   Health Institute in Pueblo). She is a conscientious Christian. But Jane Doe 11 happens to be an

   employee of Anschutz, contracted out to that remote facility of an unaffiliated institution, which

   has granted her an exemption from its own vaccine mandate. But Defendants are insisting that,

   remote as Jane Doe 11 is, she must abide by their Policies, not the policies in place where she

   actually works, or be terminated.

          10.     That same animus features undeniably in the treatment of student Jane Doe 8, too.

   She is a dual degree student who was seeking both bachelor’s of arts and master’s of public

   health degrees, in a program offered by the University, with the bachelor’s taken at the

   University’s Denver campus and the master’s at the University’s Anschutz campus. Her




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   religious objection to the vaccination is fully accommodated by the Denver program, but not by

   Defendants. She has been forced to withdraw from the master’s component of her studies.

          11.     That unforgiving, severe treatment of the religiously devout, moreover, is not

   something that other local health care institutions consider necessary. Plaintiff Jane Doe 3, a

   devout Catholic, is a physician with faculty appointments at both Defendants’ University of

   Colorado – Anschutz Medical Campus and the nearby Rocky Mountain Regional Veterans

   Administration Medical Center in Aurora, too. The administrators and physicians at Rocky

   Mountain Regional VA Medical Center are, just like Defendants, fully aware that she both

   opposes the vaccines for religious reasons, and has robust natural immunity from a recovered

   bout of COVID, and so the VA is not insisting on her receiving a COVID vaccination to

   continue her work there. Defendants, however, are insisting on vaccination, under both the

   September 1 and September 24 Policies, have barred her from all Anschutz facilities and placed

   her on administrative leave without pay. If she were to lose her faculty appointment at the

   University of Colorado-Anschutz, as Defendants have told Jane Doe 3 will happen by mid-

   November, she will also lose her faculty appointment at the VA Medical Center, too, under the

   terms of her dual appointment.

          12.     After Jane Doe 1, a Catholic pediatric physician, and John Doe 1, a Buddhist

   medical student, filed this lawsuit and sought temporary injunctive relief, numerous other

   Anschutz staff and students have learned of the suit and sought to join them. All of these other

   Plaintiffs face significant financial impact from their expulsion or termination. Many Plaintiffs,

   facing financial ruin, cannot afford private counsel—they are able to proceed here solely because

   of the representation pro bono publico provided by undersigned counsel. All face grave and

   immediate threats to their educational and professional careers. If expelled or forced to take an




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   indefinite leave (with no guarantee of return), Defendants strip the student Plaintiffs of their

   ability to pursue a degree in the healthcare field. Saddled with debt, these Plaintiffs will lose at

   least a year of schooling, fall behind their class, and suffer a black mark on their academic

   record. If fired or forced into indefinite unpaid leave, the staff Plaintiffs risk imminent and grave

   harm to their ability to financially support themselves and their families, along with risking their

   licensure and suffering a loss of professional reputation at having been terminated or forced to

   leave involuntarily. And each Plaintiff is suffering a grave and continuing violation of their

   constitutional rights due to Defendants’ threats of or actual termination or expulsion.

           13.     Jane Does 1 through 11 are nine employees of the University (including three

   physicians), under the auspices of Defendant Elliman, chancellor of the Anschutz campus; a

   fourth year student in the Anschutz School of Dental Medicine; and a student in a dual degree

   program for bachelor’s and master’s degrees in public health, all of whom have sincere religious

   objections to the COVID vaccines currently available to them, but who have been informed that

   they will lose their jobs or their place in their schools, if they are not vaccinated.

           14.     John Does 1 through 7 are four employees and three students at Anschutz (two

   M.D. candidates in the medical school and a master’s anesthesiology student) who also have

   sincere religious objections to the COVID vaccines currently available to them, but who have

   been informed that they will lose their jobs or educations, if they are not vaccinated. John Doe 2

   is also a member of the U.S. Air Force, which is paying his fees and expenses while he pursues

   his M.D., and which has promised him a promotion from Second Lieutenant to Captain as soon

   as he earns his M.D. and can serve as a military physician. Both his medical and military careers

   are at risk if he is forced to withdraw or be expelled.




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          15.     The University’s foray into explicit religious discrimination violates the deepest

   traditions of government neutrality towards religion, as originally enshrined in the Establishment

   and Free Exercise Clauses of the First Amendment and as applied to state actors like Colorado in

   the Fourteenth Amendment. And its failure to treat those with religious objections to COVID-19

   vaccination the same as those with medical contraindications to the vaccine also violates the First

   Amendment. Since the University has refused to voluntarily back down from these Policies,

   immediate judicial intervention is now necessary.

                                               PARTIES

          16.     Plaintiff Dr. Jane Doe 1 is a physician licensed to practice medicine by the state of

   Colorado. She is currently employed as a pediatric physician by the University of Colorado

   Anschutz School of Medicine and is exclusively assigned to Children’s Hospital Colorado

   Springs, over sixty miles away from the Anschutz Campus in Aurora. She is a devout Catholic

   who was raised in the faith, founded a student pro-life group known as Physicians for Life while

   in medical school, and in 2018 obtained a master’s degree in Catholic bioethics from the

   University of Mary in North Dakota, in association with the National Catholic Bioethics Center.

   Dr. Doe 1 is the mother of young children, and she relies upon the income provided by her job to

   support them. In late August 2021, her request to be exempted from Defendants’ vaccine

   mandate—she had communicated a sincere religious objection to accepting any vaccine derived

   or tested using cell lines derived from tissue from an aborted fetus—was denied. And in late

   September, Defendants confirmed that denial in response to a demand letter from her counsel.

   Despite Defendants’ alleged interest in requiring all staff and students to be vaccinated by

   September 1, Dr. Jane Doe 1 was allowed to continue to work freely at Children’s Hospital

   Colorado Springs for the month of September, following standard COVID protocols.




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          17.     Dr. Jane Doe 2 is a physician licensed to practice in the State of Colorado. Until

   October 2, 2021, she was employed as a pediatric anesthesiologist and Associate Professor of

   Clinical Practice at Children’s Hospital Colorado at the Anschutz Medical Campus in Aurora.

   She is a devout Christian and known by colleagues to be devout and conscientious in her

   religious practices. In late September 2021, her request to be exempted from Defendants’

   vaccine mandate—she had communicated a sincere religious objection to accepting any vaccine

   derived or tested using cell lines derived from tissue from an aborted fetus—was denied with

   finality. She was notified of her termination on September 21, 2021, but was allowed to

   characterize that involuntary separation as a “resignation,” lest a “termination” affect her

   continuing licensure.

          18.     Dr. Jane Doe 3 is a physician licensed to practice in the State of Colorado. Until

   October 2021, she was employed as a physician and associate professor of medicine at the

   Anschutz School of Medicine. She has faculty appointments at both the University of Colorado-

   Anschutz Medical Campus in Aurora (with clinical privileges at University of Colorado Hospital

   tied to her faculty appointment) and the Rocky Mountain Regional VA Medical Center in

   Aurora. In mid-September 2021, her request to be exempted from Defendants’ vaccine

   mandate—she had communicated a sincere religious objection to accepting any vaccine derived

   or tested using cell lines from an aborted fetus—was denied. In making that request, Dr. Doe

   informed Defendants that her religious objection to the involvement of those cell lines in medical

   and pharmaceutical research extended not only to her personal health care decisions, but to her

   professional, ethical decision making, as well. She informed Defendants that her recent research

   work involves development of new therapy whose production would have utilized cell lines that

   are derived from cells from live aborted fetuses, as is standard in the field, but “when I




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   discovered that the cell line was derived from an aborted fetus, I have made the decision not to

   use it.” Dr. Doe’s work has earned her a national and international professional reputation, as

   well. Earlier this year she was courted by another American medical research university to

   relocate there and continue her current teaching and research work but chose to stay at Anschutz

   where she has the trust and esteem of longtime colleagues. Defendants are fully aware that Dr.

   Jane Doe 3 also contracted COVID-19 in August 2021, and has fully recovered, and is thus

   naturally immune to COVID-19, an immunity as good or better than vaccination provides.

          19.     Jane Doe 4 is employed as an instructor in multisystemic therapy by the Kempe

   Center at the Anschutz Medical Campus in Aurora. In late August 2021, her request to be

   exempted from Defendants’ vaccine mandate—she had communicated a sincere religious

   objection to accepting any vaccine, at all—was denied with finality. She is currently being

   allowed to perform her work fully remote from Defendants’ facilities and fully remote from

   Kempe clients’ facilities. As long as that arrangement continues, she is not subject to any

   vaccination policy. Her supervisors told her that they will try to keep that arrangement in place

   as long as possible, but whenever she might be required to return to Anschutz or Kempe client

   facilities, she will be terminated if not vaccinated.

          20.     Jane Doe 5 is employed as program coordinator in an ambulatory surgical center

   in Englewood, Colorado, affiliated with the Anschutz School of Medicine and subject to its

   policies. She requested that she not be required to receive the COVID vaccines because of her

   sincere religious objections to the vaccines (she is a conscientious Orthodox Christian), but, just

   as all other plaintiffs, her request was denied. She is currently being allowed to perform her work

   fully remote from Defendants’ facilities, and as long as that arrangement continues, she is not

   subject to any vaccination policy. She is informed that arrangement, however, cannot continue




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  beyond the end of December, when she will be terminated. Despite working the same hours and

  having the same job duties she had before working remotely, she has been docked 10% of her

  pay, solely because she has asserted a religious objection to the COVID vaccination requirement.

         21.     Jane Doe 6 is employed as a program manager in the Office of the Dean of the

  Anschutz School of Medicine. In late August 2021, her request to be exempted from Defendants’

  vaccine mandate—she had communicated a sincere religious objection to accepting any vaccine

  made or tested with material derived from cell lines derived from tissue from an aborted fetus—

  was denied with finality. She is currently being allowed to perform her work fully remote from

  Defendants’ facilities. She is informed that arrangement, however, cannot continue beyond the

  middle of November. When she is required to return to Anschutz facilities, she will be

  terminated.

         22.     Jane Doe 7 is a fourth-year student at the Anschutz School of Dental Medicine.

  She submitted a request in late August 2021, to be exempted from Defendants’ vaccine mandate

  —she had communicated a sincere religious objection to accepting any vaccine derived or tested

  using cell lines from an aborted fetus—but that request was denied. Jane Doe 7 also contracted

  COVID-19 in early September 2021, has fully recovered, and is thus naturally immune to

  COVID-19, an immunity as good or better than vaccination provides. She was advised by her

  physician not to accept a COVID vaccine for 90 days. Defendants have placed Jane Doe 7 on

  forced “medical leave” during that 90-day period and restricted her from campus, because she

  also asserted a religious objection to vaccination, instead of allowing her to remain on campus

  and in classes like others who have received medical exemptions to vaccination. Defendants

  have indicated they will force her to withdraw or be expelled from the program—




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  notwithstanding her religious objections to the vaccines—at the end of that 90-day period, in late

  December 2021.

         23.     Jane Doe 8 is a dual degree student who was seeking both bachelor’s of arts and

  master’s of public health degrees, in a program offered by the University, with the bachelor’s

  taken at the University’s Denver campus and the master’s at the University’s Anschutz campus.

  She is also part-time student employee of the University on the Denver campus. She is regularly

  in contact with a variety of others in both her student and staff roles on the University’s Denver

  campus. In early September 2021, her request to be exempted from Defendants’ vaccine mandate

  was denied with finality, and she has been forced to withdraw from the Anschutz master’s

  program. She was, however, freely granted a religious exemption to attend classes and work on

  the Denver campus, and she continues to pursue her bachelor’s there.

         24.     Jane Doe 9 is a project coordinator, data and analytics, working in the Anschutz

  Division of Hospital Medicine. She holds a master’s in public health. In late August 2021, her

  request to be exempted from Defendants’ vaccine mandate–she had communicated a sincere

  religious objection to all vaccines “in all their forms and mechanisms for altering my body,

  [because they] go against my faith”—was denied with finality.

         25.     Jane Doe 10 is a clinical trials manager at the University of Colorado Cancer

  Clinical Trials Office at the Anschutz Medical Campus in Aurora. In late August 2021, her

  request to be exempted from Defendants’ vaccine mandate – she had communicated a sincere

  religious objection to all vaccines–was denied in circumstances that show it was never even read,

  much less considered. She is currently being allowed to perform her work fully remote from any

  of Defendants’ facilities, and as long as that arrangement continues, she is not subject to any




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  vaccination policy. Her position, however, is considered a clinical position, requiring in-person

  interaction with patients, and so that fully remote arrangement cannot continue indefinitely.

         26.     Jane Doe 11 is a Psychiatric Mental Health Nurse Practitioner at the Colorado

  Mental Health Institute at Pueblo, a facility operated by the Colorado Department of Human

  Services. Her position, however, is contracted through the University of Colorado School of

  Medicine.

         27.     John Doe 1 was until earlier this fall a first-year student at the Anschutz School of

  Medicine. He is, however, being forced out of that program by Defendants’ unlawful Policy and

  actions, as alleged in this Complaint. He will be unable to begin his medical studies anew

  anywhere in the United States, without finding a new medical school that would accept him

  under these circumstances and then applying for and securing admission to that new school, a

  process that will take at least a year or more. Mr. Doe is a devout Buddhist who made a vow to

  the Buddha 10 years ago (after visiting a significant monastery in China) that he would live a

  moral life. After that he began practicing meditation, reading scriptures and Buddhist teachings,

  avoiding products developed through the killing or harming of animals (including human

  beings), and overall seeking to formulate his life consistent with the “five precepts” of

  Buddhism.

         28.     John Doe 2 is a third-year medical student at the Anschutz School of Medicine.

  He submitted a request in late August 2021, to be exempted from Defendants’ vaccine

  mandate—he had communicated a sincere religious objection to accepting any vaccine derived

  or tested using cell lines derived from an aborted fetus—but that request was denied on August

  31. He was notified by the Anschutz promotions committee on September 15 that he must either

  take a forced leave of absence, withdraw, or be terminated from his M.D. program. John Doe 2




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  also contracted COVID-19 in May of 2021, has fully recovered, and is thus naturally immune to

  COVID-19, an immunity as good or better than vaccination provides.

         29.     John Doe 3 is a senior data integration engineer working for the Office of

  Information Technology, a Central Services Administrative unit of Anschutz operating under the

  Anschutz Medical Campus’ vaccine policy. In late August 2021, he requested to be exempted

  from Defendants’ vaccine mandate—he had communicated a sincere religious objection to

  accepting any vaccine whose creation or testing for use involved use of cell lines derived from

  live aborted fetuses—was denied with finality. He is currently being allowed to perform his work

  fully remote from any of Defendants’ facilities. As long as that arrangement continues, he is not

  subject to any vaccination policy, but he cannot properly perform his work in that arrangement

  because he would soon become ineffective and unable to perform his job.

         30.     John Doe 4 is a police communications supervisor in the Anschutz police force. In

  late August 2021, his request to be exempted from Defendants’ vaccine mandate—he had

  communicated a sincere religious objection to accepting any vaccine whose creation or testing

  for use involved use of cell lines derived from live aborted fetuses—was denied with finality. He

  has been allowed to work as an Anschutz police communications supervisor because he has been

  deemed essential. Despite no change to his duties or work hours, he has been docked 10% of his

  pay, solely because he has asserted a religious objection to the COVID vaccination requirement.

  He has been informed that he will be terminated within the next twelve weeks because of his

  religiously motivated rejection of the vaccination.

         31.     John Doe 5 is a senior network engineer working for the Office of Information

  Technology, a Central Services Administrative unit of Anschutz operating under the Anschutz

  Medical Campus’ vaccine policy. In late August 2021, he requested to be exempted from




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  Defendants’ vaccine mandate—he communicated a sincere religious objection to accepting any

  vaccine whose creation or testing for use involved use of cell lines derived from aborted

  fetuses—but that request was denied with finality. He is currently being allowed to perform his

  work fully remote from Defendants’ facilities. As long as that arrangement continues, he is not

  subject to any vaccination policy, but he feels he cannot adequately perform his job functions in

  that arrangement. Because he is steadfast in his religious refusal to the vaccine, he will be

  terminated as soon as he must return to Anschutz facilities.

         32.     John Doe 6 is a first-year student at the Anschutz School of Medicine’s master’s

  program in anesthesiology. He submitted a request in late August 2021, to be exempted from

  Defendants’ vaccine mandate—he had communicated a sincere religious objection to accepting

  any vaccine derived or tested using cell lines derived from an aborted fetus—but that request was

  denied on August 31. He was notified by the Anschutz promotions committee that he must either

  take a forced leave of absence, withdraw, or be terminated from his program.

         33.     John Doe 7 is an identity management developer in the Office of Information

  Technology working for the Office of Information Technology, a Central Services

  Administrative unit operating under the Anschutz Medical Campus’ vaccine policy. In late

  August 2021, he requested to be exempted from Defendants’ vaccine mandate–he had

  communicated a sincere religious objection to accepting any vaccine whose creation or testing

  for use involved use of cell lines derived from aborted fetuses–was denied with finality. He is

  currently being allowed to perform his work fully remote from any of Defendants’ facilities. As

  long as that arrangement continues, he is not subject to any vaccination policy.

         34.     Defendant Board of Regents of the University of Colorado are a constitutionally

  created body of the State of Colorado and govern, control, and operate the University of




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  Colorado, which has several campuses throughout the State, including the Anschutz campus in

  Aurora. The Board has authorized the other Defendants to enact and enforce the COVID-19

  vaccine mandates at issue here.

          35.     Defendant Todd Saliman is the President of the University of Colorado and is

  sued in his official capacity.1 He was appointed to that position by the Board of Regents and in

  that role is the chief executive of the University. His office issued, maintains, and oversees the

  COVID-19 vaccination mandate for all students and staff of the University.2

          36.     Defendant Donald Elliman is the Chancellor of the University of Colorado

  Anschutz School of Medicine and is sued in his official and personal capacities. He is the agent

  authorized by the University to enact and enforce policies governing the educational and

  employment practices of the Anschutz campus.

          37.     Defendant Shanta Zimmer, Eric Mediavilla, and Ann-Michael Holland are agents

  authorized by the University and Defendant Elliman to enforce policies governing student life

  and study at the School of Medicine, the School of Dental Medicine, and the Anesthesiology

  program at the School of Medicine, respectively. They are sued in their official and personal

  capacities.

          38.     Defendants Jane and John Does are members of the “Vaccine Verify” team are

  sued in their official and personal capacities. They are an unknown group of agents authorized by

  the University to enforce the Anschutz campus COVID-19 vaccine policy and rule on requests

  for exemptions under the Policies operative during the events described herein.

  1
    Plaintiffs do not know the extent or nature of Defendant Saliman’s involvement in the violation of their
  constitutional rights, and thus do not sue him in his personal capacity at this time. Discovery should yield
  the information necessary to determine whether a suit against him in his personal capacity is proper.
  2
   CU Requires Vaccine for Fall Semester 2021, Statements from the President (April 28, 2021),
  https://president.cu.edu/statements/cu-requires-vaccine-fall-semester-2021.



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          39.     In adopting and enforcing the University of Colorado Anschutz campus COVID-

  19 Vaccination Policies challenged by this suit, Defendants have acted under color, regulation,

  custom, or usage, of an arm of the state of Colorado.

                                    JURISDICTION AND VENUE

          40.     Three of the five discrete claims in this action arise under the First and Fourteenth

  Amendments to the United States Constitution and are brought pursuant to 42 U.S.C. § 1983,

  and another under Title II of the Americans with Disabilities Act, 42 U.S.C. §12133. This Court

  has jurisdiction over the instant matter pursuant to 28 U.S.C. §§ 1331 and 1343.

          41.     The Court has jurisdiction over the Plaintiffs’ claim under the Colorado

  Constitution under the supplemental jurisdiction provision of the Judicial Code, 28 U.S.C.

  §1367(a).

          42.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because the

  Defendants reside in this District and a substantial part of the events or omissions giving rise to

  Plaintiffs’ claims occurred in this District.

          43.     This Court is authorized to grant declaratory judgment under the Declaratory

  Judgment Act, 28 U.S.C. §§ 2201–02, implemented through Rule 57 of the Federal Rules of

  Civil Procedure.

          44.     This Court is authorized to grant Plaintiffs’ prayer for temporary, preliminary, and

  permanent injunctive relief pursuant to Rule 65 of the Federal Rules of Civil Procedure.

          45.     This Court is authorized to grant Plaintiffs’ prayer for relief regarding costs,

  including a reasonable attorney’s fee, pursuant to 42 U.S.C. § 1988.




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                                                 FACTS

               A. Defendants implemented a University-wide COVID vaccine mandate which
                  was to allow for medical and non-medical exemptions.

         46.      On April 28, 2021, Defendants announced a university-wide policy that all staff

  and students must be vaccinated against COVID-19 before the start of fall semester 2021.3 That

  announcement linked to an FAQ page,4 confirming that exemptions would be available to the

  COVID vaccination mandate, just as with existing vaccine mandates:




         47.      On or before July 21, 2021, the Anschutz campus FAQ page5 confirmed that staff

  and students would be allowed exemptions from the vaccination requirement:




  3
    https://president.cu.edu/statements/cu-requires-vaccine-fall-semester-2021.
  4
    https://www.cu.edu/vaccine-requirement.
  5
    https://web.archive.org/web/20210721172814/https://www.cuanschutz.edu/coronavirus/frequently-
  asked-questions#ac-what-is-the-process-for-opting-out-of-the-covid-19-vaccine-for-medical-or-religious-
  reasons-5.



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         48.     The FAQ linked to the COVID vaccination exemptions page.6 On or before

  August 3, 2021, that page provided a process for religious exemptions that required no form for

  employees, merely that they “select this option,” while students were to fill out a simple religious

  exemption form:




         49.     On the University’s other campuses, religious exemptions have flowed freely,

  with little or no investigation as to the sincerity or even the nature of exemptees’ beliefs:




  6
    https://web.archive.org/web/20210803204610/https://www.cuanschutz.edu/coronavirus/vaccine-
  information/exemptions.



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     •   Boulder: submit signed form to obtain generic “Non-medical exemption . . . for religious

         or personal beliefs that are opposed to immunizations.”

         https://www.colorado.edu/health/student-covid-19-vaccine-requirement

     •   Colorado Springs: “You may ask for an exemption for a medical reason or a non-

         medical reason (religious or personal belief) within the attestation. There is no official

         approval process at this time outside of claiming you are exempting out of receiving the

         vaccine.” https://covid19.uccs.edu/vaccination

     •   Denver: “CU Denver’s process allows exemptions to anyone who requests one for any

         reason; religious, medical, or personal. We trust our students and employees to act in the

         best interest of our community.” https://www.ucdenver.edu/coronavirus/faq-topics

         50.     While it first appeared that exemptions would be freely granted for students and

  staff on the Anschutz campus, Defendants reversed course and adopted their September 1

  “University of Colorado Anschutz Medical Campus COVID-19 Vaccination Requirement and

  Compliance” Policy, which is attached as Exhibit 1.

         51.     The September 1 Policy requires all students, employees, and other individuals

  “who currently or may in the future access any CU Anschutz facility or participate in any CU

  Anschutz program” or otherwise interact with members of the Anschutz community “regardless

  of location” to “become fully vaccinated against COVID-19 with a vaccine that has been

  approved by the World Health Organization . . . subject to limited exceptions and exemptions.”

  (Ex. 1, Policy at (A)). The Policy states it was “Prepared By” the Office of University Counsel

  and “Approved By” Defendant Elliman. It was made effective as of September 1, 2021. At least

  Defendants Elliman, Zimmer, and Does of the “Vaccine Verify” team have acted as the duly

  empowered agents of the Defendant Board of Regents in enacting and/or enforcing that Policy.




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         52.      The September 1 Policy stated that it allowed for religious exemptions as follows:

  “A religious exemption may be submitted based on a person’s religious belief whose teachings

  [sic] are opposed to all immunizations.” (Id.)

         53.      As Plaintiffs’ experience shows, the confused malapropism “religious belief

  whose teachings” oppose “all immunizations” imposed two necessary conditions to Defendants’

  consideration of any religious accommodation, namely:

               a. That the person requesting a religious accommodation have a sincere religious

                  belief that opposes acceptance of “all immunizations” and vaccines; and

               b. That the person requesting a religious accommodation be a member of an

                  organized religion whose tenets include a hierarchically promulgated,

                  authoritative position on the moral liceity of “all immunizations” and vaccines.

         54.      Both conditions are clearly forbidden the Establishment, Free Exercise, and Equal

  Protection clauses of the United States constitution and the Religious Freedom provisions of the

  Colorado constitution. Quite literally, they require that a qualifying belief be grounded in an

  organized religion whose tenets include an authoritative position against the moral liceity of “all

  immunizations” and vaccines, thus privileging hierarchically prescribed religious belief over

  autonomously prescribed (yet sincerely held) religious belief. These conditions flagrantly violate

  well-established constitutional law.

         55.      Defendants denied each and every religious exemption request presented to them,

  including those of Plaintiffs, under and in view of the September 1 Policy’s unlawful religious

  tests and conditions. These denials persist to the present day and have never been rescinded or

  reconsidered.




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            56.      Moreover, Defendants imposed more stringent requirements on religious belief,

  including inquiries into sincerity, solely against the beliefs of Anschutz students and staff

  members, while not imposing any substantive requirements at all on other University students

  and staff members. This stark difference in respect for sincere religious beliefs of one group as

  against the other is both discriminatory and irrational.

            57.      The September 1 Policy provides for medical exemptions. (Id. at (C)(2)).

  “Medical” exemptions are allowed “if vaccination is medically contraindicated due to other

  medical conditions or due to a physical condition that would cause vaccination to endanger an

  individual’s life or health,” as attested to by a qualifying medical professional. (Id.)

            58.      The Policy allows those who qualify for a medical exemption7 to continue to

  work and study at the University, if they “adhere to additional safety protocols, including, but not

  limited to wearing masks, social distancing, staying home when sick, quarantining in accordance

  with current [CDC] guidance, submitting daily attestations, and undergoing frequent

  asymptomatic testing.” (Id.) Defendants have admitted they granted medical exemptions to

  individuals on the Anschutz campus. Those “medically contraindicated” staff and students are

  free to work and study on the campus, including in areas with medical patients and other

  members of the public, while the “morally contraindicated” are fired and expelled.

                  B. Plaintiffs’ communication to Defendants of their sincere religious beliefs, and
                     Defendants’ summary, form rejection under the Policy.

            59.      Plaintiffs communicated their sincere, autonomously derived religious beliefs to

  Defendants regarding their opposition to accepting any of the three vaccines.

            60.      Plaintiffs shortly thereafter received summary rejections via form-communiques

  clearly designed to reject accommodations without individualized consideration.
  7
      Along with those (hypothetical) individuals who hew to Defendants’ “approved” religious beliefs.



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               C. After all religious exemptions were rejected, Defendants prepared for
                  litigation by promulgating a new September 24 Policy, but they have not
                  applied that policy to Plaintiffs or otherwise reconsidered the denials made
                  under the September 1 Policy.

         61.      After all staff and student religious exemption requests were submitted and

  denied—and after receiving demand letters from attorneys in relation to the September 1

  policy—Defendants amended that policy, solely in preparation for litigation, on September 24,

  2021. See Exhibit 28 hereto.

         62.      Defendants have not applied the September 24 Policy to reconsider or rescind

  denials issued to Plaintiffs, all of which were issued under the September 1 Policy. Despite

  repeated challenges, Defendants have neither admitted any infirmities in their September 1

  Policy nor retreated from their conduct in denying all religious exemptions under that Policy.

  Whatever the words of the policy adopted September 24, the actions of Defendants stem from

  and continue to adhere to and effect the September 1 Policy. The September 1 Policy remains a

  primary cause of the persisting harm that Plaintiffs suffer.

         63.      Under the September 24 Policy, Defendants purported to remove the prohibition

  on certain religious beliefs being ineligible for exemption, at least as to staff members. However,

  in their communications with Plaintiffs’ counsel and their filings in this lawsuit, Defendants have

  taken a hostile position against the religious beliefs of Plaintiffs Jane Doe 1 (Catholic) and John

  Doe 1 (Buddhist), despite ample evidence of the sincerity of their beliefs. As just one example,

  Defendants have rejected the sincerity of Catholic staff and students objecting to the available

  COVID vaccines, in the teeth of well-publicized formal statements of support by the Catholic

  Bishops of Colorado in favor of religious objectors and in opposition to vaccine mandates8—


  8
   Catholic News Service, Colorado bishops oppose vaccine mandates, welcome Denver's religious
  exemption, NATIONAL CATHOLIC REPORTER (August 10, 2021),



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  those Bishops have even widely promulgated a form letter9 for pastors to sign in support of their

  parishioners’ exemption requests. Defendants have no justification for their overt hostility to

  sincere religious beliefs like Plaintiffs’.

          64.     As to students of the Anschutz campus, the September 24 Policy entirely strips

  them of the ability to obtain a religious exemption. On its face, the September 24 Policy is

  unconstitutional, for it allows staff members to seek religious exemptions but strips those

  exemptions from students. Defendants present no reason at all for this sweeping disparity in

  treatment, which is the opposite of a narrowly tailored means to achieve a compelling interest.

  Defendants’ new policy is more anti-religious than its prior one, at least as to students.

          65.     Under both the September 1 and 24 Policies, students and staff are allowed

  medical exemptions. Such medical exemptees are allowed to work and study with minimal

  restrictions, whether with and around patients, other staff and students, or members of the public.

  But those with sincere religious objections are to be fired and expelled, and at least entirely

  forbidden from in-person contact with anyone affiliated with the Anschutz campus.

          66.     Defendants have not challenged or even tested the religious sincerity of those who

  work and study on its other campuses. Those staff and students are not subject to an “undue

  hardship” analysis. Instead, religious objectors on those other campuses freely attend class, live

  in dormitories, and work alongside other staff, students, and members of the public.

          67.     Plaintiffs seek to be treated no better or worse than the many others granted

  exemptions by the University: to have their beliefs recognized as sincere by Defendants and to

  https://www.ncronline.org/news/coronavirus/colorado-bishops-oppose-vaccine-mandates-welcome-
  denvers-religious-exemption.
  9
   ; Template for Religious Exemption from COVID-19 Vaccines,
  https://cocatholicconference.org/template-for-religious-exemption-from-covid-19-vaccines/ (last visited
  October 26, 2021)



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  be allowed to work and study on campus, just like Anschutz medical exemptees and other-

  campus medical and religious exemptees. Plaintiffs present no greater danger of spreading

  COVID-19 than any of these many other individuals.

         Dr. Jane Doe 1

         68.    On August 20, 2021, Dr. Jane Doe 1 received from the Defendant “Vaccine

  Verify” team members to whom the Defendants delegated the responsibility to deal with

  accommodation requests from physicians the following “Dear Employee” form email:

                From: Vaccine Verify <vaccineverify@cuanschutz.edu>
                Sent: Friday, August 20, 2021 5:38 PM
                Subject: Your Vaccine Religious Exemption Request
                Dear Employee,
                You have submitted a request for an exemption from the vaccination requirements
                set forth in the campus policy based on a religious exemption. In order to evaluate
                that request we need you to respond completely to the questions below within 2
                business days of recipient of this email. After this information has been reviewed
                you will be advised as to whether you request for an exemption has been
                approved or rejected.
                Thank you for your prompt attention.
                The CU Anschutz Vaccine Verification Team
                1. Please explain why your sincerely held religious belief, practice, or
                observance prevents you from getting the vaccination for which you are
                requesting an exemption? Please include a detailed response for each vaccine
                for which you are requesting an exemption.
                2. Have you had an influenza or other vaccine in the past? How does this
                differ?
         [Bolded emphasis in original]
         69.    On August 22, 2021, Dr. Jane Doe 1 responded by email to the “Vaccine Verify”

  team as follows:




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                 From: Jane Doe, <XXXXXXX@childrenscolorado.org>
                 Sent: Sunday, August 22, 2021 11:14 PM
                 To: Vaccine Verify <vaccineverify@cuanschutz.edu>
                 Subject: Re: Your Vaccine Religious Exemption Request
                 Response to questions regarding SARS CoV-2 vaccination:

                 1.As a faithful Catholic, I uphold the dignity and sanctity of every human life and
                 firmly oppose abortion and the evil involved in the use of cell lines derived from
                 abortions. All 3 available emergent-use authorized vaccines in the U.S. -
                 Moderna, Pfizer-BioNTech, and Johnson & Johnson - used the abortion-derived
                 cell lines (HEK293) in one or more phases of developing the SARS CoV-2
                 vaccine.
                 2.I have had other vaccines; including influenza - which does not utilize
                 unethically derived cell lines.
                 [Jane Doe], MD, MS Bioethics

         70.     The position that Dr. Jane Doe 1 expressed has the public support of the Roman

  Catholic bishops of Colorado, among other Catholic authorities, as Defendants know. In addition

  to the form letter promulgated by the bishops for local pastors to sign, the bishops also published

  and broadly disseminated a letter expressing their teachings regarding the liceity of the vaccines

  that says, among other things:

                 • Vaccination is not morally obligatory and so must be voluntary.
                 • There is a moral duty to refuse the use of medical products, including certain
                 vaccines, that are created using human cells lines derived from abortion; however,
                 it is permissible to use such vaccines only under case-specific conditions—if there
                 are no other alternatives available and the intent is to preserve life.
                 • A person’s assessment of whether the benefits of a medical intervention
                 outweigh the undesirable side-effects are to be respected unless they contradict
                 authoritative Catholic moral teachings.
                 • A person is morally required to obey his or her conscience…
                 Taken as a whole, these points mean a Catholic may judge it right or wrong to
                 receive certain vaccines for a variety of reasons, and there is no Church law or
                 rule that obligates a Catholic to receive a vaccine.




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  Exhibit 2 attached. Available at https://denvercatholic.org/a-letter-from-the-bishops-of-colorado-

  on-COVID-19-vaccine-mandates/

          71.     On August 26, Dr. Jane Doe 1 received by email a form letter that purported to be

  a formal, final decision from the “Vaccine Verify” team as a documentary attachment. A copy is

  attached as Exhibit 3. In critical part, it stated:

                  Your exemption request has been denied because it does not comply the campus
                  policy, which only recognizes religious exemptions based on a religious belief
                  whose teachings are opposed to all immunizations.

          72.     The response made no attempt to hide that the sole reason for the denial was that

  she lacked the qualifying religious beliefs.

          73.     On September 15, 2021, Dr. Jane Doe 1, by and through counsel, sent the

  University a letter advising it of the constitutional defects in the Policy and sought

  reconsideration of her religious accommodation request. (Exhibit 4 attached) University counsel

  responded via letter on September 20, 2021, and doubled down on its Policy. (Exhibit 5 attached)

  That letter entirely ignored the Policy’s failure to abide by religious neutrality and instead cited

  generic caselaw about government authority to require vaccines and to determine whether one’s

  objections to a vaccine are religious or “personal.” It also argued for the first time that, despite

  her care for patients over the past 19 months, and despite the availability of COVID vaccines

  since at least January 2021, it would now be an “undue hardship” to accommodate Dr. Jane Doe

  1 given that her pediatric patients are not eligible for vaccination—an argument that was plainly

  pretextual. (Id.)

          74.     In the meantime, notwithstanding the University’s alleged compelling interest in

  requiring that all associated individuals receive vaccinations by September 1, Dr. Jane Doe 1 was




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  allowed10 for nearly a month to continue serving her patients at Children’s Hospital while

  exercising the normal protective measures to prevent the spread of COVID—the same ones

  outlined in the Policy for exemptees. (See Ex. 1, Policy at (C)(2)).

          Dr. Jane Doe 2

          75.     In early September 2021, Dr. Jane Doe 2 submitted a request to the Vaccine

  Verify team to be exempted from taking any COVID vaccines because of her sincere religious

  beliefs precluding acceptance of the vaccines. (Previously, in August 2021, she had submitted a

  request for medical exemption, too, because of multiple chronic conditions including migraines,

  chronic liver disease and chronic lung disease that substantially impair major life activities.)

          76.     In early September 2021, Dr. Jane Doe 2 received the “Dear Employee” form

  email from the Vaccine Verify team identical to the August 20, form email received by Dr. Jane

  Doe 1 which is quoted in paragraph 68 above.

          77.     On September 13, Dr. Jane Doe 2 emailed a response to this form email that

  included both responses to the discrete “Please explain your sincerely held religious belief..." and

  “Have you had an influenza or other vaccine...” questions, as well a personal statement of faith.

  Among other things that response said:

          I believe that God created each of us in His own image, and that my body is the temple of
          the Holy Spirit who dwells in me. I also believe in the sanctity of all human life from the
          time of conception. My beliefs are based on my relationship with God and my knowledge
          of His character that grows through prayer and study of the Bible. I believe it is
          fundamentally wrong to inject this unclean substance into my body and it would violate
          my faith. Please see my attached statement of faith for further details...




  10
    In response to the filing of this lawsuit, Defendants placed Dr. Jane Doe 1 on administrative leave,
  pending the outcome of her prior Motion for Preliminary Injunction. With the denial of that motion, on
  mootness grounds, she faces imminent termination.



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         I also find some … [Biblical] verses speak to the sanctity of life from before birth, so I
         am deeply troubled that all available vaccines used fetal tissue or fetal-derived cell lines
         at some stage of their testing or development.

         78.      On September 16, 2021, the day after the University received a demand letter

  from counsel for Dr. Jane Doe 1 explaining the unconstitutionality of the September 1 Policy,

  Dr. Jane Doe 2 received an email from the Vaccine Verify team that said:

         From: Vaccine Verify <vaccineverify@cuanschutz.edu>
         Sent: Thursday, September 16, 2021 2:59 PM
         Subject: RE: Medical Exemption – More Information Needed

         SUBJECT: Religious Exemption Request Rejected – Action Required
         Hello,
         The CU Anschutz Exemption Verification Team has reviewed your request to be
         exempted from the vaccination requirements under the University of Colorado Anschutz
         Medical Campus policy regarding COVID-19 vaccination because of your stated
         religious beliefs.
         Your exemption request has been denied because the exemption would pose significant
         health and safety risk to CU Anschutz community and, most importantly, to our patients.
         Removing or modifying your duties to preclude contact with others would pose an undue
         burden on the University, as it would require your colleagues to perform your duties in
         addition to their own.
         Therefore, you will need to provide proof of vaccination by 5 pm on September 17, 2021.
         Please submit your vaccine verification form HERE. For more information, see the
         campus policy at https://www.ucdenver.edu/docs/librariesprovider284/default-document-
         library/3000-general-admission/3012---covid-19-vaccination-requirement-and-
         compliance.pdf?sfvrsn=4e9df3ba_2
         Failure to submit proof of COVID-19 vaccine verification by 5 pm on September 17,
         2021 will result in additional actions being taken due to your failure to comply with the
         campus vaccination policy, including but not limited to termination.
         ***
         Thank you, Vaccine Exemption Verification Team

         79.      On September 21, Dr. Jane Doe 2 and her supervisor, Dr. Thomas Majcher, met

  by teleconference with representatives of the Human Resources department to discuss her work

  schedule for the week. That same day, Dr. Majcher informed Dr. Jane Doe 2 that she was being



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  fired. He said she would either be officially fired as of September 25 or, alternatively, could

  avoid potential difficulties with continuing licensure if she submitted a letter of “resignation”

  before then characterizing her involuntary separation as a “resignation” rather than a

  “termination.” She did so shortly thereafter.

          Dr. Jane Doe 3

          80.     In early September 2021, Dr. Jane Doe 3 submitted a request to the Vaccine

  Verify team to be exempted from taking any COVID vaccines because of her sincere religious

  beliefs precluding acceptance of the vaccines. On September 13, 2021, she received an email

  from the Vaccine Verify time acknowledging that her “Vaccine Verification Process Completed”

  due to her certification that she was exempted. A copy of this email is attached as Exhibit 23.

  (Also in September 2021, she submitted a request for medical exemption, too, because of a heart

  condition that, if impacted by the COVID vaccines, would substantially impair major life

  activities. That request was denied, too, as an ADA accommodation.)

          81.     However, on September 14, 2021, Dr. Jane Doe 3 received the “Dear Employee”

  form email from the Vaccine Verify team identical to the August 20, form email received by Dr.

  Jane Doe 1 which is quoted in paragraph 68 above asking her to “explain …your sincerely held

  religious belief.”

          82.     On September 16, 16, 2021 Dr. Jane Doe 3 emailed a response to this form as

  follows:

        From: [Jane Doe 3, M.D.]
        Date: Thursday, September 16, 2021 at 6:14 PM
        To: Vaccine Verify <vaccineverify@cuanschutz.edu>
        Subject: Re: Your Vaccine Religious Exemption Request
         1. Please explain why your sincerely held religious belief, practice, or observance
            prevents you from getting the vaccination for which you are requesting an



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            exemption? Please include a detailed response for each vaccine for which you are
            requesting an exemption.
        I am a devout Catholic and am opposed to abortion. The Johnson and Johnson vaccine
        includes pieces of a cell that was derived from an aborted human fetus. The Moderna and
        Pfizer vaccine used this cell line in the testing of the efficacy of their vaccine, although
        their vaccines do not contain the actual cell line. I am firmly opposed to the use of
        embryonic cell lines in any research or therapeutics. To show how strong this belief is, I
        am currently developing a therapy … that normally would use this same cell line in its
        production, but when I discovered that the cell line was derived from an aborted fetus, I
        have made the decision not to use it, even though this may make FDA approval of my
        therapy more difficult …
         I am claiming this exemption for all three vaccines (J and J, Pfizer, Moderna) because of
        their use of the cell line from the aborted fetus in their development, testing, or production.
        I also have a valid medical exemption for the Moderna and Pfizer vaccines, and my PCP is
        providing me with the revised form for resubmission. Please note that I have already had
        COVID 19 and therefore have natural immunity to the virus and should not pose a threat to
        my patients or colleagues at this institution. This makes the impetus not to receive a
        vaccine developed using a cell line from an aborted fetus even stronger, because not only
        do I consider it morally wrong, but in my case it is completely unnecessary.
        2. Have you had an influenza or other vaccine in the past? How does this differ?
        Yes, I have an influenza vaccine every year and I have received many other vaccines as
        well. I only realized this year that this fetal cell line is used in the development of vaccines,
        and I will be looking closely at whether it is used in any future vaccines that I receive …

         83.     Shortly thereafter, Dr. Jane Doe 3 received the “Hello” email from the Vaccine

  Verify team identical to that sent to Dr. Jane Doe 2 on September 16. Just as it did for Dr. Jane

  Doe 2, the Vaccine Verify team claimed to have “reviewed your request to be exempted from the

  vaccination requirements under the University of Colorado Anschutz Medical Campus policy

  regarding COVID-19 vaccination because of your stated religious beliefs. Your exemption

  request has been denied because the exemption would pose significant health and safety risk to

  CU Anschutz community and, most importantly, to our patients. Removing or modifying your

  duties to preclude contact with others would pose an undue burden on the University, as it would

  require your colleagues to perform your duties in addition to their own.”




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          84.     Notwithstanding that apparent termination, Dr. Jane Doe 3 continued to

  communicate with the Vaccine Verify team to have it reverse its irrational position. On October

  8, 2021, she wrote:

          From: [Jane Doe 3, M.D.]
          Date: Friday, October 8, 2021 at 10:02 AM
          To: Vaccine Verify <vaccineverify@cuanschutz.edu>
          Subject: Appeal of denial of religious exemption request
          Dear Vaccine Exemption Verification Team
          I am writing to request that you reconsider your denial of my religious exemption.
          The reason for my religious exemption is my opposition to vaccines prepared using cell
          lines from aborted fetuses. My objection is particularly strong to the J and J vaccine,
          which contains parts of the cell lines that bleb off with the adenoviral particles in the
          preparation of the vaccine. However, it is also present for the RNA vaccines, which used
          the cell line in development of the vaccine and not in its production, because my
          sincerely held religious belief is that aborted human fetuses and embryos should not be
          used for research or therapeutics. In your rejection of my religious exemption, you did
          not state that the denial was because my request was not valid; instead, you said that
          “…the exemption would pose significant health and safety risk to CU Anschutz
          community and, most importantly, to our patients. Removing or modifying your duties to
          preclude contact with others would pose an undue burden on the University, as it would
          require your colleagues to perform your duties in addition to their own.” …[T]his is not
          true since I have had COVID and thus have natural immunity, which has been shown to
          be effective and durable. Therefore I am at no more risk to my patients and colleagues
          here than those individuals who have been vaccinated, and there is no need to remove or
          modify my duties to preclude contact with others.
          85.     Defendants have not, however, reversed their position and Dr. Jane Doe 3 has

  been barred from all Anschutz facilities, and so cannot perform her clinical, teaching, or research

  responsibilities at those facilities.

          86.     The Rocky Mountain Regional VA Medical Center has also informed Dr. Jane

  Doe 3 that, if she loses her appointment as a faculty member at the Anschutz School of

  Medicine, she will likewise lose her appointment at the VA Medical Center.




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           87.   Dr. Jane Doe 3 is also prosecuting a valuable patent in connection with her work

  at Anschutz. Successful prosecution of that patent will be severely impaired if she is no longer

  able to work at Anschutz. She will also be deprived of an imminent and likely promotion to full

  Professor at Anschutz.

           88.   In early 2021, Dr. Jane Doe 3 was offered an academic post at another major

  American academic medical center where she would be able to continue all of the research

  projects she has been conducting at Anschutz and the VA Medical Center and likewise continue

  her clinical and teaching duties on terms at least as financially favorable as those she enjoyed at

  Anschutz. She continued to negotiate the terms of that offer through the summer of 2021, but

  relying on Defendants’ good faith, and relying also on the truth of the terms of all Defendants’

  personnel policies and communiques (including the COVID vaccination requirements) from

  June, July and August of 2021, Dr. Jane Doe 3 declined the offer.

           Jane Doe 4

           89.   On August 21, 2021, Jane Doe 4 emailed Vaccine Verify a request to be

  exempted from the requirement to receive a COVID vaccine because of her “very long-standing

  and sincere religious convictions that have also prevented me from ever getting the flu vaccine as

  well.”

           90.   On August 26, 2021, Vaccine Verify emailed Jane Doe 4 the same form letter that

  Dr. Jane Doe 1 also received on August 26. (Exhibit 3). Like Dr. Jane Doe 1’s, that form letter

  was addressed simply “Hello,” without any identification of its intended recipient. Like Dr. Jane

  Doe’s form letter, it said that Jane Doe 4’s request was being denied “because it does not comply

  the campus policy, which only recognizes religious exemptions based on a religious belief whose

  teachings are opposed to all immunizations.”




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         91.    Incredulous at that denial, on September 1, 2021, Jane Doe 4 again requested

  exemption from Vaccine Verify by the following email to Vaccine Verify:

         From: [Jane Doe 4]
         Sent: Wednesday, September 1, 2021 3:26 PM
         To: Vaccine Verify <vaccineverify@cuanschutz.edu>
         Subject: Religious Exemption and supporting documents
          1. Please explain why your sincerely held religious belief, practice, or observance
         prevents you from getting the vaccination for which you are requesting an
         exemption? Please include a detailed response for each vaccine for which you are
         requesting an exemption.
          I am requesting an exemption for the COVID-19 vaccine due to my long-standing and
         strongly-held faith in God and my religious convictions.
         In 2000, my family was shocked when we received the news that my father had an
         inoperable Glioblastoma Multiforme. During the nine months my father battled this
         horrendous tumor, my family prayed daily and relied on our faith in God to get us
         through the most challenging days. I was raised to hold the belief that God’s will for our
         lives had reason and purpose. It was during this truly difficult time in my life that I came
         to accept that it is often hard to understand God’s plan for each of us, but as the Bible
         teaches us, we must accept and trust in it. In accepting God’s will, I was able to submit to
         His larger plan for my father and family, which helped us cope with our sorrow and grief.
         I have come to embrace that God works in mysterious ways, acknowledging that His
         plans for me and my family are superior to my own.
          I strongly believe that accepting any vaccines would be contrary to my long-held (and
         documented) beliefs and how I have led my life until now and an afront to God’s will. I
         am firm in my beliefs and position on this matter and St. Paul’s letter to the Romans
         (Romans 12:1-2) appropriately addresses the embodiment of my belief system;
         “Therefore, I urge you, brothers and sisters, in the view of God’s mercy, to offer your
         bodies as a living sacrifice, holy and pleasing God- this is your true and proper worship.
         Do not conform to the pattern of this world but be transformed by the renewing of your
         mind. Then you will be able to test and approve what God’s will is- His good, pleasing
         and perfect will.”
         I continue to live my life with these religious convictions which have been accepted and
         approved by the Colorado Department of Education as well as the New York State
         Department of Education. My sons are now 16 and 14 years old, neither of whom have
         had vaccines…

          2.Have you had an influenza or other vaccine in the past? How does this differ?
         I have never had an influenza vaccine, nor any other vaccines in my adult life. The
         vaccines I received as a baby/young child were different because I was obviously not of
         age to consent nor understand/make my own decisions regarding medical treatment and
         religion.



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         92.     Jane Doe 4 did not receive a written response to that September 1, email, but was

  informed in early October by the Anschutz vice-chancellor in charge of human resources that the

  August 26 denial of her request still stands.

         93.     Jane Doe 4’s supervisors at the Kempe Center regard her as an exemplary

  employee and, in order not to lose her have allowed her to work for the last several weeks remote

  from any Anschutz facility, and remote from the facilities of any Kempe client she serves. That

  remote arrangement makes Defendants’ vaccination policies inapplicable to Jane Doe 4, and so

  allows her to remain employed.

         94.     Jane Doe 4’s supervisors have told her that they will keep the fully remote

  arrangement she is currently working under in place as long as possible. But they have told her

  she must either be compliant with Defendants’ vaccination policy whenever she is required to

  return to Anschutz or Kempe client facilities or be terminated.

         Jane Doe 5

         95.     On August 4 and again on August 22, 2021, Jane Doe 5 emailed Vaccine Verify

  requests to be exempted from the requirement to receive a COVID vaccine because, as she wrote

  in her August 22 request:


            I am an Orthodox Christian who believes in the Bible, and I follow God and the
            principles laid out in His words. As a believer in Jesus Christ, I believe in divine and
            supernatural healing. To be forced upon by a cure (vaccine) that has not been proven or
            thoroughly tested is to diminish my faith in God. … I will now state a few reasons
            based on scripture:

           Exodus 15:26 – 26 and said, If thou wilt diligently hearken to the voice of the LORD
           thy God, and wilt do that which is right in his sight, and will give ear to his
           commandments., and keep all his statutes, I will put none of these diseases upon thee,
           which I have brought upon the Egyptians: for I am the LORD that healeth thee.
                ***
         I make this request for the glory of God and to be consistent with my faith.


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         96.     On August 26, 2021, Vaccine Verify emailed Jane Doe 5 the same form letter that

  Dr. Jane Doe also received on August 26. (Exhibit 3). Like Dr. Jane Doe 1’s, that form letter was

  addressed simply “Hello,” without any identification of its intended recipient. Like Dr. Jane Doe

  1’s form letter, it said that Jane Doe 5’s request was being denied “because it does not comply

  the campus policy, which only recognizes religious exemptions based on a religious belief whose

  teachings are opposed to all immunizations.”

         97.     Jane Doe 5 has persisted in her principled religious refusal to accept the

  vaccinations. Her supervisors, however, regard her as an exemplary employee and, in order not

  to lose her have allowed her to work for the last several weeks remote from the ambulatory

  surgical facility, thus making the vaccination policy inapplicable to her.

         98.     Jane Doe 5’s supervisors have told her, however, that the fully remote

  arrangement she is currently working under cannot continue past the end of December 2021. On

  October 7, the operations director of her Anschutz department wrote her as follows:

         Due to your failure to comply with the University's vaccination policy and our inability to
         accommodate your exemption request, effective immediately, you will be allowed to
         work remotely until you have provided proof of vaccination. Your University badge has
         been deactivated therefore you will not be permitted on campus for any work-related
         reason. During this period of remote work your salary will be reduced by 10% as of the
         date of this letter and you will be ineligible for a merit increase or promotion.

         You will be given until November 1, 2021 to submit verification of vaccination (at least
         one dose of a two-dose series) via the campus vaccine verification system. Failure to
         submit verification of the vaccination by November 1, 2021 will result in a continuance
         of the 10% salary reduction and a termination date of December 31, 2021.

         Jane Doe 6


         99.     On August 24, 2021, Jane Doe 6 emailed a request to be exempted from the

  requirement to receive a COVID vaccine on the Vaccine Verify team’s standard form. In answer



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  to the question “Please explain why your sincerely held religious belief, practice, or observance

  prevents you from getting the vaccination” she wrote:

         I am a member of Harvest Fellowship and I am exercising my right to receive a religious
         exemption for vaccination. The vaccines I oppose include the current COVID-19 mRNA
         vaccines and the Jansen vaccine which are produced with aborted fetal cell lines.
         The Johnson & Johnson vaccine, the Jansen vaccine, uses retinal cells from a fetus that
         was aborted in 1985 and treated in a lab since; the Pfizer and Moderna vaccines test the
         mRNAs on fetal cell lines from an aborted fetus cell from 1973. This is evil and
         sickening.
         As a faithful Christian, I cannot according to the Church tenets on conscience, use any
         product that takes its origin in abortion. "For you created my inmost being You knit me
         together in my mother's womb." Psalm 139:13. The inmost being is sacrosanct.
         I consider these vaccines as an impurity. Using fetal cells from an aborted fetus for the
         benefit of the greater good or my personal benefit can be reconciled. I will not knowingly
         participate in the process to use such a product that violates the right to life and dishonors
         the lives of the unborn.
         The scriptures are very specific about how those who practice Christianity should
         navigate life. Ephesians 6:10-18 directs us to “put on the armor of God,” so that we can
         be equipped with truth, righteousness, peace and faith.
         Therefore, as a faithful Christian, opposed to abortion, I cannot according to the tenets of
         the Bible’s teaching on conscience, use any product that takes its origin in abortion.

         100.    On August 26, 2021, Vaccine Verify emailed Jane Doe 6 the same form letter that

  Dr. Jane Doe 1 also received on August 26. (Exhibit 3). Like Dr. Jane Doe 1’s, that form letter

  was addressed simply “Hello,” without any identification of its intended recipient. Like Dr. Jane

  Doe 1’s form letter, it said that Jane Doe 6’s request was being denied “because it does not

  comply the campus policy, which only recognizes religious exemptions based on a religious

  belief whose teachings are opposed to all immunizations.”

         101.    Jane Doe 6’s supervisors regard her as an exemplary employee and, in order not

  to lose her have allowed her to work for the last several weeks remote from any Anschutz

  facility. That remote arrangement makes Defendants’ vaccination policies inapplicable to Jane

  Doe 6, and so allows her to remain employed.




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         102.    Jane Doe 6’s supervisors have told her, however, that the fully remote

  arrangement she is currently working under cannot continue past the middle of November 2021

  and may have to cease sooner. They have told her she must either be compliant with Defendants’

  vaccination policy at that time or be terminated.

         Jane Doe 7

         103.    On August 29, 2021, Jane Doe 7 submitted a request to be exempted from taking

  any COVID vaccines because of her sincere religious beliefs precluding acceptance of the

  vaccines. That request said:

         Please explain why your sincerely held religious belief, practice, or
         observance prevents you from getting a COVID-19 vaccination? Please include a
         detailed response.
         In that I am a member of the Christian faith, I am exercising my right to receive a
         religious exemption for vaccination. First and foremost, the vaccines I oppose include the
         current COVID-19 mRNA vaccines and the Jansen vaccine which are tested, developed,
         and/or produced with aborted fetal cell lines.
         The Johnson & Johnson vaccine, the Jansen vaccine, uses retinal cells from a fetus that
         was aborted in 1985 and treated in a lab since; the Pfizer and Moderna vaccines test the
         mRNAs on fetal cell lines from an aborted fetus cell from 1973.
         Therefore, as a faithful Christian, I cannot according to the church tenants on conscience,
         which are outlined below, use any product that takes its origin in abortion. “For You
         created my inmost being You knit me together in my mother’s womb.” Psalm 139:13.
         The inmost being is sacrosanct.
         Defiling of the body, many Christians, including me, believe as 2 Corinthians 7 teaches,
         that we should “cleanse ourselves from every impurity of flesh and spirit.” The way I
         practice my religion includes aligning myself with scriptures on issues that oppose the
         wisdom of the world. What the world considers a type of remedy, a privilege, and
         something to covet in 2021 but is something I consider an impurity, I do not believe that
         using fetal cells from an aborted fetus for the benefit of the greater good or my personal
         benefit can be reconciled. I will not knowingly participate in the process to use such a
         product that violates the right to life and dishonors the lives of the unborn.
         The scriptures are very specific about how those who practice Christianity should
         navigate life. Ephesians 6:10-18 directs us to “put on the armor of God,” so that we can
         be equipped with truth, righteousness, peace, and faith. . . .

         Therefore, as a faithful Christian, opposed to abortion, I cannot according to the Church
         tenets on conscience, which I outlined, use any product that takes its origin in abortion…



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         104.    On September 7, however, the Associate Dean for Student Affairs of the dental

  school, Eric Mediavilla, emailed Jane Doe 7 a denial of her request as follows:

         The University's mandatory vaccination policy offers exemptions based on a person's
         religious belief whose teachings are opposed to all immunizations, i.e., your religion
         teaches you and all other adherents that immunizations are forbidden under all
         circumstances. When asked to explain how your religious beliefs prevent you from
         receiving the COVID-19 vaccine, you responded that you object based on your belief that
         the COVID-19 vaccines were developed from human cell lines derived from abortion.

         The basis for your objection to vaccination against COVID-19 is of a personal nature and
         not part of a comprehensive system of religious beliefs. Having considered your
         exemption request and the campus COVID-19 vaccination policy, your request is not
         approved. [Exhibit 24] (Emphasis added.)

         105.    Shortly afterward, on September 9, Jane Doe 7 was diagnosed as having

  contracted COVID 19 and has since recovered. Her treating physician advised her not to receive

  any COVID vaccination because of this condition for at least 90 days.

         106.    Jane Doe 7 promptly advised the Dental School Dean’s Office of her physician’s

  advice, and on September 22, the Dean’s Office informed her that she had been placed on an

  involuntary 90-day medical leave of absence. Unlike others with medical exemptions to

  vaccination, she is not allowed to attend class or come onto campus. The Dean’s Office has

  further advised that, after the 90-day medical leave of absence, she will be required to receive a

  COVID vaccination or be placed on forced personal leave of absence, pending ultimate dismissal

  from the program.

                 Jane Doe 8

         107.    On August 22, 2021, Jane Doe 8 submitted a request for exemption to the Vaccine

  Verify team on its form template asking to “explain why your sincerely held religious belief,




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  practice, or observance prevents you from getting the vaccination for which you are requesting

  an exemption? Please include a detailed response for each vaccine.” Jane Doe 8 wrote:

         My religious and sincerely held moral and ethical beliefs are that my body is to remain
         pure because it is the temple of the Holy Spirit and the living embodiment of Jesus
         Christ. I must take optimal care of my temple at all times for I am made in the image of
         God and cannot desecrate it. All things going into my body, my temple, must be natural
         and God-made. Through the use of prayer, meditation, the blessing of food and drink
         before consumption, and exercise I keep my temple pure and healthy. I must keep my
         temple pure in the manner than God created: by eating, drinking, and breathing. God
         created me perfectly with natural immunizations, as I am in his image. I am requesting
         religious exemptions from the Covid-19 vaccination that will taint the purity of my
         temple as stated above.

         108.     On August 26, 2021, Vaccine Verify emailed Jane Doe 8 the same form letter that

  Dr. Jane Doe 1 also received on August 26. (Exhibit 3). Like Dr. Jane Doe 1’s, that form letter

  was addressed simply “Hello,” without any identification of its intended recipient. Like Dr. Jane

  Doe 1’s form letter, it said that Jane Doe 8’s request was being denied “because it does not

  comply the campus policy, which only recognizes religious exemptions based on a religious

  belief whose teachings are opposed to all immunizations.”

         109.     Ms. Doe 8 emailed Vaccine Verify that same day, August 26, an appeal of that

  decision. Vaccine Verify responded the next day, August 27, as follows:

         From: Vaccine Verify <vaccineverify@cuanschutz.edu>
         Sent: Friday, August 27, 2021 11:37:12 AM
         To: [Jane Doe 8]
         Subject: RE: Your Vaccine Religious Exemption Request
         Hello,
         Your response has been received and it is understood that you disagree with the
         university’s decision, however the policy requirement to be vaccinated by September 1,
         2021 must be met.
         Please submit your vaccine verification form HERE.
         Failure to submit proof of COVID-19 vaccine verification by September 1, 2021 will
         result in additional actions being taken due to your failure to comply with the campus
         vaccination policy, including but not limited to termination.



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         110.      On September 8, Jane Doe 8 was told by her academic advisor that she could no

  longer be enrolled in the master’s level courses on the Anschutz campus, and that she would no

  longer be part of the master of public health program.

         111.      The University of Colorado Denver has, however, granted Jane Doe 8 an

  exemption from its vaccination policy and she continues to pursue her bachelor’s degree in

  public health.

         Jane Doe 9

         112.      In mid-August 2021, Jane Doe 9 emailed to Vaccine Verify a form request to be

  exempted from the requirement to receive a COVID vaccine because of her religious opposition

  to the vaccines.

         113.      On August 24, in response to Vaccine Verify’s emailed form, two question

  follow-up to such requests (“Please explain why your sincerely held religious belief, practice, or

  observance prevents you …” and “Have you ever had and influenza vaccine?”), Jane Doe 9

  emailed the following response:

         From: [Jane Doe 9]
         Sent: Tuesday, August 24, 2021 4:02 PM
         To: Vaccine Verify <vaccineverify@cuanschutz.edu>
         Subject: Re: Your Vaccine Religious Exemption Request

         Greetings,
         1. I am requesting exemption from both the flu vaccine and the COVID vaccine. Both
            are against my sincerely held religious belief/practice/observance because I believe
            my relationship with God is the ultimate source of healing. Vaccinations, in all their
            forms and mechanisms for altering my body, go against my faith and causes harm to
            my conscience because it would harm my relationship with God. My body is a
            Temple and I, guided by my deeply held religious convictions, determine what I will
            or will not put in my body.
         2. As an adult, I have only ever received one flu shot when I started graduate school in
            2018. However, this situation differs because my sincerely held religious
            beliefs/practices/observances began in 2019 when my relationship with God started,
            which is why I have not received a flu vaccine or any others since then.
            Thank you for your time and consideration.


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         114.    On August 26, 2021, Vaccine Verify emailed Jane Doe 9 the same form letter that

  Dr. Jane Doe 1 also received on August 26. (Exhibit 3). Like Dr. Jane Doe 1’s form denial, that

  form letter to Jane Doe 9 was addressed simply “Hello,” without any identification of its

  intended recipient. Like Dr. Jane Doe 1’s form letter, and notwithstanding Jane Doe 9’s explicit

  statement that she objected to vaccinations “in all their forms,” it said that Jane Doe 9’s request

  was being denied “because it does not comply the campus policy, which only recognizes

  religious exemptions based on a religious belief whose teachings are opposed to all

  immunizations.” On September 16th, one day after taking the initiative to email “Vaccine

  Verify” seeking an “update” on her religious exemption status, she received an email from the

  same Vaccine Verify confirming her denial (again, one day after Dr. Jane Doe 1’s demand letter

  noted above), this time stating Jane Doe 9 would “pose a significant health and safety threat to

  the University” and “pose an undue burden” to her coworkers. She has since been terminated.

         Jane Doe 10
         115.    Jane Doe 10 first informed Defendants’ human resources personnel that she is

  religiously opposed to vaccinations in 2020, in connection with a requirement for employees to

  get vaccinated against the flu. After that initial request, defendants had allowed her to be exempt

  from their requirements for any vaccination until late in August 2021.

         116.    In mid-August 2021, Jane Doe 10 emailed a request to be exempted from the

  requirement to receive a COVID vaccine. On August 20, 2021, Vaccine Verify emailed her its

  form, two-question request for details about her religious beliefs. On August 24, she emailed the

  following response:

         1.   Please explain why your sincerely held religious belief, practice, or observance
         prevents you from getting the vaccination for which you are requesting an



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          exemption? Please include a detailed response for each vaccine for which you are
          requesting an exemption.
          I am filing an exemption from the COVID-19 vaccine. I already have an influenza
          vaccine exemption on file. I have been a Christian for my entire life but after becoming a
          mother I began practicing my faith more deeply. From spending time reading the Bible,
          in prayer, and in discussion with my pastor, it is my sincerely held religious belief that
          the use of vaccines violates my Christian faith and the ability for God to use my body to
          its full potential on this earth; therefore I should not receive vaccinations moving
          forward. My body is a temple of God and I must keep it holy and glorify God and the
          health that He has given to me. Proverbs 3:5 reminds us to "trust in the Lord with all your
          heart, and do not lean on your own understanding" similar to Psalms 146:3. Colossians
          2:8 tells us to "see to it that no one take you captive through hollow and deceptive
          philosophy, which depends on human tradition...rather than on Christ".
          2. Have you had an influenza or other vaccine in the past? How does this differ? I
          have received the influenza vaccine in the past.
          After having my daughter in 2019 I reconnected with my faith and you can see that I was
          granted an exemption from the influenza vaccine in 2020. ...

          117.   Notwithstanding Jane Doe 10’s longstanding notice to Defendants that she

  opposed all vaccinations, on August 27, Vaccine Verify emailed Jane Doe 10 the same form

  letter that Dr. Jane Doe 1 also received on August 26. (Exhibit 3). Like other Plaintiffs’ form

  letters, that form letter was addressed simply “Hello,” without any identification of its intended

  recipient.

          118.   The Vaccine Verify team further alleged that Jane Doe 10’s request “does not

  comply the campus policy, which only recognizes religious exemptions based on a religious

  belief whose teachings are opposed to all immunizations,” notwithstanding that Defendants had

  previously acknowledged her religious sincerity in granting her a religious exemption to the flu

  over a year before, based on her stated opposition to all vaccinations.

          119.   Similar to the situation faced by John Doe 1, Jane Doe 10’s rejection stems, at

  least in part, from her perceived lack of membership in an organized religion whose tenets

  include a hierarchically promulgated, authoritative position rejecting all vaccines.



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         120.    That very day, August 27, 2021, Jane Doe 10 promptly pointed all of this out to

  the Vaccine Verify team, emailing it the following:

         I am confused by the response since the only vaccine I currently am being requested to
         get is the covid vaccine. My religious exemption request was already in place for the
         influenza vaccine. There are no other vaccines that I need an exemption from; however, I
         can confirm that my religious belief applies to all vaccinations. I refused the TDap
         booster at my midwife appointment just last week. My daughter, almost 2 years old, has
         not received any vaccines on account of my religious belief.
         121.    The Vaccine Verify team responded to Jane Doe 10 again on September 2, 2021,

  but again revealed that it had given her request no more meaningful consideration. That day they

  emailed her their form response that “[t]he basis for your objection to vaccination against

  COVID-19 is of a personal nature and not part of a comprehensive system of religious beliefs.”

         122.    Jane Doe 10 is also pregnant and anticipates delivery in early to mid-November.

  She has depended on the salary and benefits from her job to pay for pre-natal care, and will need

  them, too, to care for peri- and post-natal care when she goes on maternity leave next month.

         123.    Jane Doe 10’s supervisors want her to continue in her work and have told her that

  she may continue in her position for now, but must perform her duties from home, fully remote

  from Anschutz facilities. That fully remote arrangement she is currently working under cannot

  continue, however. Because her position is considered a clinical position—requiring in-person

  contact with patients in clinical trials—after the end of her pregnancy leave, she must either

  become compliant with Defendants’ vaccination policy or be terminated from that position.

         Jane Doe 11

         124.    Prior to requesting her religious exemption from Defendants, Jane Doe 11

  requested, and promptly received, an exemption from the Colorado Department of Human

  Services, the owner and operator of the medical facility in Pueblo where she works. She




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  afterward also submitted a request to Defendants for an exemption from their vaccine mandate,

  including notification to Defendants of her exemption from the Department of Human Services.

         125.    On September 2, 2021, in response to Vaccine Verify’s two-question form follow

  up to initial religious requests [quoted in paragraph 68 above], Jane Doe 11 emailed the

  following responses:

         Good afternoon. I have previously received a religious exemption VIA C[olorado]
         D[epartment of] H[uman] S[ervices] since we are required to complete this process for
         both institutions to keep our privileges here at C[olorado] M[ental] H[ealth] I[nstitute at]
         P[ueblo]. In response to your questions I can provide you the following information:

        1:The Ten Commandments tell us "Thou shall not kill." Many of the vaccines that are
        administered in the United States, to include the Johnson and Johnson COVID19
        vaccination are initially derived from live attenuated viruses, which have been cultured in
        aborted fetal cell lines. Abortion results in a great loss of life and is not within my belief
        system as an act that should be supported and substances derived from these fetal cell
        lines should definitely not be injected into my body. Furthermore, the Bible teaches me
        that my body was created in the image of God, the temple of the Holy Spirit, and is a
        living sacrifice to the Lord. I truly hold the belief that Moderna, Pfizer, and Johnson and
        Johnson, and the up and coming NovaVax COVID19 vaccinations have the potential to
        cause harm to my body and have witnessed harm to others who have chosen to allow
        themselves to be vaccinated. In holding the sincere belief that this vaccination has the
        potential to cause harm to my body, it is a duty of God, on my behalf, to refuse this
        vaccination.
        Finally, the Bible decrees that I ought obey God rather than men and in my duty to be an
        obedient servant to the Lord, I must refuse to partake in this vaccination.

        2: I have received vaccinations in the past. I was fully vaccinated as a child and this was
        my parents' choice, not mine. I also received the influenza vaccination after becoming an
        adult because I was told it was a requirement to complete my education and to work at my
        facility. I have done a lot of reflection with God and my religious beliefs over the course
        of COVID and have realized the importance of being firm with my convictions. I no
        longer plan on receiving vaccinations to include the ones that may be suggested as I
        age. As a person of religious conviction, it is important to do things that I believe in even
        if they cause me the slight inconvenience of having to wear extra PPE, rather than doing
        something I don't believe in to avoid wearing goggles or a face shield. Also, since I have
        become a health care provider I understand now, more than ever, the importance of
        freedom in medical and healthcare decisions.
         Thank you for your time and consideration.




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          126.   On September 7, however, Vaccine Verify emailed Jane Doe 11 the same form

  letter denial her co-plaintiffs received in late August through mid-September. (Exhibit 3). Like

  all the other form denials, that form letter was addressed simply “Hello,” without any

  identification of its intended recipient. Like the other form letters, it said that Jane Doe 11’s

  request was being denied “because it does not comply the campus policy, which only recognizes

  religious exemptions based on a religious belief whose teachings are opposed to all

  immunizations.”

          127.   Notwithstanding the adoption of the new September 24, Policy that denial has

  never been revisited by Defendants.

          128.   Jane Doe 11’s supervisors at the Colorado Mental Health Institute at Pueblo

  regard her as a vital employee and, having already granted her an exemption from their own

  vaccine mandate to allow her to keep working allowing her to continue working at the Pueblo

  facility until they receive an explicit command from Defendants that she is barred from that

  facility.

          129.   On October 27, 2021, Jane Doe 11’s HR liaison at Anschutz, Rachel Anderson,

  notified Jane Doe 11 by email, cc’ing also her direct supervisor at the Pueblo facility, that:

          I was just notified by CU HR and legal that they are requesting that you begin the process
          of vaccination by the end of this week by either receiving the first dose of
          Pfizer/Moderna or the Johnson and Johnson vaccine. If you do not comply with this
          action, you will be put on unpaid administrative leave effective Monday 11/1/21 for 30
          days to come into compliance, if you are not in compliance there may be other actions
          taken including potential termination.

                 John Doe 1
          130.   On May 19, 2021, John Doe 1 was assured by campus authorities that “a religious

  exemption [to vaccination] will just require the individual’s signature attesting to it being

  consistent with their religious beliefs.” Exhibit 6 attached. Those forms were provided to Mr.


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  Doe 1 on July 20, and with those and other assurances supplied, he travelled from his home in

  British Columbia to set up a new life in Colorado and begin study in the University’s medical

  school.

            131.   On August 8 and 9, 2021, Mr. Doe had an exchange with Anschutz’s ombudsman

  inquiring about the need for him to seek an exemption from Anschutz’s vaccine requirements. (A

  copy of this exchange is attached as Exhibit 7). That exchange includes advice from the office of

  University counsel about the contours of the Policy it was then still developing, including

  University counsel’s belief that no religion only prohibits COVID vaccines. (Exh. 7, at p. 3:

  “Pursuant to our policy the religious exemption applies to people whose religion precludes all

  vaccinations. I am unaware of a religion that only prohibits COVID 19 vaccinations.”) But even

  under this erroneous legal and theological advice, Mr. Doe was given no indication that his

  religious exemption (to all vaccines) would be denied.

            132.   On August 10, 2021, Mr. Doe met personally with Defendant Zimmer about

  exemption from the COVID vaccines. A copy of Doe’s and Zimmer’s follow-up email exchange

  is attached as Exhibit 8. The upshot of that meeting, as that exchange makes clear, is that Mr.

  Doe would be exempt from the vaccines if he kept to Anschutz protocols for the unvaccinated.

  See Exh. 8, Doe email: “I am grateful that the Deans are providing me alternatives /

  accommodations while I am self-quarantined, and I will learn it well to serve patients in the

  future.” Those protocols, and a formal acknowledgment that he was “vaccine exempted” were

  then forwarded to John Doe 1 by email on August 13. A copy of that email is attached as Exhibit

  9.

            133.   However, soon afterward, an assistant Dean working with Defendant Zimmer, Dr.

  Brian Dwinnell, advised Mr. Doe 1 that a new vaccination Policy was in place, that his prior




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  exemption was revoked, and that he would need to seek another religious exemption. A copy of

  the August 18, email conveying this revocation is attached as Exhibit 10.

         134.    On August 23, 2021, John Doe 1 submitted another request for religious

  accommodation (a copy is attached as Exhibit 11) under the Policy. He also provided a detailed

  explanation of his Buddhist background and development. He explained how his religious beliefs

  oppose all vaccinations based on three tenets of Buddhism as he understood them: (1) the power

  of the mind to heal the body which is disrupted by vaccination; (2) the medicinal purpose of

  suffering, in which use of medications should be limited and taken only for afflictions one is

  presently suffering; and (3) the involvement of killing or harming animals in vaccine

  development, which directly violates “Buddha’s teaching on Not-killing and Not-harming.”

  (Exhibit 12 attached, August 22, 2021, letter, at pp. 3-5).

         135.    That letter explained that he had received a religious exemption during

  undergraduate school from lab work that involved the killing of drosophila and mice. (Id., at p.

  2). He also explained that his last vaccination was in 2016 at the University of Michigan (as

  required to volunteer at its hospital), which he accepted only after much internal struggle and,

  upon learning of legal protections for sincere religious beliefs, thereafter “vowed to the Buddha”

  to “never go against my faith again.” (Id. at p. 2). He further stated that consistent with all of

  these, he now spends much time in meditation, has become a vegan, seeks to avoid using

  products that involve animal ingredients or animal testing in their development. (Id. at 5).

         136.    None of this was good enough for the University. On August 24, the Student

  Response Team (headed by Defendant Zimmer) requested “documentation that demonstrates

  your religion is opposed to all immunizations.” (Exhibit 13 attached). The email openly stated

  that “Citations from specific documents are not sufficient. The University will only accept




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  requests for religious exemption that cite to the official doctrine of an organized religion, in

  this case, Buddhism, as announced by the leaders of that religion.” (Id.) The email then

  stated:

            Please note, that in the course of reviewing your request, the University learned
            that the Dharma Realm Buddhist University set up by Dharma Master Xuan Hua
            who you list in your letter is in fact requiring vaccinations for all of its students,
            faculty and staff. https://www.buddhistdoor.net/news/dharma-realm-buddhist-
            university-in-california-resumes-in-person-classes-with-largest-student-cohort

  (Defendant Zimmer was included in the circulation of this email)

            137.   The University had thus openly entered the theological business of judging the

  truth or falsity of its students’ religious beliefs.

            138.   On August 26, 2021, John Doe 1 sent Defendant Zimmer a supplemental letter

  explaining that the available COVID vaccines more gravely offend his religious beliefs because

  of their developmental use of “human fetal cell cultures” that “were developed by taking a life

  which violates the fundamental tenets of my long-held Buddhist religion.” (Exhibit 14 attached,

  Letter at p. 1). He further explained that “My Buddhism philosophy in one of the five precepts,

  not killing, has made the strongest impact on my academics and daily life” [at p. 2] and:

            The currently available COVID-19 vaccines in the U.S. market are either
            developed from, or tested on, fetal cell lines from aborted babies . . . None of the
            vaccines is completely free from any use of abortion-derived cells . . . As a
            sincere Buddhist, I believe that production of vaccines using fetal cells from
            aborted babies is directly against my belief in the Buddha’s doctrine of not-killing
            and not-harming.

  Exhibit 14 at p. 1.

            139.   John Doe 1’s second letter also included a number of legal citations highlighting,

  in part, that it was impermissible to require him to provide “input from an outside source, such as

  a formal religious leader.” (Id. at 3).




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         140.    On August 30, after John Doe 1 had submitted his supplemental request,

  Defendant Zimmer sent him what purported to be the final decision of the Student Response

  Team. A copy of that final decision is attached as Exhibit 15. It, too, reiterated that “The

  University’s mandatory vaccination policy offers exemption to individual’s [sic] whose religious

  beliefs are opposed to all vaccinations.” Zimmer inaccurately summarized John Doe’s objections

  as based on “(1) your belief that COVID-19 vaccines involve cell lines from human fetal cell

  cultures, (2) your belief that the vaccine may be harmful to your body, and (3) your belief that a

  mandatory vaccine requirement violates your right to free choice.” (Id.) She provided no

  citations to John Doe 1’s letters in describing these alleged objections, particularly to the latter

  two which are plainly misrepresentative of John Doe’s beliefs.

         141.    Zimmer then concluded as follows:

         The rationale provided does not constitute a religious belief, but a personal
         objection to receiving the vaccine. You express disagreement with the
         development of the vaccine, disbelieve the scientifically accepted view that it is
         harmless to most people, and express concern that a mandatory requirement
         infringes on your freedom. The basis for your objections are all of a personal
         nature and not part of a comprehensive system of religious beliefs.

         142.    The cover email to that final decision also advised that “you will be referred to the

  promotions committee on September 1, 2021” for formal denial of participation in study at

  Anschutz.

         143.    John Doe 1 was given only three options following the final denial of his

  exemption request: “1. Obtain the vaccine 2. Take a one year leave of absence 3. Withdraw.”

         144.    Faced with no other options, Mr. Doe chose to take this coerced leave of absence.

  He was forced to sell his local belongings, terminate his apartment lease, and incur unnecessary

  and unexpected expenses and loss of income associated with his preparing for and coming to




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  campus and premature move back home. Mr. Doe hopes to resume his studies at the University

  as soon as possible, in a manner consistent with his protected religious beliefs.

         John Doe 2

         145.    In mid-August, 2021, John Doe 2 submitted a request to the Student Response

  team to be exempted from taking any COVID vaccines because of his sincere religious beliefs

  precluding acceptance of the vaccines. Among other things, that request said:

         To Whom it May Concern,
         Upon praying about how to respond to the COVID shot directive, in light of my recent
         COVID infection as evidenced by positive antibody test, and in consideration of my pro-
         life and other values informed by my faith in Jesus Christ, I write to request a medical
         and religious exemption from the University of Colorado’s mandate. As a Christian, I
         believe that my body belongs to God and is the temple of His Holy Spirit (1 Cor 6:19-
         20), and from conception (Psalm 139:13-16) to birth to natural death, I hold that innocent
         life bears God’s image (Genesis 1:26-27) and is sacred to God (Jeremiah 1:5). God’s
         promise that “if anyone lacks wisdom, let him ask of God, who gives to all liberally,” has
         spurred me to seek wisdom regarding this particular vaccine, distinguished from other
         vaccines. It came to my understanding that the manufacturers of the COVID shots have
         used aborted fetal cell lines as part of their development or testing of vaccines.
         Regardless of when in time the corresponding abortion occurred, and irrespective of the
         medical yield garnered therefrom, my faith prohibits me from participating in or
         benefiting from it.
         Furthermore, the nature of this shot as an mRNA vaccine separates it from any other
         immunization I have received. Whereas killed or live attenuated vaccines use some
         derivative of natural infection to prompt an immune response, the way in which this
         vaccine uses mRNA to unnaturally program cells to produce foreign protein trespasses
         God’s design for disease defense.
         146.    At the end of August, however, Defendants denied John Doe 2’s request. On

  August 30, Defendant Zimmer sent John Doe 2 a form letter substantially identical to the August

  30, letter sent to John Doe 1 described above [Exh.15]. In both letters she said:

         The University’s mandatory vaccination policy offers exemptions to individual’s whose
         religious beliefs are opposed to all vaccinations. When asked to explain how your
         religious beliefs prevent you from receiving the COVID-19 vaccine, you responded that
         you had several objections including (1) your belief that the COVID-19 vaccines involve



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           aborted fetal cell lines and (2) your belief that the COVID-19 vaccines use mRNA to
           unnaturally program cells to produce foreign protein and has the capacity to alter your
           genetic code.
           The rationale provided does not constitute a religious belief, but a personal objection to
           receiving the vaccine. You express disagreement with the development of the vaccine
           and disbelieve the scientifically accepted view that it is harmless to most people. The
           basis for your objections are all of a personal nature and not part of a comprehensive
           system of religious beliefs. Having considered your exemption request, it is denied…
           Failure to submit documentation that you have received the first vaccine by September 1,
           2021 will result in a referral to the Promotions Committee for further action, up to and
           including dismissal.

           147.   John Doe 2 met with the Promotions Committee on September 12, 2021, by

  teleconference and also submitted a written statement reiterating his religious objections to

  receiving any COVID vaccine. That letter began:

           I write to appeal for retention at the University of Colorado School of Medicine despite
           not receiving the COVID-19 vaccine. Briefly, the administration denied my recent
           religious exemption request, and secondarily, I possess natural immunity from prior
           COVID-19 infection evidenced by a positive antibody test. However, I have personal
           contacts through UCHealth who have been granted religious exemptions for the same
           reasons I wrote about in my own letter.

           148.   On September 24, 2021, however, the Promotions Committee affirmed the denial

  of John Doe 2’s request via a form letter substantially identical to the one by which it affirmed

  the denial of John Doe 1’s request as described above. It said:

     *     If you choose to not be vaccinated, you have the option of taking a leave of absence for
           up to a year. You will be required to return to the SPC prior to your return to the School
           of Medicine to determine if you are complying with all applicable campus and school
           policies.
     *     You can also choose to withdraw from the School of Medicine and either receive a
           master’s degree or maintain the ability to reapply to the School of Medicine via the SPC
           within 2 years.
     *     If you choose not to obtain the appropriate vaccination, take a leave of absence or
           withdraw, you will be dismissed from the School of Medicine and must meet all
           vaccination requirements prior to your return from a leave of absence.

  John Doe 2 thus faces forced leave, withdrawal, or dismissal, without the intervention of this

  Court.


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         149.    By contrast, in early September, shortly after he submitted his initial request to

  the Anschutz Student Response Team, John Doe 2 submitted a substantially identical request to

  the Colorado Permanente Group (the owner of one of the Colorado Springs medical clinics

  where John Doe 2 was doing clinical rotations) for exemption from its vaccine mandate.

  Permanente responded as follows:

         From: Tanya M Carbone <Tanya.X.Carbone@kp.org>
         Sent: Friday, September 17, 2021 11:49 AM
         To: [John Doe 2]
         Subject: Religious Exemption Provisionally Approval
         [External Email - Use Caution]
         Good morning-
         I am please to inform you that your Religious Exemption Request has been Provisionally
         approved! As an employee who has an approved exemption you are considered
         unvaccinated and must adhere to the guidelines found in the attached document. …At this
         time we are not requiring our unvaccinated employees to get weekly COVID testing, but
         that, along with any additional changes in protocol, may come in the future.
         Please let me know if you have any questions or concerns.
         Have a great afternoon!
         -Tanya
         Tanya Carbone, MHR
         Senior Human Resources Business Partner
         tanya.x.carbone@kp.org
         720-661-7551 (cell)
         303-344-7925 (fax)
         HR One

         150.    And on the evening of October 27, 2021, John Doe 2 emailed another,

  substantially identical, request for exemption to Centura Health, the owner of another one of the

  medical facilities where John Doe 2 may do clinical rotations. Less than an hour later, he

  received this response:




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    Approved: COVID-19 vaccination exemption


    From: Occupational Health COVID-19 Command Center

Hello,
Your COVID-19 vaccination exemption request has been approved.
Safety First, People Always is at the core of everything we do at Centura, and your health and safety
are our top priority. We have put measures in place to help protect you and prevent the spread of
illness in our workplaces and communities. Please read below to view the requirements of your
exemption:

        •  Adhere to Centura’s testing guidance for exempted individuals:
               o Currently testing will occur following our current COVID-19 protocols and
                   algorithms.
               o Please recognize testing frequency may vary based on changing state/federal
                   mandates.
        • Adhere to all masking and social distancing guidelines, including but not limited
           to:
               o A mask must be worn at all times, in accordance with our masking
                   guidance.
           ***
    Please note, your leader, direct supervisor, chief medical officer or placement coordinator
    has been copied on this message. …



               John Doe 3
               151.   In mid-August, 2021, John Doe 3 emailed to Vaccine Verify a request to be

       exempted from the requirement to receive a COVID vaccine because of his religious opposition

       to any vaccine whose creation or testing for use involved use of stem cell lines from live aborted

       fetuses (he is a conscientious practicing Catholic).

               152.   On August 24, in response to Vaccine Verify’s emailed form request for more

       information about his religious beliefs, John Doe 3 emailed the following response:




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         Tue 8/24/2021 3:11 PM
         To: Vaccine Verify <vaccineverify@cuanschutz.edu>

         ReligiousExemptionLetter.pdf; COVID-19-Vaccine-Candidates-and-Abortion-Derived-
         Cell-Lines.pdf;
         Vaccine Verify Team,
         I hope this message is received. The email address as documented at the end of your
         email “vaccineverification@cuanschutz.edu “ is not a recognized email address. Please
         see my information below answering your questions along with the attached
         documentation referenced. I have re-pasted my response here: Please find attached a
         letter signed by my parish priest documenting the reasons a baptized Catholic may claim
         a religious exemption. I do not believe it is my obligation to go into any additional detail
         beyond the tenets within the document and these hold true for all currently available
         vaccines. I have also provided documentation from the Charlotte Lozier Institute
         documenting COVID-19 vaccine candidates and any associations to abortion derived cell
         lines. Through much discernment I have formed my conscience on this matter and am
         morally obligated to obey my conscience.
         Regarding the second question below and the influenza vaccine, I have never received
         any. Regarding others in my past, they were received as a child under the authority of my
         parents and not a personal decision of my own.
         I trust this meets your requests. I look forward to your response soon.
         153.    The letter from John Doe 3’s parish priest that he attached to that email accurately

  related the Catholic moral doctrine guiding John Doe 3’s decision. It said:

         [John Doe 3] is a baptized Catholic seeking a religious exemption from an immunization
         requirement. This letter explains how the Catholic Church's teachings may lead
         individual Catholics, including [John Doe 3], to decline certain vaccines.

         The Catholic Church teaches that a person may be required to refuse a medical
         intervention, including a vaccination, if his or her conscience comes to this judgment.
         While the Catholic Church does not prohibit the use of most vaccines, and generally
         encourages them to safeguard personal and public health, the following authoritative
         Church teachings demonstrate the principled religious basis principled religious basis on
         which a Catholic may determine that he or she ought to refuse certain vaccines:

                 • Vaccination is not morally obligatory in principle and so must be voluntary. 1
                 • There is a moral duty to refuse the use of medical products, including certain
                 vaccines, that are created using human cells lines derived from abortion; however,
                 it is permissible to use such vaccines only under case-specific conditions-if there
                 are no other alternatives available and the intent is to preserve life.
                 • A person's assessment of whether the benefits of a medical intervention
                 outweigh the
                 undesirable side-effects are to be respected unless they contradict authoritative
                 Catholic


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                 moral teachings.
                 • A person is morally required to obey his or her conscience.
         154.    On August 26, 2021, Vaccine Verify emailed John Doe 3 the same form letter that

  Dr. Jane Doe 1 also received on August 26. (Exhibit 3). Like Dr. Jane Doe 1’s form denial, that

  form letter to John Doe 3was addressed simply “Hello,” without any identification of its intended

  recipient. Like Dr. Jane Doe’s form letter, it said that John Doe 3’s request was being denied

  “because it does not comply the campus policy, which only recognizes religious exemptions

  based on a religious belief whose teachings are opposed to all immunizations.”

         155.    John Doe 3’s supervisors regard him as an exemplary employee and, in order not

  to lose him have reclassified him as working 100% remote from any Anschutz facility. That

  remote arrangement makes Defendants’ vaccination policies inapplicable to John Doe 3, and so

  allows him to remain employed.

         156.    The fully remote arrangement that John Doe 3 is currently working under does

  not allow him to receive vital skill-development—e.g., educational conferences, in person

  collaboration and problem solving with Anschutz colleagues and clients—that are necessary for

  him to perform his work. Even if he were allowed to work remotely indefinitely, he would soon

  become ineffective and eventually unable to perform his job.

         John Doe 4

         157.    On August 21, 2021, John Doe 4 emailed to Vaccine Verify a request to be

  exempted from the requirement to receive a COVID vaccine because of his religious opposition

  to any vaccine whose creation or testing for use involved use of stem cell lines from live aborted

  fetuses (he is a conscientious practicing Christian). That request included this personal statement

  regarding his religious beliefs:




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       In that I am a Christian believer, I am exercising my right to receive a religious
       exemption for vaccination. First and foremost, I have a sincere and deeply held religious
       objection to these vaccines. The vaccines I oppose include the current COVID-19 mRNA
       vaccines and the Janssen vaccine which are produced with aborted fetal cell lines.

       The Johnson & Johnson vaccine, the Janssen vaccine, uses retinal cells from a fetus that
       was aborted in 1985 and treated in a lab since; the Pfizer and Moderna vaccines test the
       mRNAs on fetal cell lines from an aborted fetus cell from 1973.

       Therefore as a faithful Christian, I cannot according to the Church tenets on conscience
       which are outlined below, use any product that takes its origin in abortion. "For you
       created my inmost being You knit me together in my mother's womb." Psalm 139:13.
       The inmost being is sacrosanct.
       158. * * *
       Further, the Catechism of the Catholic Church which Pope John Paul II declared to be the
       “sure teaching norm of the Catholic Church” contains tenets of the Christian faith and our
       duty to adhere to these teachings regarding the right of conscience objections states:

       1776 Deep within his conscience man discovers a law which he has not laid upon
       himself but which he must obey. Its voice, ever calling him to love and to do what
       is good and to avoid evil, sounds in his heart at the right moment…. For man has
       in his heart a law inscribed by God…. His conscience is man’s most secret core
       and his sanctuary. There he is alone with God whose voice echoes in his depths.
       1777 Moral conscience, present at the heart of the person, enjoins him at the
       appropriate moment to do good and to avoid evil. It also judges particular
       choices, approving those that are good and denouncing those that are evil. It
       bears witness to the authority of truth in reference to the supreme Good to which
       the human person is drawn, and it welcomes the commandments. When he listens
       to his conscience, the prudent man can hear God speaking.
       1778 Conscience is a judgment of reason whereby the human person recognizes
       the moral quality of a concrete act that he is going to perform, is in the process of
       performing, or has already completed. In all he says and does, man is obliged to
       follow faithfully what he knows to be just and right. It is by the judgment of his
       conscience that man perceives and recognizes the prescriptions of the divine law:
       Conscience is a law of the mind; yet [Christians] would not grant that it is
       nothing more; I mean that it was not a dictate, nor conveyed the notion of
       responsibility, of duty, of a threat and a promise…. [Conscience] is a messenger
       of him, who, both in nature and in grace, speaks to us behind a veil, and teaches
       and rules us by his representatives. Conscience is the aboriginal Vicar of Christ.
       1779 It is important for every person to be sufficiently present to himself in order
       to hear and follow the voice of his conscience. This requirement of interiority is
       all the more necessary as life often distracts us from any reflection, self-
       examination or introspection.

       Therefore, as a faithful Christian, opposed to abortion, I cannot, with a moral conscience,
       and with my deeply held religious objection, use any product that takes its origin in



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          abortion. I have the right to an objection of conscience regarding what is put into my
          body.

          159.    The Vaccine Verify team shortly thereafter denied John Doe 4’s request via the

  same form letter that it sent to his co-plaintiffs. (Exhibit 3).

          160.    By mid-September, because John Doe 4 had not received any COVID

  vaccination, the chief of the Anschutz police department began a discipline process that will

  eventually lead to John Doe 4’s termination. Attached here as Exhibit 25 is the September 29

  formal notification to John Doe 4 that his failure to accept the vaccinations for his stated

  religious beliefs is a disciplinable offense.

          161.    As that notice recites, John Doe 4’s pay has already been docked 10% solely due

  to his assertion of a religious objection to vaccination, and the Anschutz police department’s

  chief has informed John Doe 4 that unless he accepts the vaccination, he will be terminated at the

  end of a 12-week discipline process. The extended duration of that discipline process is

  necessary, the notice recites, because his continuing to work—notwithstanding that he is not

  vaccinated—is necessary to avoid an undue hardship to the department.

          John Doe 5

          162.    John Doe 5 is a conscientious, practicing Christian, firmly opposed to abortion

  and to any complicity with it.

          163.    On August 23, 2021, John Doe 5 emailed Vaccine Verify a request not to be

  required to accept the COVID vaccination on Vaccine Verify’s standard, two question form

  (quoted in ¶68 above). He explained his religious opposition to the currently available COVID

  vaccines because of their use of stem cell lines from aborted fetuses in manufacture or testing.

          164.    On August 26, 2021, Vaccine Verify emailed John Doe 5 the same form letter that

  Dr. Jane Doe 1 also received on August 26. (Exhibit 3). Like Dr. Jane Doe 1’s form denial, that


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  form letter to John Doe 3was addressed simply “Hello,” without any identification of its intended

  recipient. Like Dr. Jane Doe 1’s form letter, it said that John Doe 3’s request was being denied

  “because it does not comply the campus policy, which only recognizes religious exemptions

  based on a religious belief whose teachings are opposed to all immunizations.”

             165.   John Doe 5’s supervisors regard him as an exemplary employee and, in order not

  to lose him have reclassified him as working 100% remote from any Anschutz facility. That

  remote arrangement makes Defendants’ vaccination policies inapplicable to John Doe 5, and so

  allows him to remain employed at the present time.

             166.   The fully remote arrangement that John Doe 5 is currently working under,

  however, does not allow him to receive vital skill-development—e.g., educational conferences,

  in person collaboration and problem solving with Anschutz colleagues and clients—that are

  necessary for him to perform his work. He also cannot adequately serve the internal clients of the

  Office of Information Technology without some in-person interaction. Even if he were allowed

  to work remotely indefinitely, he would soon become ineffective and eventually unable perform

  his job.

             John Doe 6

             167.   On June 15, 2021, John Doe 6 tendered to the Vaccine Verify team a signed

  attestation on an Anschutz-prepared form that he had sincere religious objections to accepting

  the COVID vaccinations. In response, on August 13, 2021, he received a form email identical to

  that received by John Doe 1 [Exhibit 9] saying “Thank you for completing the University of

  Colorado Anschutz Medical Campus verification process. You have attested that you are vaccine

  exempted. Please keep this email.”




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         168.   Notwithstanding that “complet[ion of] … Anschutz Medical Campus verification

  process,” he was instructed on August 19 by the program coordinator of his anesthesiology

  program that he would need to submit yet another religious exemption request on a newly

  created form. So, on August 24, he tendered the following request, printed on the Vaccine Verify

  team’s form, to the anesthesiology programs director (Ann-Michael Holland) and assistant

  director (David Dunipace):


         1. Please explain why your sincerely held religious belief, practice, or observance
         prevents you from getting a COVID-19 vaccination? Please include a detailed
         response.
         I feel morally compromised by accepting any of the proposed “vaccinations” for COVID-
         19 developed under the emergency use authorization. Vaccination is not morally
         obligatory in principle and so must be voluntary. There is a moral duty to refuse the use
         of medical products, including certain vaccines, that are created using human cells lines
         derived from abortion. The use of cells from electively aborted fetuses for vaccine
         production make the available COVID-19 vaccine programs unethical, because they
         exploit the innocent human beings who were aborted. A person’s assessment of whether
         the benefits of a medical intervention outweigh the undesirable side-effects are to be
         respected unless they contradict authoritative Christian moral teachings. A person is
         morally required to obey his or her conscience.

         2. Have you had an influenza or other vaccine in the past? How does this differ?
         The Christian Faith does not prohibit the use of most vaccines, and generally encourages
         them to safeguard personal and public health, the following authoritative Church
         teachings demonstrate the principled religious basis on which a Christian may determine
         that he or she ought to refuse certain vaccines. I have had the influenza vaccine and
         various other vaccines throughout my life. The development of injectable therapies using
         aborted cells goes against my most sacredly held beliefs and even being exposed to this
         interrogation feels like a violation of conscious.

         169.   Two days later John Doe 6 met by teleconference with Defendant Zimmer, who

  had been given a copy of this second request, and Zimmer told John Doe 6 then that the only

  religious requests that could be approved were for those students who never had gotten, and

  never would get, any vaccinations—“like Christian Scientists,” Zimmer said. On August 30th,

  2021, program director Ann-Michael Holland emailed John Doe 6 a letter denying his religious




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  request and declaring that his expressly religious objection to COVID-19 vaccines’ intrinsic

  connection to abortion are “personal” and not “religious” and “not part of a comprehensive

  system of beliefs.” At the same time, the letter attempted to cover its discriminatory tracks by

  also asserting he would be an “undue hardship” to the Program. A copy is attached as Exhibit 26

  hereto.

            170.   In early September 2021, program director Holland emailed John Doe 6 a letter

  dismissing him from the anesthesiology program. A copy is attached as Exhibit 27 hereto.

  Holland there says that because “campus policy states that religious exemptions will be approved

  if they indicate that the individual holds religious beliefs that are opposed to all vaccinations” the

  Progress and Promotions Committee recommended his dismissal, and Holland accepted that

  recommendation.

            171.   Though John Doe 6 pursued the appeals process through the Progress and

  Promotions Committee, Holland’s decision has not been reversed.

            172.   John Doe 6 is aware that at least one other student in that anesthesiology master’s

  program remains unvaccinated, has not been dismissed (having been granted a medical

  exemption) and performs clinical work in hospital operating rooms.

            John Doe 7

            173.   In mid-August 2021, John Doe 7 emailed Vaccine Verify his request to be

  exempted from the requirement to receive a COVID vaccine because of his religious opposition

  to any vaccine whose creation or testing for use involved use of stem cell lines from aborted

  fetuses (he is a conscientious practicing Catholic).

            174.   On August 23, in response to Vaccine Verify’s emailed form request for more

  information about his religious beliefs, John Doe 7 emailed the following response:




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     1. Please explain why your sincerely held religious belief, practice, or observance
        prevents you from getting the vaccination for which you are requesting an
        exemption? Please include a detailed response for each vaccine for which you are
        requesting an exemption.

         In that I am a member of the Church, I am exercising my right to receive a religious
         exemption for vaccination. First and foremost, the vaccines I oppose include the current
         COVID-19 mRNA vaccines and the Jansen vaccine which are produced with aborted
         fetal cell lines.

         The Johnson & Johnson vaccine, the Jansen vaccine, uses retinal cells from a fetus that
         was aborted in 1985 and treated in a lab since; the Pfizer and Moderna vaccines test the
         mRNAs on fetal cell lines from an aborted fetus cell from 1973. (Fetal Cell Lines Were
         Used to Make the Johnson & Johnson COVID Vaccine—Here’s What That Means
         3/4/2021, MSN.com)

         Therefore as a faithful Christian, I cannot according to the Church tenets on conscience
         which are outlined below, use any product that takes its origin in abortion. "For you
         created my inmost being You knit me together in my mother's womb." Psalm 139:13.
         The inmost being is sacrosanct.

         Defiling of the body, many Christians, including me, believe as 2 Corinthians 7 teaches,
         that we should “cleanse ourselves from every impurity of flesh and spirit.” The way I
         practice my religion includes aligning myself with scriptures on issues that oppose the
         wisdom of the world. What the world considers a type of remedy, a privilege, and
         something to covet in 2021 but is something I consider an impurity, I do not believe that
         using fetal cells from an aborted fetus for the benefit of the greater good or my personal
         benefit can be reconciled. I will not knowingly participate in the process to use such a
         product that violates the right to life and dishonors the lives of the unborn.

                    ***

         Therefore as a faithful Christian, opposed to abortion, I cannot according to the Church
         tenets on conscience which I outlined use any product that takes its origin in abortion.

     2. Have you had an influenza or other vaccine in the past? How does this differ?

         I have had the Influenza and other vaccines in the past. It has been years since I have had
         a vaccine due to reasons and convictions outlined in my response to question 1. The last
         flu shot I received I was under the impression that it was not produced from stem cells
         originally isolating from fetal tissue.

         175.   On August 26, 2021, Vaccine Verify emailed John Doe 7 the same form letter that

  Dr. Jane Doe also received on August 26. (Exhibit 3, ECF #1-3). Like Dr. Jane Doe’s form




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  denial, that form letter to John Doe 7 was addressed simply “Hello,” without any identification

  of its intended recipient. Like Dr. Jane Doe’s form letter, it said that John Doe 7’s request was

  being denied “because it does not comply the campus policy, which only recognizes religious

  exemptions based on a religious belief whose teachings are opposed to all immunizations.”

         176.    John Doe 7’s supervisors regard him as an exemplary employee and, in order not

  to lose him have reclassified him as working 100% remote from any Anschutz facility. That

  remote arrangement makes Defendants’ vaccination policies inapplicable to John Doe 7, and so

  allows him to remain employed.

         177.    The fully remote arrangement that John Doe 7 is currently working under does

  not allow him to receive vital skill-development—e.g., educational conferences, in person

  collaboration and problem solving with Anschutz colleagues and clients—that are necessary for

  him to perform his work. Even if he were allowed to work remotely indefinitely, he would soon

  become ineffective and eventually unable perform his job.

             D. Defendants have neither a legitimate nor compelling interest in exercising
                express and overt religious discrimination.

         178.    In its September 20 letter, responding to Dr. Jane Doe 1’s claim that Defendants

  had violated her First Amendment rights (Exh. 5), Defendants’ counsel alternately defended their

  decision based on a Title VII analysis arguing that Dr. Jane Doe 1’s clinical work makes her a

  “direct threat” and poses an “undue hardship” under Title VII—a reason that had never been

  given to Dr. Jane Doe and one that came solely in response to a threat of a lawsuit.

         179.    University counsel’s invocation of those strawmen “direct threat” and “undue

  hardship” defenses are plainly false pretexts attempting to cover for the Defendants’ explicit

  religious discrimination. The formal and actual denial of Dr. Jane Doe 1’s request simply stated

  that she was excluded solely because her religious beliefs did not oppose all vaccinations.



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         180.    Not only was University counsel’s argument pretextual, but there is plainly no

  compelling interest justifying the University’s blatant exercise in overt religious discrimination.

         181.    Defendants’ own actions demonstrate their lack of compelling interest since they

  have granted exemptions to those who work in clinical settings from taking the vaccine on

  grounds of disability/medical status, while simultaneously denying those asserting religious

  reasons.

         182.    Attached as Exhibit 16, is a denial of religious exemption request from COVID

  vaccination that Defendant Zimmer sent to Student A, a fourth-year University medical student,

  saying (as she likewise wrote to John Doe 1) your “rationale provided does not constitute a

  religious belief, but a personal objection.” (Ex. 16, at p. 2). Zimmer explained that her

  conclusion was based on an analysis that, notwithstanding Student A’s asserted Catholic faith—

  affirmed and supported by a signed statement from his Catholic parish priest—that her view of

  Catholic Church teaching is opposite to his. (Ex. 16). Zimmer went on to thus conclude that the

  student’s views were necessarily “personal,” not religious. (Id.)

         183.    Undersigned counsel then sent a demand letter to Defendants, similar to that sent

  on behalf of Dr. Jane Doe 1. (Exhibit 17 attached). Thereafter, instead of addressing the student’s

  request for religious exemption, the University summarily granted the student a medical

  exemption from the COVID vaccine, which had previously been withheld. (Exhibit 18 attached).

         184.    Unlike first-year students (like John Doe 1), fourth-year students work

  extensively in hospital and other clinical settings with high-risk populations. The medical

  accommodation provided to the fourth-year student addressed in Exhibit 17 thus posed greater,

  or no less than equal, theoretical risk than the religious accommodation requested by Plaintiffs

  here. Both the denial of Plaintiffs’ religious exemptions and refusal to squarely address the




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  fourth-year student’s religious exemption requests turned solely on the religious character of the

  requests, not on any risk factors. Religious exemption requests that don’t meet the University’s

  religious test are thus denied in the very same or similarly situated circumstances where medical

  accommodations are granted. Notably, the precautionary measures that unvaccinated staff,

  including medical provider Plaintiffs, have been using for months—extensive COVID-tracing

  survey before every shift, sanitizing in and out of rooms, thorough use of PPE—have been and

  remain highly effective.

         185.    Further supporting the lack of compelling interest on the part of Defendants, some

  Plaintiffs were allowed to work past the September 1 deadline, despite the position of

  Defendants that the unvaccinated are a mortal threat to others. For example, Dr. Jane Doe 1 was

  allowed to work at Children’s Hospital Colorado Springs for nearly all of September, and at least

  as of today, John Doe 4 is working in-person.

         186.    Additionally, as noted supra, some Plaintiffs have either exclusive or joint

  postings at other locations, away from the Anschutz campus. Those other postings have either

  provided religious exemptions to these Plaintiffs, or at the very least are still considering how to

  handle such requests. In the latter category, Dr. Jane Doe 1 submitted a religious exemption

  request to Children’s Hospital which had informed her that it would have its own independent

  religious accommodation policy for its own employees, based on directions from the State Board

  of Health which instructions were expected to be issued by October 21, 2021. Children’s

  Hospital had informed its employees that if they have a religious objection to COVID

  vaccination, they must submit their accommodation requests by October 1, 2021. Children’s




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  Hospital will then begin evaluating those requests “no earlier than Oct. 21, 2021.” (Exhibit 19

  attached, email from Children’s Hospital) (emphasis in original)11

          187.    Thus health care professionals with whom Dr. Jane Doe 1 works alongside may

  be eligible for religious or medical accommodation directly from Children’s Hospital as their

  direct employer, further demonstrating that Anschutz does not have a compelling interest in

  outright terminating Dr. Jane Doe 1 (who is an employee of Anschutz and not of Children’s

  Hospital directly), while the very hospital where she exclusively works is not currently

  terminating employees who are similarly situated, and will presumably offer a fair and

  appropriate religious accommodation process, unlike the inquisition pursued by Defendants.

          188.    Additionally, studies show that the pediatric patients Dr. Jane Doe 1 treats are at

  relatively low risk of contracting and suffering serious illness of COVID-19.12 At the same time,

  it is not clear that all or even most patients treated by other vaccine-exempt students and

  professionals are themselves vaccinated. Yet it is clear that the substantial majority of serious

  “breakthrough” cases in vaccinated people are among the elderly.13 Thus, even though her

  patients are not vaccinated, Dr. Jane Doe 1 is plainly similarly situated to any other clinician

  treating non-pediatric COVID-vulnerable patients at the University. As a highly competent and

  11
    The Board of Health instead declined to issue final rules on October 21, deciding it “will instead wait to
  harmonize with the federal rule.” See, https://www.sos.state.co.us/CCR/eDocketDetails.do?trackingNum
  =2021-00541. Children’s Hospital has not yet notified its staff how it will handle exemption requests.
  12
    Karolinska Institutet, “Low risk of infection in babies born to mothers with COVID-19,” EurekAlert!,
  April 29, 2021, https://www.eurekalert.org/news-releases/598334 KAROLINSKA INSTITUTET; CDC,
  SDF Breastfeeding and Caring for Newborns if You Have COVID-19, August 18, 2021 (authorizing
  COVID-19 infected mothers to provide direct care for their newborns as long as they exercise proper
  precautions like wearing PPE), https://www.cdc.gov/coronavirus/2019-ncov/if-you-are-sick/pregnancy-
  breastfeeding.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
  ncov%2Fneed-extra-precautions%2Fpregnancy-breastfeeding.html#caring-for-newborns
  13
    Deidre McPhillips, CNN, “Risk of severe breakthrough COVID-19 higher for seniors and people with
  underlying conditions,” September 8, 2021, https://www.cnn.com/2021/09/08/health/severe-
  breakthrough-cases-cdc-studies/index.html



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  caring medical professional, Dr. Jane Doe 1 would not continue to treat patients if she believed

  herself to be a danger.

          189.    The initial denial of John Doe 1’s religious exemption request provides just one

  example of the Inquisition-style tactics of Defendants. In response to his sincere, well-supported

  statement of religious belief against all vaccination, in which he included a statement of

  admiration for Dharma Master Xuan Hua, Defendants sought to trap him, “gotcha”-style, by

  claiming that the Dharma Realm University, which was founded by that Master, was allegedly

  requiring COVID vaccinations. In their haste to attack John Doe 1, Defendants omitted the fact

  that Master Xuan Hua has been dead for decades—he obviously has no part in that university’s

  COVID vaccination policies. John Doe 1’s beliefs are clearly sincere, backed up by real-world

  examples, and are laid out in detail in his communications with Defendants.14

          190.    Defendant Zimmer’s final decision regarding John Doe 1’s accommodation (Ex.

  15) also, without proper analysis or resort to any authority, characterizes John Doe 1’s objections

  based on “involve[ment of] stem cell lines from human fetal cell cultures [and their] be[ing]

  harmful to your body [and] violat[ing] your right to free choice” as “not constitut[ing] a religious

  belief, but a personal objection.”

          191.    Finally, all Plaintiffs are aware that hospitals and medical schools across the

  country, and within the University of Colorado’s own health care system, have offered religious

  accommodations to similarly situated individuals who work directly with and around COVID-

  vulnerable patients (many of whom are unvaccinated or who are still susceptible despite being

  vaccinated), without undermining any interest in providing safe and effective care to patients in

  14
    Defendants in this lawsuit have similarly attacked the sincerity of Dr. Jane Doe 1, whose own bishops
  publicly supported their congregants’ assertions of religious objections to the available COVID
  vaccinations, and will now presumably attack the religious sincerity of the 16 new Plaintiffs bringing this
  Verified Amended & Supplemental Complaint.



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  need. Plaintiffs are attaching Group Exhibit 20, with the declarations of 31 exemplary health care

  witnesses around the country who have received religious accommodations and are continuing to

  provide critical health care services. Of this group, witness 21 is employed by the University of

  Colorado.

         192.    Their experience, which is consistent with national media reports, confirms that

  there can be no compelling interest in categorically forbidding similar accommodations for

  Plaintiffs here simply on the basis of the nature of their religious beliefs and the University’s

  view of the veracity of those beliefs.

          E. How Plaintiffs have been harmed

         193.    Employment termination will further harm Dr. Jane Doe 1’s and the other staff

  Plaintiffs professional standing and reputation, be a permanent part of their licensure records,

  and could be a source of potential discipline.

         194.    And if Dr. Jane Doe 1 were to decide instead to resign and avoid licensure risk,

  the non-competition agreement she has with the University would render her unable to unable to

  practice her specialty in Colorado for two years, as all the critical pediatric care centers are

  centered in or around Denver and Colorado Springs. It says, among other things:

         … if Member’s [Dr. Jane Doe’s] employment with the University terminates for any
         reason … and the Member enters into competition with the University as defined below,
         Member shall pay to CU Medicine and the University liquidated damages in the amount
         of $310,950 … [T]he terms “competition with the business of the University” means for
         a period of 2 years after termination, establish, operate or provide professional medical
         services … within a 100 mile radius of the intersection of Colfax and Ursula, Aurora,
         Colorado or any other facility where the Member regularly provides medical services.

  Exhibit 21 [Dkt #1-21].

         195.    Jane Doe 2 and Jane Doe 3 have signed identical agreements. As alleged more

  fully above, Jane Doe 3 also risks imminent loss—by mid-November 2021—of her ongoing




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  appointment at the Rocky Mountain VA Medical Center as a direct result of Defendants’

  Policies, too.

          196.     As alleged above, the non-physician staff Plaintiffs have been exemplary

  employees and their workplace supervisors—who value their contributions—have taken pains to

  try to keep them in their positions, allowing them to work remotely for as long as the Defendants

  will allow. The staff Plaintiffs still on the job know, however, that they will eventually be

  required to return to Anschutz facilities. All of them intend to remain faithful to their religious

  convictions, nevertheless, and realize that when the return day comes, they must lose their jobs.

          197.     As to John Doe 1, attached as Exhibit 22, is the Association of American Medical

  Colleges Guidelines for the Consideration of Application for Transfer or Advanced Standing.

  They make clear that only students who have begun M.D. studies, and who can document an

  “entire academic history” at an existing M.D.-granting program can request transfer. Mr. Doe is

  thus not eligible for transfer, but must undertake the application process anew if he is to attend

  another M.D. program in the U.S.

          198.     John Doe 1 was given only three options following the final denial of his

  exemption request: “1. Obtain the vaccine 2. Take a one year leave of absence 3. Withdraw.”

          199.     With no other realistic alternatives available to him, John Doe 1 chose to take a

  leave of absence, but desires to return as soon as possible to Anschutz medical school.

  Otherwise, he faces the near-impossible prospect of starting medical school over somewhere

  else, or entirely forgoing his dream of becoming a medical doctor.

          200.     John Doe 2 has been given the same choices, and the consequences for him are

  equally or more severe. While pursuing appeals of the denial of his religious exemption, he has

  continued to attend classes and work at his clinical rotations at partner sites (that is, non-




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  Anschutz clinical sites) without objection from those sites. That arrangement may not be allowed

  to continue however after his next meeting with the Dean John Reilly, scheduled for Monday,

  November 1. His commitment to the Air Force, and the Force’s commitment to him, were

  mutually predicated on his finishing his M.D. and practicing for several years as a military

  physician. He has been an exemplary student for two and half years, and is indisputably on

  course to finish his studies, thus achieve promotion to Captain, and find a residency to suit his,

  and the Air Force’s, professional needs starting in 2023. That cannot happen if Defendants’

  unlawful Policies are allowed to stand and force his withdrawal from study.

         201.    Jane Doe 7, a fourth-year dental student, faces the same choices, too, but her

  being in the final year of her professional studies makes the consequences of withdrawal now

  most severe. The University of Colorado School of Dental Medicine is the only dental school in

  Colorado, where Jane Doe 7 intends to pursue her career, so even if she can transfer to another

  program to finish her professional degree, it will require at least a full-year’s delay, and require

  another full year of relocation from her current home in Colorado, the intended home of her

  professional career.

         202.    The para-professional students have had their professional career plans

  interrupted or perhaps aborted entirely. No other similar programs are offered in the state of

  Colorado, and so all must give up his or her career plans or relocate to another state.

         F. Plaintiffs’ Reasons for Proceeding with Pseudonyms

         203.    The same “front line” health care workers and students hailed as heroes by the

  media for treating COVID patients before vaccines were available, including Plaintiffs, are now

  vilified by the same media as pariahs who must be excluded from society until they are

  vaccinated against their deeply held religious beliefs.




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         204.    The Policies are a product of this atmosphere of fear in which the unvaccinated

  are threatened with being reduced to a caste of untouchables, if they will not consent to being

  injected with vaccines that violate their religious beliefs.

         205.    As things now stand, according to public health authorities the vaccinated can

  infect the unvaccinated, the unvaccinated can infect the vaccinated, both the vaccinated and the

  unvaccinated can infect each other, and everyone must wear masks indoors in “high

  transmission” areas—that is, virtually the entire country15—as if no one at all had been

  vaccinated.16 And with both the fully vaccinated and the unvaccinated still contracting COVID,

  “booster shots” of the vaccines, to which Plaintiffs have the same religious objections, are

  doubtless on the way, accompanied by further government mandates.

         206.    In the midst of this regulatory muddle, combined with unreasoning official

  coercion and widespread, media-generated panic, Plaintiffs seek leave of court to proceed

  anonymously as they run the risk of ostracization, threats of harm, immediate firing, and other

  retaliatory consequences, if their names become known. This is shown by the following

  examples of a pervasive climate of fear and loathing of the unvaccinated:

         207.    On ABC News, commentator Margaret Hoover declared that government, by

  withholding all benefits from the unvaccinated, should “just make it almost impossible for

  people to—to live their lives without being protected and protecting the rest of us.”17 On CNN,



  15
    See CDC Map at https://www.usatoday.com/in-depth/graphics/2021/07/29/cdc-mask-guidelines-map-
  high-covid-transmission-county/5400268001/
  16
       See “When       You’ve      Been     Fully    Vaccinated,” https://www.cdc.gov/coronavirus/2019-
  ncov/vaccines/fully-vaccinated.html
  17
     “This Week,” July 25, 2021, https://abcnews.go.com/Politics/week-transcript-25-21-speaker-nancy-
  pelosi-sen/story?id=79045738




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  commentator Don Lemon stated to Chris Cuomo that “[If you] don’t get the vaccine, you can’t

  go to the supermarket. Don’t have the vaccine, can’t go to the ball game. Don’t have a vaccine,

  can’t go to work. You don’t have a vaccine, can’t come here. No shirt, no shoes, no service.”18

         208.      On his national late night show Jimmy Kimmel stated that the

  unvaccinated who contract COVID should be allowed to die rather than being admitted to

  the hospital: “Rest in peace, wheezy.”19 The audience roared its approval. In The Week,

  Ryan Cooper declared that “Anti-vaxxers” (i.e., people who decline the COVID

  vaccines) “should be exiled from society until they get their shots, and their efforts to

  intimidate people against controlling the pandemic should be met with massive

  resistance.”20

         209.      There is a top-down cultural, societal, and legal assault currently

  underway against those who forgo the vaccines. Nowhere is this more apparent than in

  the speech by President Biden on September 9, 2021, wherein the nation’s Chief

  Executive brings down opprobrium on the heads of Americans who decline vaccination:

  “We’ve been patient, but our patience is wearing thin, and the refusal has cost all of

  us….” (emphasis added) Absent anonymity, Plaintiffs would be identified as members of




  18
    https://www.realclearpolitics.com/video/2021/08/01/don_lemon_no_shirt_no_shoes_no_
  vaccine_no_service.html
  19
   https://www.westernjournal.com/late-night-host-ghoulishly-mocks-sick-unvaccinated-rest-peace-
  wheezy/.
  20
    https://theweek.com/coronavirus/1002909/theres-1-obvious-solution-to-the-delta-variant-mandatory-
  vaccination




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  the public who, according to the sitting leader of the free world, are “cost[ing] all of

  us.”21

           210.   Those who are unable to receive the vaccines for sincere religious reasons

  are thus subject to a vicious mob whipped into a frenzy, facing vicious threats, such as

  this one, in response to an article related to opposition by health care workers to New

  York’s vaccine mandate:




           211.   Under these circumstances, Plaintiffs clearly meet the criteria for
  permission to proceed anonymously.


  21
    Remarks by President Biden on Fighting the COVID-19 Pandemic, WhiteHouse.gov, Sep. 9,
  2021, https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/09/09/remarks-by-president-
  biden-on-fighting-the-covid-19-pandemic-3/.




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                                COUNT I
   VIOLATION OF THE FREE EXERCISE CLAUSE OF THE FIRSTAMENDMENT TO
                   THE UNITED STATES CONSTITUTION
                            (42 U.S.C. § 1983)

          212.    Plaintiffs hereby reallege and adopt each and every allegation in paragraphs 1-211

  above as if fully set forth herein.

          213.    The Free Exercise Clause of the First Amendment to the United States

  Constitution, as applied to the states by the Fourteenth Amendment, prohibits Defendants from

  abridging Plaintiffs’ rights to free exercise of religion.

          214.    Plaintiffs have sincerely held religious beliefs set forth above that compel them to

  refuse any of the available COVID vaccines.

          215.    Defendants’ September 1 Policy, on its face and as applied, impermissibly targets

  Plaintiffs’ sincerely held religious beliefs by disallowing recognition of those beliefs as genuine

  religious belief.

          216.    Defendants’ September 1 Policy, on its face and as applied, impermissibly targets

  Plaintiffs’ sincerely held religious beliefs by disqualifying them from obtaining a religious

  exemption based solely on the nature of their religious beliefs.

          217.    Defendants’ September 1 Policy, on its face and as applied, engages in blatant

  denominational discrimination in violation of religious neutrality by requiring that qualifying

  religious beliefs be in accord with official denominational teaching as understood by the

  Defendants.

          218.    Defendants’ September 1 Policy, on its face and as applied, and September 24

  Policy, as applied, authorize intrusive religious inquiries in violation of religious neutrality by

  inviting University officials to question the legitimacy and veracity of students’ and employees’

  religious beliefs. While Defendants have not (yet) applied their September 24 Policy to



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  Plaintiffs, based on the positions taken by Defendants in their communications with Plaintiffs

  and in this lawsuit, Defendants clearly intend to wield that policy to challenge and reject

  Plaintiffs’ sincere religious beliefs.

          219.    Defendants’ September 1 Policy, on its face and as applied, is not generally

  applicable because it allows exemptions for medical reasons and some religious reasons—such

  as being a Christian Scientist—but not Plaintiffs’ religious reasons, despite that exemptees’

  activities could or do pose similar risks of spreading COVID as Plaintiffs’ activities, and

  Plaintiffs are entirely willing to perform (e.g., as Dr. Jane Doe 1 already has) the alternative

  precautions of masking, daily attesting, etc., required by the Policy at Section (C)(2). (Ex. A).

  Defendants’ September 24 Policy, on its face and as applied, fares no better, as it allows

  exemptions for medical reasons for both students and staff and purports to allow religious

  exemptions only for staff but not for students—but even as to staff Plaintiffs here, they have been

  given no consideration or relief under the September 24 Policy, while an unknown number of

  exemptions have been granted to students and staff for medical reasons.

          220.    The Policies, on their face and as applied, are not generally applicable because

  they are subject to individualized exemptions, for instance that at least Dr. Jane Doe 1 and John

  Doe 4 were allowed to continue working in person well after Defendants’ arbitrary September 1

  vaccination deadline, which was itself roughly nine months after the vaccines first became

  available.

          221.    The Policies, on their face and as applied, impermissibly burden Plaintiffs’

  sincerely held religious beliefs without a compelling interest or narrow tailoring.

          222.    The Policies, on their face and as applied, lack a compelling interest because they

  leave appreciable damage to their supposedly compelling interest unprohibited, since they offer




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  exemptions for medical or for some religious reasons, but not for Plaintiffs’ religious reasons.

  Exempted activities, while exercising the required precautions, are just as likely to spread

  COVID as Plaintiffs’ activities, to the extent Plaintiffs exercise the same precautions.

         223.    Accordingly, the University cannot show it has a compelling interest in denying

  accommodations for these particular Plaintiffs, which is the requisite test under controlling

  Supreme Court precedent.

         224.    The Policies, on their face and as applied, also lack a compelling interest as

  applied to Plaintiffs working at or doing clinical rounds in facilities off the Anschutz campus,

  such as Jane Doe 11 and John Doe 2, who have both received exemptions from the locations

  where they work and do clinicals and Dr. Jane Doe 1, whose Children’s Hospital Colorado

  Springs has its own religious exemption policy still in progress.

         225.    The Policies, on their face and as applied, are not the least restrictive means of

  furthering any hypothetical compelling interest because the University has shown that qualifying

  (medical) exemptees can continue to study and work at Anschutz while adopting alternative

  precautions outlined in the Policy.

         226.    Further, Defendants cannot show, as they must, that they gave sufficient weight to

  practices in other hospitals around the country and in their own university health care system

  allowing religious accommodations for employees around COVID-vulnerable, oft-unvaccinated

  patients without apparently undermining their interest in providing effective health care without

  spreading COVID. Nor can Defendants show, as is their burden, they gave sufficient weight to

  practices on their own other University campuses, where the religious sincerity of all requesters

  was respected and an exemption granted to anyone who requested it, and exempted students and

  staff are freely allowed in similar or more intimate settings than those on the Anschutz campus—




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  on those other campuses, exempted persons attend classes communally, live and congregate

  together, and work alongside one another. For instance, at least Plaintiffs John Doe 3, John Doe

  5, and John Doe 7, who also work at the University’s Denver campus, would have been entitled

  to an exemption there, and Jane Doe 8 was actually granted a religious exemption to attend her

  classes and remain in her public health program at the Denver campus but denied class

  attendance and participation in her program at the Anschutz campus.

          227.    The Policies, on their face and as applied, will compel and have compelled loss of

  employment or access to credentialing study, including delays in education and professional

  opportunities, along with Plaintiffs’ consequent inability to pursue their chosen professions, and

  so has irreparably harmed Plaintiffs.

          228.    While Plaintiffs have and will continue to suffer harm that cannot be remedied by

  actual and nominal damages due to Defendants’ past and continuing illegal actions, they have

  and will continue to incur actual and nominal damages as noted herein, whether in lost wages,

  expenses for relocation and housing, emotional distress, and other damages.

          229.    Plaintiffs have no adequate remedy at law to prevent the continuing violation of

  their constitutional rights and sincerely held religious beliefs.

                                COUNT II
  VIOLATION OF THE ESTABLISHMENT CLAUSE OF THE FIRST AMENDMENT TO
                   THE UNITED STATES CONSTITUTION
                            (42 U.S.C. § 1983)

          230.    Plaintiffs hereby reallege and adopt each and every allegation in paragraphs 1-228

  above as if fully set forth herein.

          231.    The Establishment Clause of the First Amendment to the United States

  Constitution, as applied to the states by the Fourteenth Amendment, prohibits Defendants from

  enacting any requirement respecting an establishment of religion.


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         232.    By adopting and enforcing the September 1 Policy, which conditions allowance of

  a religious accommodation on the requirement that one’s religious beliefs oppose all

  vaccinations, Defendants have established favorable treatment for some religious beliefs to the

  direct detriment of other, disqualifying religious beliefs.

         233.    Further, on its face and as applied, the September 1 Policy requires qualifying

  religious beliefs to be supported by and associated with “teachings” of “organized”

  denominations with a “comprehensive system of religious beliefs,” in direct violation of the

  “clearest command” of the Establish Clause prohibiting denominational discrimination by

  government.

         234.    The September 1 Policy’s overt religious discrimination, on its face and as

  applied, cannot survive strict scrutiny for the reasons described above.

         235.    At least the September 1 Policy, on its face and as applied, also establishes and

  authorizes a process of intrusive religious inquisition to test the veracity of students’ and

  employees’ asserted religious beliefs, in direct violation of the Establishment Clause’s

  longstanding prohibition on the “excessive entanglement” between government and religion.

  Such excessive entanglement is a per se violation of the Constitution without any opportunity for

  the government to overcome strict scrutiny. While Defendants have not (yet) applied the

  September 24 Policy to Plaintiffs, that policy is similarly unconstitutional, as applied, based on

  Defendants’ conduct in this lawsuit, repeatedly and falsely attacking Plaintiffs’ sincerity and

  continuing the inquisition tactics begun under the September 1 Policy, as described herein.

         236.    Defendants’ September 1 Policy’s establishment of state prescribed religious

  content and organization targets the holders of all religious beliefs that prohibit acceptance of the

  COVID vaccines, but whose beliefs fall outside the state-prescribed norms.




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          237.    Plaintiffs hold sincerely held religious beliefs that prohibit acceptance of the

  COVID vaccines, but their beliefs fall outside the state-prescribed norms of Defendants’

  September 1 Policy and application of Defendants’ September 24 Policy.

          238.    Defendants’ Policies will compel and have compelled loss of employment or

  access to credentialing study, including delays in education and professional opportunities, along

  with Plaintiffs’ consequent inability to pursue their chosen professions, and so has irreparably

  harmed Plaintiffs.

          239.    While Plaintiffs have and will continue to suffer harm that cannot be remedied by

  actual and nominal damages due to Defendants’ past and continuing illegal actions, they have

  and will continue to incur actual and nominal damages as noted herein, whether in lost wages,

  expenses for relocation and housing, emotional distress, and other damages.

          240.    Plaintiffs have no adequate remedy at law to prevent the continuing violation of

  their constitutional liberties and sincerely held religious beliefs.

                                COUNT III
     VIOLATION OF THE EQUAL PROTECTION CLAUSE OF THE FOURTEENTH
            AMENDMENT TO THE UNITED STATES CONSTITUTION
                             (42 U.S.C. § 1983)

          241.    Plaintiffs hereby reallege and adopt each and every allegation in paragraphs 1-237

  above as if fully set forth herein.

          242.    The Equal Protection Clause of the Fourteenth Amendment to the United States

  Constitution prohibits any state from denying the protection of laws to any person within its

  jurisdiction.

          243.    The Policies, on their face and as applied, classify Plaintiffs based on their

  fundamental right to religious exercise—the September 1 Policy allowing only acceptable

  religious beliefs and the September 24 Policy purporting to allow staff to exercise their religious


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  beliefs but not students—and thus must survive strict scrutiny, which they cannot for the reasons

  described above.

         244.    Plaintiffs hold religious beliefs that prohibit acceptance of the COVID vaccines,

  but their beliefs or their status fall outside the state prescribed norms of Defendants’ Policies.

  The Policies, on their face and as applied, thus deny the Plaintiffs the protections afforded to

  similarly situated people whose religious beliefs also prohibit acceptance of the COVID vaccines

  but fall within the state prescribed norms of the Policy.

         245.    The Policies, both facially and as applied, fail to provide Plaintiffs with equal

  treatment to similarly situated employees and students who have received medical exemptions

  under the Policies. Indeed, there is no rational distinction for allowing all staff the opportunity to

  seek religious exemption, even if their employment duties involve direct patient contact, while

  prohibiting all students from seeking religious exemptions, even if their activities do not involve

  direct patient contact.

         246.    Plaintiffs have thus been deprived of constitutionally guaranteed equal protection.

         247.     Defendants’ Policies, on their face and as applied, will compel and have

  compelled loss of employment or access to credentialing study, including delays in education

  and professional opportunities, along with Plaintiffs’ consequent inability to pursue their chosen

  professions, and so has irreparably harmed Plaintiffs.

         248.    While Plaintiffs have and will continue to suffer harm that cannot be remedied by

  actual and nominal damages due to Defendants’ past and continuing illegal actions, they have

  and will continue to incur actual and nominal damages as noted herein, whether in lost wages,

  expenses for relocation and housing, emotional distress, and other damages.




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             249.    Plaintiffs have no adequate remedy at law to prevent the continuing violation of

  their constitutional liberties and sincerely held religious beliefs.

                                         COUNT IV
                    VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
                                     (42 U.S.C. §12133)

             250.    Plaintiffs hereby reallege and adopt each and every allegation in paragraphs 1-245

  above as if fully set forth herein.

             251.    42 U.S.C. §12133 provides that “no qualified individual with a disability shall, by

  reason of such disability, be excluded from participation in or be denied the benefits of the

  services, programs, or activities of a public entity, or be subjected to discrimination by any such

  entity.”

             252.    42 U.S.C. §12102 defines “disability” as “a physical or mental impairment

  that substantially limits one or more major life activities of such individual […] or being

  regarded as having such an impairment.”

             253.    In enacting and applying their vaccination policies, Defendants have

  (erroneously) treated the absence of COVID-vaccination generated antibodies in Plaintiffs as a

  physical impairment that substantially limits major life activities such as normal activities in a

  workplace or classroom--like breathing or speaking—and any other activity that involves normal

  human interaction. All plaintiffs, therefore, have a “regarded as” disability under §12102.

  Several Plaintiffs (e.g., Jane Doe 2, Jane Doe 3, and Jane Doe 7) also have actual disabilities as

  alleged above.

             254.    All of the student Plaintiffs have been excluded from participation in and denied

  the benefits of the educational programs of Defendants in that they are currently barred from




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  participation in any of the activities—didactic work in classrooms, clinical work in Defendants’

  hospitals or clinics—that are preconditions to their receiving their professional degrees.

          255.    Even apart from normal employment remuneration, all of the employee plaintiffs

  have likewise been excluded from participation in and denied the benefits of Anschutz services,

  programs, or benefits by their exclusion from Anschutz’s physical facilities.

          256.    While Plaintiffs have and will continue to suffer harm that cannot be remedied by

  actual and nominal damages due to Defendants’ past and continuing illegal actions, they have

  and will continue to incur actual and nominal damages as noted herein, whether in lost wages,

  expenses for relocation and housing, emotional distress, and other damages.

          257.    Plaintiffs have no adequate remedy at law to prevent the continuing violation of

  their legal rights.

                                          COUNT V [OM1]
              VIOLATION OF THE RELIGIOUS FREEDOM CLAUSES OF THE
                   CONSTITUTION OF THE STATE OF COLORADO
          258.    Plaintiffs hereby reallege and adopt each and every allegation in paragraphs 1-251

  above as if fully set forth herein.

          259.    Article II, section 4 of the Constitution of the State of Colorado provides “The

  free exercise and enjoyment of religious profession and worship, without discrimination, shall

  forever hereafter be guaranteed; and no person shall be denied any civil or political right,

  privilege or capacity, on account of his opinions concerning religion... Nor shall any preference

  be given by law to any religious denomination or mode of worship.”

          260.    By adopting and enforcing Policies that ostensibly allow accommodation of

  religious beliefs that prevent acceptance of the currently available COVID vaccines, but

  conditioning allowance of accommodation on the requirement the religious belief be articulated



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  by a hierarchical religious authority whose tenets oppose all vaccinations, Defendants have

  established religious content and religious organization that is acceptable to the state, and

  religious content and religious organization that is unacceptable. And as to the September 24

  Policy, students have been entirely denied their religious rights, while those same rights have

  been afforded to staff Defendants. Defendants have further attacked and rejected the sincerity of

  Plaintiffs’ beliefs under the September 1 Policy and would presumably continue their conduct if

  applying the September 24 Policy.

          261.    That September 1 Policy thus gives preference to certain religions based on the

  religions’ organization and the content of its tenets. The Policy thus discriminates against the

  religious beliefs of those whose beliefs are outside the state prescribed norms, impairs their free

  exercise of their beliefs, and gives preference to the beliefs of religious denominations or mode

  of worship that are within state prescribed norms.

          262.    In enacting and enforcing their Policies, Defendants have thus violated Article II,

  section 4.

          263.    The Defendants’ Policies will compel loss of employment or access to

  credentialing study, and Plaintiffs’ consequent inability to pursue their chosen profession, and so

  has harmed Plaintiffs.

          264.    While Plaintiffs have and will continue to suffer harm that cannot be remedied by

  actual and nominal damages due to Defendants’ past and continuing illegal actions, they have

  and will continue to incur actual and nominal damages as noted herein, whether in lost wages,

  expenses for relocation and housing, emotional distress, and other damages.

          265.    Plaintiffs have no adequate remedy at law to prevent the continuing violation of

  their constitutional liberties and sincerely held religious beliefs.




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                                      PRAYER FOR RELIEF

  Wherefore, Plaintiffs respectfully pray for the following relief:

         (A) That a temporary restraining order and preliminary injunction, followed by a

  permanent injunction, be entered (1) restraining and enjoining the Defendants, their officers,

  agents, employees, attorneys and successors in office, and all other persons in active concert or

  participation with them, from enforcing, threatening to enforce, attempting to enforce, or

  otherwise requiring compliance with the (a) September 1 Policy, to the extent it prohibits

  religious exemptions unless an individual holds religious beliefs that oppose all vaccinations or

  are in accord with official denominational “teachings,” (b) September 24 Policy, to the extent it

  denies students the right to seek and receive religious exemptions, (c) both Policies, to the extent

  Defendants improperly intrude into the sincerity of religious objectors at Anschutz by discerning

  Plaintiffs’ sincerity through questioning the legitimacy of their religious beliefs or in any way

  more intensely than they do into the sincerity of religious objectors on other University

  campuses, (d) both Policies, to the extent Defendants prohibit Plaintiffs from receiving the same

  accommodations allowed for individuals who have actually received medical exemptions or for

  those on other University of Colorado campuses who present a comparable or greater risk of

  spreading COVID-19 than Plaintiffs; (2) ordering that Plaintiffs be granted their requested

  religious exemptions; and (3) ordering that all prior denials of requested religious exemptions

  under the Policies (whatever the requesters may have called them) be revoked and the requests

  re-examined under conditions compliant with the United States and Colorado Constitutions;

          (B) That a declaratory judgment issue, declaring that the Policies’ religious exemption

  provisions, both on their face and as applied by Defendants, are unconstitutional and unlawful in

  that they violate the Free Exercise and Establishment Clauses of the First Amendment of the




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  Constitution of the United States; and the Equal Protection Clause of the Fourteenth Amendment

  of the Constitution of the United States; and Article II, Section 4 of the Colorado Constitution;

         (C) That judgment be entered in favor of Plaintiffs and they be awarded nominal

  damages, actual and compensatory damages, and punitive damages;

         (D) That Plaintiffs be given an award of reasonable costs and expenses of this action,

  including reasonable attorney’s fees, in accordance with 42 U.S.C. § 1988 and the Americans

  with Disabilities Act; and

         (E) Such other and further relief as the Court deems equitable and just under the

  circumstances.

                                                       /s/ Peter Breen
                                                       Peter Breen
                                                       Martin Whittaker
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                                                       Monument, CO 80132
                                                       775-248-8147
                                                       jbb@telioslaw.com
                                                       Counsel for Plaintiffs




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                                          Verification – Jane Doe 1

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the Dr. Jane
  Doe 1 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 16, 68 – 74, 184 – 187, 192 - 193, and those
  matters are true.




                                  Dr. Jane Doe 1, October 27, 2021
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                                         Verification – John Doe 1

  Under penalties of perjury as provided by the laws of the United States, I declare that I am John Doe 1
  who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 27, 130 – 144, 196 - 198, and those matters
  are true.




  ________________________________\October 27, 2021

                                          Dated
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                                          Verification – Jane Doe 2

  Under penalties of perjury as provided by the laws of the United States, I declare that I am Jane Doe 2
  who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 17, 75 - 79, 194, and those matters are true.




  ________________________________\October 27, 2021

                                          Dated
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                                          Verification – John Doe 2

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the John Doe
  2 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 28, 145 – 149, 199, and those matters are
  true.




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                                        Verification – Dr. Jane Doe 3

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the Dr. Jane
  Doe 3 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 11, 18, 80 – 88, 194, and those matters are
  true.




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                                          Verification – John Doe 3

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the John Doe
  3 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 9 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 8, 29, 150 -155, and those matters are true.




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                                          Verification – Jane Doe 4

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the Jane Doe
  4 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 19, 89 - 94, and those matters are true.




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                                          Verification – John Doe 4

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the John Doe
  4 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 30, 156 - 160, and those matters are true.




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                                          Verification – Jane Doe 5

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the Jane Doe
  5 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶20, 95 - 98, and those matters are true.




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                                          Verification – John Doe 5

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the John Doe
  5 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 8, 31, 161 - 165, and those matters are true.




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                                          Verification – Jane Doe 6

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the Jane Doe
  6 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 21, 99 - 102, and those matters are true.




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                                          Verification – John Doe 6

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the John Doe
  6 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 32, 166 - 171, and those matters are true.




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                                          Verification – Jane Doe 7

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the Jane Doe
  7 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶22, 103 - 106, and those matters are true.




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                                          Verification – John Doe 7

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the John Doe
  7 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 8, 33, 172 - 176, and those matters are true.




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                                          Verification – Jane Doe 8

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the Jane Doe
  8 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 10, 23, 107 - 111, and those matters are true.




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                                          Verification – Jane Doe 9

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the Jane Doe
  9 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 24, 112 - 114, and those matters are true.




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                                         Verification – Jane Doe 10

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the Jane Doe
  10 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 25, 115 -123, and those matters are true.




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                                         Verification – Jane Doe 11

  Under penalties of perjury as provided by the laws of the United States, I declare that I am the Jane Doe
  11 who is one of the co-plaintiffs in the case captioned Jane Does 1 through 11 vs. The University of
  Colorado, No. 21 CV 2637; that I have knowledge of the facts pleaded in the Amended Complaint in that
  case that pertain to me, and those facts are true.

  I specifically have knowledge of the matters alleged in ¶¶ 9, 26, 124 - 129, and those matters are true.




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                             Campus Administrative Policy
 Policy Title:     COVID-19 Vaccination Requirement and Compliance

 Policy Number: 3012                Functional Area: General Administration


 Effective:                        September 1, 2021
 Date Last Amended/Reviewed:       September 1, 2021
 Date Scheduled for Review:        September 1, 2028
 Supersedes:                       COVID-19 Vaccination Requirement and Compliance June 2,
                                   2021

 Approved by:                      Donald M. Elliman, Jr.
                                   Chancellor, University of Colorado Anschutz Medical Campus

 Prepared by:                       Office of University Counsel

 Reviewing Office:                 Office of the Chancellor of the CU Anschutz Medical Campus
 Responsible Officer:              Executive Vice Chancellor for Administration and Finance |
                                   CFO, University of Colorado Anschutz Medical Campus

 Applies to:                        CU Anschutz Medical Campus


 A.   INTRODUCTION

      The purpose of this policy is to protect the health and safety of the University of Colorado
      Anschutz Medical Campus (“CU Anschutz”) community, including all faculty, staff,
      students, badged affiliates, persons of interest (POIs), visitors, and volunteers
      (“Individuals”) who work or learn on the Anschutz Medical Campus or off campus in
      connection with CU Anschutz programs. This policy, requires all Individuals who currently
      or may in the future access any CU Anschutz facility or participate in any CU Anschutz
      program, or whose employment or academic activities may require in-person interaction
      with other CU Anschutz employees, students, patients, study subjects, or members of the
      public, regardless of location to become fully vaccinated against COVID-19 with a vaccine
      that has been approved by the World Health Organization (“WHO”) as of June 1, 2021,
      subject to limited exceptions and exemptions.1 In addition, this policy requires Individuals
      to receive booster shots for those specific vaccines, as required by the WHO or Centers for

  1
   As of June 1, 2021, the WHO has approved the following COVID-19 vaccines: Pfizer-BioNTech,
  Moderna, Johnson & Johnson, Oxford–AstraZeneca, Sinovac, and Sinopharm.

                                                  1
                                                                                  Exhibit 1
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      Disease Control.

      Faculty, staff, badged affiliates, and POIs must submit proof of COVID-19 vaccination by
      September 1, 2021. Students must submit proof of COVID-19 vaccination before the start of
      the Fall 2021 semester, which varies by program and may occur prior to September 1, 2021.
      Students who will initially participate in University-related activities remotely will be
      required to submit proof of COVID-19 vaccination before any in-person component of their
      curriculum whether on campus, or at a clinical site or remote location. Individuals who do
      not provide proof of vaccination may be subject to additional safety protocols as described
      more fully below.

 B.   DEFINITIONS

       1.      The term “employees” includes, but is not limited to, all full
               and part -time staff, faculty, post-doctoral fellows, medical
               residents, predoc trainees, and fellows.

       2.      The term “badged affiliates” includes, but is not limited to, any
               individual who has a CU Anschutz badge to access campus
               facilities, whether leased or owned on or off campus, including
               badged contractors and employees at affiliated institutions who
               have a CU Anschutz badge and access campus facilities on a
               regular basis.

       3.      The term “students” includes, but is not limited to, all students,
               including part-time, full-time, degree-seeking, non-degree
               seeking, hybrid (combination of online and in person, either: (i)
               on campus and/or (ii) in clinical settings), visiting students,
               undergraduate, or graduate students enrolled at CU Anschutz.

 C.   POLICY STATEMENT

      All Individuals, who are, or may access any University facility or participate in any
      University program, or whose employment or academic activities may require in-person
      interaction with other CU Anschutz employees, students, patients, study subjects or
      members of the public, including external conferences, regardless of location, must no later
      than September 1, 2021, either (i) be fully vaccinated against COVID -19, or (ii) receive an
      approved exemption as further described below. Individuals are required to comply with
      this Policy, regardless of the Individual’s frequency on campus or interaction with other
      employees, students, patients, or others. For example, even a one-time visit or interaction
      requires compliance.

      Positions or programs that require on-campus presence or interaction with others will not be
      allowed to be performed remotely in order to avoid compliance with this Policy. However,
      Individuals who hold positions that have been previously approved by a supervisor as being
      100% remote without any current or future presence at any CU Anschutz facility (owned or
      leased) or participation in any Anschutz program, or whose employment or academic
      activities do not require in-person interaction with other CU Anschutz employees, students,
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      patients or study subjects of the Anschutz Medical campus, regardless of location, are not
      required to be comply with this policy.

       1.      Vaccine Verification

               All Individuals must submit verification of COVID-19 vaccination. Employees,
               badged affiliates, POIs, and volunteers must submit verification of their COVID-
               19 vaccination via the campus verification system. Visitors will not be required to
               submit verification via the campus verification system, but will be required to
               submit verification to the department or unit hosting their visit. It is the
               responsibility of the unit who is hosting the visitor to ensure the visitor’s
               compliance with this Policy. Students must submit proof of COVID-19
               vaccination to their individual Schools/College/programs in the same manner that
               they would submit proof of other required vaccinations.

               An Individual’s failure to provide valid proof of vaccination or to submit an
               exemption pursuant to Section 2 may be disciplined, up to and including
               termination.

       2.      Exemptions

               Individuals may be exempted from the requirement to receive a COVID-19
               vaccine for medical or religious reasons. Supervisors and unit heads will be made
               aware that an Individual has received an exemption, but will not be aware of the
               reason for the exemption.

               A medical exemption may be submitted if vaccination is medically
               contraindicated due to other medical conditions or due to a physical condition that
               would cause vaccination to endanger an individual’s life or health. A Physician
               (MD, DO), Advanced Practice Nurse (APN), or Physician Assistant must sign the
               medical exemption form and attest to the accuracy of the information contained
               therein. Employees, badged affiliates, visitors, and volunteers must submit their
               medical exemption forms via the approved campus database, which is a campus-
               wide platform. Students must submit their medical exemption forms to their
               individual Schools/College/programs in the same manner that they would submit
               exemptions for other required vaccinations.

               A religious exemption may be submitted based on a person’s religious belief
               whose teachings are opposed to all immunizations. Employees, badged
               affiliates, POIs, and volunteers must submit their religious exemption form via
               the campus verification system. Students must submit religious exemption
               forms to their individual Schools/College/program in the same manner that they
               would submit exemptions for other required vaccinations.

               Individuals who are granted medical or religious exemptions will be required to
               adhere to additional safety protocols, including, but not limited to wearing
               masks, social distancing, staying home when sick, quarantining in accordance
               with current Centers for Disease Control (“CDC”) guidance, submitting daily
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                  attestations, and undergoing frequent asymptomatic testing.2

                  Unvaccinated Employees, Badged Affiliates, or POIs who fail to complete the
                  COVID -19 verification form or comply with required safety protocols for
                  exempted individuals will be referred to their Supervisor for potential action
                  and/or discipline, up to and including termination. Supervisors will be required
                  to provide Campus Human Resources with information regarding such action
                  and/or discipline with respect to unvaccinated employees.

                  Unvaccinated students who fail to submit verification of vaccination or comply
                  with required safety protocols may be referred to their respective
                  School/College/program for potential action and/or discipline, up to and including
                  termination from the program.

                  Schools/College/programs will be required to provide the Associate Vice
                  Chancellor for Student Affairs at CU Anschutz with information regarding such
                  action and/or discipline.

                  Individuals who are not vaccinated and do not have an approved medical or
                  religious exemption, will not be allowed to access University facilities or
                  programs in person. Individuals who previously tested positive for COVID-19
                  will not be granted an exemption unless they obtain a note from a physician or
                  health care provider that indicates vaccination would endangers the individual’s
                  life or health.

                  The COVID-19 pandemic and its impact on campus operations is rapidly
                  evolving.

                  Individuals are encouraged to consult the COVID-19 website referenced in
                  Section D(4) below on a regular basis for up-to-date information regarding CU
                  Anschutz’ COVID-19-related policies, procedures, and guidance.

         3.       Reasonable Accommodations

                  CU Anschutz recognizes that some medical conditions may be protected under
                  the Americans with Disabilities Act and amendments (“ADA”), entitling
                  students and employees to request reasonable accommodations.

                  If you are a student at the CU Anschutz Medical Campus and need to make an
                  application for reasonable accommodations or need information regarding the
                  ADA, contact the Office of Disability Access and Inclusion at (303) 724-5640
                  or disabilityresources@cuanschutz.edu.


  2
   Currently, Individuals who are required to submit to ongoing asymptomatic testing will be required to do so on
  a weekly basis, but the frequency of testing is subject to change at CU Anschutz’ discretion based on evolving
  medical and scientific recommendations.

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                  If you are an employee and need to make an application for reasonable
                  accommodations or need information regarding the ADA, contact the ADA
                  Coordinator at (303) 315-2700 or HR.ADACoordinator@ucdenver.edu.

 D.    RELATED POLICIES, PROCEDURES, FORMS, GUIDELINES, AND
       OTHER RESOURCES

       1. Related Administrative Policy Statements (APS) and Other Policies

              •   Campus Policy 7014: Student Immunization Requirements and
                  Compliance

       2. Forms

              •   CU Anschutz Student Medical Exemption Form
              •   CU Anschutz Student Religious Exemption Form
              •   CU Anschutz Non-Student Medical Exemption Form

       3. Other Resources (i.e., training, secondary contact information)

              •   CU Anschutz COVID-19 Resources
              •   EEOC What you Should Know About COVID-19 and the ADA, the
                  Rehabilitation Act, and other EEOC laws

  Notes

  1.          Dates of official enactment and amendments:

              September 1, 2021: Approved by the CU Anschutz Chancellor

  2.          History:

              August 23, 2021: This is a new policy. As part of the Anschutz Medical
              Campus’ ongoing response to the COVID-19 pandemic, the University of
              Colorado system decided to require that all faculty and staff be vaccinated
              against COVID-19 by September 1, 2021, and that all students be vaccinated
              against COVID-19 before the start of each respective School’s Fall Semester.
              Chancellor Elliman further decided that this Policy will apply to volunteers,
              visitors, and badged affiliates who come to the Anschutz Medical Campus.
              Religious and Medical Exemptions from the Policy are available.

  3.          Initial Policy Effective Date: September 1, 2021

  4.          Cross References/Appendix:

              •   Campus Policy 7014: Student Immunization Requirements and
                  Compliance

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  We, the Catholic bishops of Colorado, consistent with our previous letters on
  COVID-19 vaccines, affirm that the use of some COVID-19 vaccines is morally
  acceptable under certain circumstances. Throughout the pandemic we have cooperated
  with the various secular authorities and encouraged Catholics to help each other, and
  the broader society, remain healthy and safe during this challenging time. We
  understand that some individuals have well-founded convictions that lead them to
  discern they should not get vaccinated. We are pleased to see that in the case of the
  most recent Denver vaccine mandate there is accommodation for sincerely held
  religious beliefs. This is appropriate under the laws protecting freedom of religion.


  We always remain vigilant when any bureaucracy seeks to impose uniform and
  sweeping requirements on a group of people in areas of personal conscience.
  Throughout history, human rights violations and a loss of respect for each person’s
  God-given dignity often begin with government mandates that fail to respect the
  freedom of conscience. In the case of the COVID-19 vaccine, we are convicted that
  the government should not impose medical interventions on an individual or group of
  persons. We urge respect for each person’s convictions and personal choices.


  We have been asked several questions by the Faithful about relevant Catholic teaching
  applicable to this issue. The Catholic Church teaches that a person may refuse a
  medical intervention, including a vaccination, if his or her conscience leads them to
  that decision. Here are relevant points for this personal decision:


  • Vaccination is not morally obligatory and so must be voluntary.


  • There is a moral duty to refuse the use of medical products, including certain
  vaccines, that are created using human cells lines derived from abortion; however, it is
  permissible to use such vaccines only under case-specific conditions—if there are no
  other alternatives available and the intent is to preserve life.


                                                                           Exhibit 2
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  • A person’s assessment of whether the benefits of a medical intervention outweigh
  the undesirable side-effects are to be respected unless they contradict authoritative
  Catholic moral teachings.


  • A person is morally required to obey his or her conscience.


  • For more information on these weighty ethical issues, the United States Conference
  of Catholic Bishops (USCCB) has issued a statement that can be read here.


  Taken as a whole, these points mean a Catholic may judge it right or wrong to receive
  certain vaccines for a variety of reasons, and there is no Church law or rule that
  obligates a Catholic to receive a vaccine — including COVID-19 vaccines.


  The three Colorado Catholic dioceses remain committed to working with public
  health and other secular authorities to protect the wellbeing of our communities, at the
  same time urging that personal freedoms of conscience and expression be fully
  supported, and the integrity and autonomy of religious institutions be respected. The
  vaccination question is a deeply personal issue, and we continue to support religious
  exemptions from any and all vaccine mandates.


  If any person comes to an informed judgment that he or she should receive or not
  receive a vaccine, that person should follow their conscience, and they should not be
  penalized for doing so. We encourage any individual seeking exemption to consult
  their employer or school. The Colorado Catholic Conference also has a letter
  template available to be signed by pastors of the Faithful if a Catholic wants a written
  record that they are seeking exemption on religious grounds.


  Sincerely,
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  Most Reverend Samuel J. Aquila
  Archbishop of Denver


  Most Reverend Stephen J. Berg
  Bishop of Pueblo


  Most Reverend James R. Golka
  Bishop of Colorado Springs


  Most Reverend Jorge Rodriguez
  Auxiliary Bishop of Denver
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                                                                Exhibit 3
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                                        A national public interest law firm defending life, family and religious liberty.



                                           September 15, 2021


University of Colorado Vaccine Verification Team                Jeremy Hueth
University of Colorado Anschutz Medical Campus                  Vice President and University Counsel
13001 East 17th Place                                           1800 Grant Street, Ste. 800
Aurora, CO 80045                                                Denver, CO 80203
vaccineverification@cuanschutz.edu                              Jeremy.hueth@cu.edu
Sent via email                                                  Sent via email

Kimberly C. Spiering
Senior Associate University Counsel
University of Colorado
Office of University Counsel – Denver
Anschutz Medical Campus
Kimberly.spiering@ucdenver.edu
Sent via email

Dear CU Anschutz Exemption Verification Team, Mr. Hueth, and Ms. Spiering:

        My name is Peter Breen, and I am Vice President and Senior Counsel for the Thomas More
Society. We are a non-profit, public interest law firm that has defended the rights of individuals and
organizations across the country for the past 25 years, including in Colorado. I am writing to you because
one of your employees, Dr.                    , was recently denied a religious exemption from the
Anschutz Medical Campus’s (“University’s”) COVID-19 vaccine mandate (“Mandate”) on grounds that
are flagrantly illegal.

        Specifically, the University’s “Campus Administrative Policy” for “COVID-19 Vaccination
Requirement and Compliance” authorizes religious exemptions from the Mandate only for those whose
religious “teachings are opposed to all immunizations.” (See Exhibit A attached.) (Emphasis added.) The
University’s policy commits the double error of (1) explicitly favoring some religious beliefs over others,
and (2) implying that religious beliefs must be tied to organizational teachings in order to be recognized
for exemptions. Both of these errors independently violate the First Amendment’s requirement that
governments remain neutral towards religious beliefs and practices, which are furthermore entitled to
protection whether or not they are part of any denominational “teachings.” They also violate federal Title
VII’s requirement that employers reasonably accommodate their employees’ sincere religious beliefs and
practices (of whatever kind) unless (and only unless) they pose an “undue hardship” to the employer.

       Therefore, we request that you immediately amend the Campus Administrative Policy’s religious
exemption to comply with both the First Amendment and Title VII. We also request that you accordingly
re-evaluate and grant Dr.        ’s request for a religious exemption from the University’s Mandate.
Otherwise, we will not hesitate to file discrimination charges against the University and pursue First
Amendment litigation in federal court, where we will seek corresponding attorney’s fees.

       Dr.         is a long-time pediatrician employed by the University and works at the University-
associated Children’s Hospital. Dr.         is a devout Catholic, and in 2018 she obtained a Master’s
Degree in Bioethics from a combined program with the National Catholic Bioethics Center and the
University of Mary. As a result, Dr.         has strongly-held, sincere religious objections to receiving
any vaccines that were developed through the use of or testing on cell lines derived from aborted human


                                                                                                      Exhibit 4
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children. It is unquestionable that the available COVID-19 vaccines fall into that category,1 so Dr.
       ’s religious beliefs categorically forbid her from receiving these vaccines.

        Dr.         told the University as much on August 22, 2021, when she responded to its inquiry
about the basis of her prior request for a religious exemption from its COVID-19 vaccine mandate by
stating the following: “As a faithful Catholic, I uphold the dignity and sanctity of every human life and
firmly oppose abortion and the evil involved in the use of cell lines derived from abortions. All 3
available emergent-use authorized vaccines in the U.S. – Moderna, Pfizer-BioNTech, and Johnson &
Johnson – used the abortion-derived cell lines (HEK293) in one or more phases of developing the SARS
CoV-2 vaccine.” (See Dr.           ’s Statement, attached as Ex. B.) Additionally, in response to the
University’s inquiry about whether she has “had an influenza or other vaccine in the past,” and asking
“How does this differ?” Dr.           stated as follows: “I have had other vaccines; including influenza –
which does not utilize unethically derived cell lines.” (Ex. B.)

         The University responded via an electronically sent letter on August 26, 2021, rejecting Dr.
        ’s request simply “because . . . campus policy . . . only recognizes religious exemptions based on a
religious belief whose teachings are opposed to all immunizations.” (See Ex. C, attached.) (Emphasis
added.) The letter then referred Dr.          to the aforementioned Campus Administrative Policy. The
letter further instructed that Dr.        would need to provide proof of vaccination by September 1, 2021
or otherwise face “additional actions . . . including but not limited to termination.” (Ex. C.) To date Dr.
         has not submitted proof of vaccination and has continued to work at Children’s Hospital without
disruption to her employment status.

         If there is any clear command in our Supreme Court’s oft-muddled Free Exercise jurisprudence,
it’s that “[a]t a minimum, the protections of the Free Exercise Clause pertain if the law at issue
discriminates against some or all religious beliefs.” Church of the Lukumi Babalu Aye, Inc. v. City of
Hialeah, 508 U.S. 520, 532 (1993) (emphasis added). And “the minimum requirement of neutrality is that
a law not discriminate on its face.” Id. Laws that are not neutral toward religion must survive “the most
rigorous of scrutiny,” id. at 546 (i.e., strict scrutiny), which is possible only if they “advance interests of
the highest order and are narrowly tailored to achieve those interests.” Fulton v. City of Philadelphia, 141
S. Ct. 1868, 1881 (2021) (cleaned up).

        The Campus Administrative Policy is a paradigmatic example of facial discrimination against
some religious beliefs. It explicitly singles out those who are religiously opposed to all vaccinations and
grants them favored treatment, while it categorically rejects requests for religious exemptions by anyone
whose religious beliefs deign to approve some (even non-abortion-connected) vaccines—including
people like Dr.          with unquestionably sincerely held religious beliefs against receiving the COVID-
19 vaccines in view of their ties to abortion. Indeed, the only question for government actors like the
University here is whether Dr.           ’s religious beliefs are sincere. But it is almost always
impermissible for a non-theocratic government like ours to explicitly discriminate against certain
religious beliefs, and a “law that targets religious conduct for distinctive treatment . . . will survive strict
scrutiny only in rare cases.” Lukumi, 508 U.S. at 546. This is not one of those cases.

        Here, the University can offer “no compelling reason why it has a particular interest in denying an
exception [to Dr.         ] while making them available to others”—i.e., those who are opposed to all
vaccinations or those for whom COVID-19 vaccines are “medically contraindicated” (See Ex. A, at Sec.
C.2.). Fulton, 141 S. Ct. at 1882; see also id. (holding that the government’s requisite “compelling
1
    https://lozierinstitute.org/update-covid-19-vaccine-candidates-and-abortion-derived-cell-lines/

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interest” must not be “in enforcing its . . . policies generally, but” in denying a particular claimant a
religious exemption, and that authorizing exemptions from particular policies “undermines the . . .
contention that its . . . polices can brook no departures”). Indeed, the fact that Dr.        has been
allowed to continue serving her patients for two weeks beyond vaccination deadline day undermines the
idea that the University has a compelling interest in denying her an exemption.

        Further, it almost goes without saying that the University’s Mandate applied to Dr.            is not
the least restrictive means where she successfully served as “front-line hero” for the past 18 months while
donning PPE in continued service of her patients, and where Dr.             ’s counsel are aware that hospitals
and medical schools around the country are currently granting religious exemptions from similar
mandates without apparently undermining patient care. See McCullen v. Coakley, 573 U.S. 464, 466
(2014) (government must “show[] that it seriously undertook to address [its] various problems with less
intrusive tools readily available to it”); see also Mast v. Fillmore Cnty., Minnesota, 141 S. Ct. 2430, 2433
(2021) (Gorsuch, J., concurring) (stating that it’s “the government’s burden to show” that “alternative”
treatment of religious activity in other jurisdictions “won’t work” in this jurisdiction).

        With respect to the University’s reference to religious “teachings,” the U.S. Supreme Court has
plainly held that “we reject the notion that to claim the protection of the Free Exercise Clause, one must
be responding to the commands of a particular religious organization.” Frazee v. Illinois Dep’t of Emp.
Sec., 489 U.S. 829, 834, 109 S. Ct. 1514, 1517–18, 103 L. Ed. 2d 914 (1989) (emphasis added); see also
Thomas v. Rev. Bd. Of Indiana Emp. Sec. div., 450 U.S. 707, 714 (1981) (“[R]eligious beliefs need not be
acceptable, logical, consistent, or comprehensible to others in order to merit First Amendment
protection.”).

      Therefore, the University may not imply that Dr.        beliefs must be supported by
denominational “teachings” without violating the First Amendment.2

        Finally, Title VII federal employment law plainly forbids employers like the University from
engaging in any discrimination based on their employees’ “religion,” which is a term covering any
sincerely held “religious observance and practice, as well as belief” of an employee, “unless” (and only
unless) “an employer demonstrates that he is unable to reasonably accommodate . . . an employee’s
religious observance or practice without undue hardship” on the employer’s business.” 42 U.S.C. §§
2000e-2(a)(1) & 2000e(j) (emphasis added). In practice, this means Title VII prohibits an employer from
discriminating against an employee “in order to avoid accommodating a religious practice that it could
accommodate without an undue hardship.” E.E.O.C. v. Abercrombie & Fitch Stores, Inc., 575 U.S. 768,
773 (2015); see also id. (“An employer may not make [an employee’s] religious practice, confirmed or
otherwise a factor in employment decisions.”). Moreover this rule applies even as against an employer’s
neutral polices that incidentally burden people’s religious beliefs and practices. See id. at 775 (“An
employer is surely entitled to have, for example, a no-headwear policy as an ordinary matter,” but Title
VII gives religious practices “favored treatment” and “requires otherwise neutral policies to give way to
the need for an accommodation”) (emphasis added).
2
  Still, it’s worth noting that Dr.     ’s religious beliefs are squarely consistent with a recent unified
statement by the Colorado Catholic Bishops, who declared that a Catholic may “judge it . . . wrong” to
receive the available COVID-19 vaccines in part because of the “moral duty to refuse the use of medical
products, including certain vaccines, that are created using human cell lines derived from abortion.” The
Colorado Bishops also stated that such a person’s beliefs should “be respected” through “religious
exemptions from any and all vaccine mandates.” Colo. Bishops Statement, Aug. 6, 2021,
https://denvercatholic.org/a-letter-from-the-bishops-of-colorado-on-covid-19-vaccine-mandates/.

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        Here, the University has made no attempt to demonstrate that granting Dr.           ’s request for
religious exemption would be an undue hardship (and indeed, that would be a difficult showing in light of
the exemptions allowed for other religious beliefs and for those who cannot receive the vaccine for
reasons of “health,” notwithstanding the presumed continued susceptibility of exempted individuals to
contracting and spreading COVID-19 and its delta variant). Rather, it has denied Dr.            a religious
exemption simply because she is essentially not religious enough (or maybe too religious). The Campus
Administrative Policy fails to provide Dr.          ’s religious observances the same required “favored
treatment” it gives to other religious beliefs and practices. That policy plainly amounts to discrimination
against religion, in violation of Title VII.

        Therefore, we reiterate our request that the University rescind its unconstitutional and illegal
religious exemption policy and bring it into compliance with the First Amendment and Title VII. We also
again request an immediate re-evaluation and grant of Dr.          ’s request for religious exemption from
the University’s Mandate. Otherwise we will pursue any and all legal remedies available to Dr.
under the aforesaid law and, of course, seek attorney’s fees, which would likely be substantial.

      Please respond to this request by noon this Friday, September 17th. Thank you for your
immediate attention.

                                                      Very truly yours,



                                                      Peter Breen
                                                      Counsel for Dr.

Enclosures


cc: Theresa Lynn Sidebotham               Paul M. Jonna                     Michael McHale
    Telios Law PLLC                       LiMandri & Jonna LLP              Thomas More Society
    19925 Monument Hill Road              P.O. Box 9120                     10506 Burt Circle, Suite 110
    Monument, CO 80132 (physical)         Rancho Santa Fe, CA 92067         Omaha, Nebraska 68114
    P.O. Box 3488                         Tel: (858) 759-9930               402-501-8586 (direct)
    Monument, CO 80132 (mailing)
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  September 20, 2021

  VIA ELECTRONIC MAIL
  Mr. Peter Breen
  Thomas Moore Society
  309 W. Washington St.
  Suite 1250
  Chicago, IL 60606
  pbreen@thomasmoresociety.org

          Re:

  Dear Mr. Breen:

  This letter is in response to your September 15, 2021 letter challenging the University of
  Colorado’s denial of Dr.                   request for religious exemption from the campus
  requirement that all University of Colorado Anschutz Medical Campus faculty be immunized
  against COVID-19 by September 1, 2021. Dr.              is a critical care doctor in the Pediatric
  Intensive Care Unit (“PICU”) at the Colorado Springs location of Children’s Hospital Colorado.

  You argue that the University’s denial of Dr.        request is in violation of the First
  Amendment and state statute. You are incorrect for the following reasons:

     I.         There has been no First Amendment violation

  The University has committed no violation of the First Amendment’s Free Exercise Clause.
  As an initial matter, there is no constitutional right to be exempt from a vaccination requirement
  based on religious beliefs. See, e.g., Nikolao v. Lyon, 875 F.d 310, 316 (6th Cir. 2017); Caviezel
  v. Great Neck Pub. Sch., 739 F. Supp. 2d 273, 285 (E.D.N.Y. 2010) aff’d, 500 F. App’x 16 (2d
  Cir. 2012) (“[T]he free exercise clause of the First Amendment does not provide a right for
  religious objectors to be exempt from [the state] compulsory inoculation law.”). The United
  States Supreme Court has explained that:

          [A state’s police power] is not nullified merely because the parent grounds his claim
          to control the child’s course of conduct on religion or conscience. Thus [a parent]
          cannot claim freedom from compulsory vaccination for the child more than for
          himself on religious grounds. The right to practice religion freely does not include
          liberty to expose the community or the child to communicable disease or the latter
          to ill health or death.

  Prince v. Massachusetts, 321 U.S. 158, 165-66 (1944) (citing Jacobson v. Commonwealth of
  Massachusetts, 197 U.S. 11, 39 (1905) (upholding the mandatory smallpox vaccination



                                                                                      Exhibit 5
Case No. 1:21-cv-02637-RM-KAS Document 30 filed 11/04/21 USDC Colorado pg 117 of
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  requirement for all citizens)). See also Workman v. Mingo County Bd. of Educ., 419 F. App’x
  348, 353-54 (4th Cir. 2011) (“[F]ollowing the reasoning of Jacobson and Prince, we conclude
  that the West Virginia statute requiring vaccinations as a condition of admission to school does
  not unconstitutionally infringe [plaintiff’s] right to free exercise.”) (collecting cases); Phillips v.
  City of New York, 775 F.3d 538, 543 (2d Cir. 2015) (“New York law goes beyond what the
  Constitution requires by allowing an exemption for parents with genuine and sincere religious
  beliefs.”); Whitlow v. California, 203 F. Supp. 3d 1079, 1084 (S.D. Cal. 2016) (upholding
  California law that removed religious exemption to vaccination mandate, stating that “it is clear
  that the Constitution does not require the provision of a religious exemption to vaccination
  requirements . . . .”). Just last month, the Court of Appeals for the Seventh Circuit upheld a
  similar vaccine mandate imposed by Indiana University, stating that “[g]iven Jacobson v.
  Massachusetts, 197 U.S. 11 (1905), which holds that a state may require all members of the
  public to be vaccinated against smallpox, there can’t be a constitutional problem with [a
  university requiring] vaccination against SARS-CoV-2.” Klaassen v. Trustees of Indiana
  University, 7 F.4th 592, 593 (7th Cir. 2021).

  Second, where, as here, a state actor chooses to provide a religious exemption for sincerely held
  religious beliefs, it does not violate individuals’ free exercise rights for the state actor to
  determine that their objection to the vaccine is based on personal or secular reasons, and not
  religious considerations. See Mason v. Gen. Brown Cent. Sch. Dist., 851 F.2d 47, 51–52 (2d Cir.
  1988); Farina v. Bd. of Educ., 116 F. Supp. 2d 503, 508 (S.D.N.Y. 2000); NM v. Hebrew Acad.
  Long Beach, 155 F. Supp. 3d 247, 257–59 (E.D.N.Y. 2016); Caviezel, 701 F. Supp. 2d at 427–30
  (E.D.N.Y 2010). “Court[s] may, as in any state of mind inquiry, draw inferences from the
  plaintiffs’ words and actions, in determining whether they hold genuine and sincere religious
  beliefs against inoculations.” Farina, 116 F. Supp. 2d at 508. Even when the facts show that a
  plaintiff is devoutly religious, denial of an exemption is appropriate where the plaintiff’s
  opposition to vaccination is a selective personal belief, as opposed to a religious one. NM, 155 F.
  Supp. 3d at 258; Caviezel, 701 F. Supp. 2d at 429–30.

  Importantly, an individual’s assertion that his or her belief is religious does not automatically
  make it so. Mason, 851 F.2d at 51; see also Sherr v. Northport-East Northport Union Free Sch.
  Dist., 672 F. Supp. 81, 94 (E.D.N.Y. 1987). “To the contrary, ‘a threshold inquiry into the
  “religious” aspect of particular beliefs and practices cannot be avoided,’ if [courts] are to
  determine what is in fact based on religious belief, and what is based on secular or scientific
  principles.” Mason, 851 F.2d at 51 (internal citations omitted).
      II.     Accommodating Dr.                Request for a Religious Exemption Poses an Undue
              Hardship under Title VII.
         The University adopted its COVID-19 Vaccination Policy for the purpose of protecting
  the health and safety of the campus community, including the patients treated in University, UC
  Health, and Children’s Hospital clinics. The University determined that a mandatory vaccination
  requirement for its employees and students is the best way to accomplish this goal.
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         A recent study by the Centers for Disease Control and Prevention found that individuals
  who have not been vaccinated were nearly five times more likely to be infected with COVID-19
  than vaccinated people. In addition, the study found that unvaccinated people are about 29 times
  more likely to be hospitalized with COVID-19 than those who are fully vaccinated. 1
        To require an employer to bear more than a de minimis cost in order to accommodate an
  employee’s religion imposes undue hardship on the employer and is thus not a reasonable
  accommodation under Title VII. Trans World Airlines, Inc. v. Hardison, 432 U.S. 63, 84 (1977).
          An employer is not required to provide a reasonable accommodation if it would pose a
  “direct threat” to the safety of the employee or others which cannot be eliminated or reduced by
  reasonable accommodation. See Jarvis v. Potter, 500 F.3d 1113, 1121 (10th Cir. 2007) (under
  the ADA); Turner v. Hershey Chocolate U.S., 440 F.3d 604, 614 (3d Cir. 2006) (ADA); Draper
  v. U.S. Pipe & Foundry Co., 527 F.2d 515, 521 (6th Cir.1975) (safety considerations are highly
  relevant in determining whether a proposed accommodation would produce an undue hardship
  on the employer’s business); Robinson v. Children's Hosp. Bos., No. CV 14-10263-DJC, 2016
  WL 1337255, at *8 (D. Mass. Apr. 5, 2016) (granting employer’s motion for summary judgment
  in a case involving employee’s refusal to get a flu vaccine for religious reasons, holding that
  “[u]ndue hardship can also exist if the proposed accommodation would ‘either cause or increase
  safety risks or the risk of legal liability for the employer.’”); Kalsi v. New York City Transit
  Auth., 62 F. Supp. 2d 745, 757–58 (E.D.N.Y. 1998), aff'd, 189 F.3d 461 (2d Cir. 1999) (where a
  proposed accommodation for a religious practice threatens to compromise safety in the
  workplace, an undue burden is easy to establish).
          Dr.        treats the sickest children in her current role in the Pediatric Intensive Care
  Unit, and a large number of the patients she will encounter there are not yet eligible to be
  vaccinated, making them particularly vulnerable to a COVID-19 infection resulting in serious
  illness. Accommodating Dr.             request for religious exemption from the vaccination
  mandate would present a direct threat to the health and safety of our patients and staff, and thus
  would impose an undue hardship on the University.
          Likewise, removing Dr.           duties that require in-person interaction with patients
  and staff would impose an undue hardship on the University. “An employer incurs an undue
  hardship if it must ‘bear more than a de minimis cost in order to’” provide reasonable
  accommodation the employee’s religious practice. Tabura v. Kellogg USA, 880 F.3d 544, 557
  (10th Cir. 2018); see also Hardison, 432 U.S. at 84.
        “The factors to be considered in determining whether an accommodation would cause an
  employer undue hardship are, among others: the nature and cost of the accommodation; the
  number of persons employed by the company; the financial resources of the company; and the

  1
      Morbidity and Mortality Weekly Report, Centers for Disease Control and Prevention, August 27, 2021.
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  impact of the accommodation upon the operation of the company.” Smith v. Midland Brake, Inc.,
  a Div. of Echlin, Inc., 180 F.3d 1154, 1178 (10th Cir. 1999). “The cost of hiring an additional
  worker or the loss of production that results from not replacing a worker who is unavailable due
  to a religious conflict can amount to undue hardship.” Tabura, 880 F.3d at 557–58. Courts have
  held that the employer is not required to create a new position in order to accommodate an
  employee, or transform a temporary light duty position into a permanent position. See Buskirk v.
  Apollo Metals, 307 F.3d 160, 169 (3d Cir. 2002) (analyzing ADA duty to accommodate). 2
        Dr.           particular skills in the PICU will be difficult to replace, and yet, the
  University cannot allow her to continue in her current role as an unvaccinated individual because
  she would pose a direct threat to the health and safety of her pediatric patients. As a result, Dr.
         is effectively unavailable to perform her job duties due to her religious belief and to
  accommodate her religious belief clearly poses an undue hardship.
          The preservation of health and safety of our patients, students, staff, and faculty is of
  utmost importance to the University during the public health crisis caused by COVID-19. The
  University’s immunization requirement is vital to that goal. We sincerely urge Dr.             to
  reconsider her position and receive a COVID-19 vaccine, so she can provide patient care to
  pediatric patients in the intensive care unit of Children’s Hospital Colorado without presenting a
  health and safety risk to patients, colleagues, and herself.
          I have conferred with the School of Medicine, and the decision to deny Dr.
  religious exemption request will not be reconsidered.
  Sincerely,




  Kimberly Spiering
  Senior Associate University Counsel,
  Office of University Counsel
  13001 E. 17th Place Aurora, CO 80045
  Telephone: 303-724-9283
  Kimberly.Spiering@ucdenver.edu



  2
   The ADA cases are applicable to religious discrimination cases under Title VII, as a “claim of religious
  discrimination under Title VII is similar to a claim under the ADA because, in both situations, the employer has an
  affirmative obligation to make a reasonable accommodation.” Thomas v. Nat’l Ass’n of Letter Carriers, 225 F.3d
  1149, 1155 n. 5 (10th Cir. 2000).
       Case No. 1:21-cv-02637-RM-KAS Document 30 filed 11/04/21 USDC Colorado pg 120 of
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                                            Mail      - Outlook



      RE: Immunization Question
      Dwinnell, Brian <BRIAN.DWINNELL@CUANSCHUTZ.EDU>
      Wed 5/19/2021 5:02 PM
      To:                     CUANSCHUTZ.EDU>
      Cc: Kireva, Regina <REGINA.KIREVA@CUANSCHUTZ.EDU>; Soohoo, Jeffrey <JEFFREY.SOOHOO@CUANSCHUTZ.EDU>


      Hi

      Welcome to CUSOM!

      We apologize for the delay but as you can imagine the COVID policies have been evolving. There will be an official campus
      policy for all of the professional schools. There will be exemptions for medical and/or religious reasons. There will be form
      for either exemption. A medical exemption will require a provider’s signature. A religious exemption will just require the
      individual’s signature attesting to it being consistent with their religious beliefs. Personal choice will not be considered an
      exemption.

      Regardless of the reason for exemption, any student, faculty member, or staff who is not vaccinated will need to wear a mask
      at all times while on campus or in clinical settings (this is the same for the influenza vaccine as well). In addition there will
      likely be required periodic testing.

      Let us know if you have any questions. We hope to have the forms available soon.

      We look forward to meeting you in person!
      Brian D

      Brian G. Dwinnell, MD, FACP
      Associate Dean, Student Life
      Professor of Clinical Practice
      University of Colorado School of Medicine

      From:                     CUANSCHUTZ.EDU>
      Sent: Wednesday, May 5, 2021 11:30 AM
      To: Kireva, Regina <REGINA.KIREVA@CUANSCHUTZ.EDU>
      Subject: Immunization Question

      Dear Regina,

      Greetings from           I am an incoming MS1 student.

      I received an email from Lamar this morning regarding the immunization information prior to orientation and have
      a question about the requirement. I would like to request an exemption but not sure how to do so. Can you
      provide me some directions please?

      Thank you for your help.

      Best Wishes,




                                                                                                         Exhibit 6
https://outlook.office.com/mail/id/AAMkAGZkNjE5MGM5LTAyODYtNGYxYi05MTMzLTk0NDU2Mjk3ODdiNgBGAAAAAADcoF5qQK4ST7Cp1CwOrpxn…                  1/1
       Case No. 1:21-cv-02637-RM-KAS Document 30 filed 11/04/21 USDC Colorado pg 121 of
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                                            Mail      - Outlook



      Re: vaccine exemption questions
                              CUANSCHUTZ.EDU>
      Tue 8/10/2021 3:43 PM
      To: Neale, Lisa M. <LISA.NEALE@CUANSCHUTZ.EDU>
      Hi Lisa,

      I have just talked with the Dean of the School of Medicine. May I know if you have time soon to discuss about the
      next steps please?

      The Dean basically stated that the hospitals require vaccination to enter or work with no exemptions. Yet, I found
      on the following on the government website and not sure how it will work. I really need some help on this..

      Here is what I find:
      [565] For Colorado requirements, see 6 CCR 1011-1, Chapter 2, Part 10, pertaining to influenza
      immunization of healthcare workers. 6 CCR 1011-1 Chapter 2, §10.8 provides that each licensed hospital,
      hospital unit, ambulatory surgical center and long-term care facility shall have a written policy regarding the
      annual influenza immunization of its healthcare workers that, at a minimum, ensures that each of its
      healthcare workers has either proof of immunization or a medical exemption signed by a physician,
      physician’s assistant, advanced practice nurse or nurse midwife licensed in the State of Colorado stating that
      influenza vaccination for that individual is medically contraindicated as described in the product labeling
      approved by the United States Food and Drug Administration. 6 CCR 1011-1 Chapter 2, §10.8 additionally
      provides that such written policy must ensure that each healthcare worker who does not have proof of
      immunization wears a surgical or procedure mask during influenza season when in direct contact with
      patients and in common areas as specified by the licensee’s policy. 6 CCR 1011-1 Chapter 2, §10.6 provides
      for exemptions to the requirements of Sections 10.7 through 10.12 if a licensed healthcare entity
      demonstrates that it has vaccinated a targeted percentage of its employees in a given year, using its own
      methodology, and continues to use the same or more stringent methodology. The minimum targets
      required for the exemption are 60 percent of employees vaccinated by December 31, 2012; 75 percent of
      employees vaccinated by December 31, 2013, and 90 percent of employees vaccinated by December 31,
      2014 and December 31 of each year thereafter. 6 CCR 1011-1 Chapter 2, §10.5 defines a hospital as a facility
      licensed and regulated pursuant to 6 CCR 1011-1, Chapter IV, General Hospitals and defines a healthcare
      worker as any person working in a healthcare entity who has the potential for exposure to patients,
      residents, or consumers of the healthcare entity and/or to infectious materials, including body substances,
      contaminated medical supplies and equipment, contaminated environmental surfaces, or contaminated air.
      The definition of healthcare worker does not include volunteers.

      [567] For Colorado, for exemptions to the immunization requirements of 6 CCR 1011-1, Chapter 2, Part 10,
      see 6 CCR 1011-1, Chapter 2 §10.8(A)(2). 6 CCR 1011-1, Chapter 2 §10.8(A)(2) provides that in lieu of proof
      of immunization, a healthcare worker may have a medical exemption signed by a physician, physician’s
      assistant, advanced practice nurse or nurse midwife licensed in the State of Colorado stating that influenza
      vaccination for that individual is medically contraindicated as described in the product labeling approved by
      the United States Food and Drug Administration. Note also that 6 CCR 1011-1 Chapter 2, §10.6 provides for
      exemptions to the requirements of Sections 10.7 through 10.12 if a licensed healthcare entity demonstrates
      that it has vaccinated a targeted percentage of its employees in a given year, using its own methodology,
      and continues to use the same or more stringent methodology. The minimum targets required for the
      exemption are 60 percent of employees vaccinated by December 31, 2012; 75 percent of employees
      vaccinated by December 31, 2013, and 90 percent of employees vaccinated by December 31, 2014 and
      December 31 of each year thereafter. 6 CCR 1011-1 Chapter 2, §10.5 defines a hospital as a facility licensed
      and regulated pursuant to 6 CCR 1011-1, Chapter IV, General Hospitals and defines a healthcare worker as
      any person working in a healthcare entity who has the potential for exposure to patients, residents, or
      consumers of the healthcare entity and/or to infectious materials, including body substances, contaminated
      medical supplies and equipment, contaminated environmental surfaces, or contaminated air. The definition
      of healthcare worker does not include volunteers.

                                                                                              Exhibit 7
https://outlook.office.com/mail/id/AAMkAGZkNjE5MGM5LTAyODYtNGYxYi05MTMzLTk0NDU2Mjk3ODdiNgBGAAAAAADcoF5qQK4ST7Cp1CwOrpxn…   1/4
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      Thank you very much for your help.

      Best Wishes,




      From: Neale, Lisa M. <LISA.NEALE@CUANSCHUTZ.EDU>
      Sent: Monday, August 9, 2021 6:57 AM
      To:                     CUANSCHUTZ.EDU>
      Subject: FW: vaccine exemption questions

      Hi
      Hope you had a nice weekend! You can see my questions and Legal’s answers below in blue. Please let me know if you
      would like to meet again.
      Thanks,
      lisa

      Lisa Neale, BA MSS
      Pronouns: she, her, hers
      Associate Director, Ombuds Office
      Ombuds | Certified Organizational Ombudsman Practitioner
      University of Colorado Denver | Anschutz
      Fitzsimons Building, Room 7005C
      (303)724.2950




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       Case No. 1:21-cv-02637-RM-KAS Document 30 filed 11/04/21 USDC Colorado pg 123 of
9/21/2021                                   240-
                                            Mail      - Outlook



      From: Zweck-Bronner, Steve <STEVE.ZWECK-BRONNER@UCDENVER.EDU>
      Sent: Sunday, August 8, 2021 1:38 PM
      To: Neale, Lisa M. <LISA.NEALE@CUANSCHUTZ.EDU>
      Cc: Willits, Jenny W <JENNY.WILLITS@UCDENVER.EDU>
      Subject: RE: vaccine exemption questions




      From: Neale, Lisa M. <LISA.NEALE@CUANSCHUTZ.EDU>
      Sent: Friday, August 6, 2021 2:36 PM
      To: Zweck-Bronner, Steve <STEVE.ZWECK-BRONNER@UCDENVER.EDU>
      Subject: vaccine exemption questions

      Hi Steve,
      We are getting inquiries in our office about exemptions. I’m wondering if you could speak to any of these?

             1. Will the university accept religious exemptions at face value or will there be some sort of validation process? I’m
                thinking about Jehovah’s Witnesses as an example, who, I believe, seek exemptions for all vaccinations. Conversely, if
                a person is fully vaccinated against measles, mumps, etc. but want to say this vaccine violates their religious
                freedoms/rights, will that be acceptable? Pursuant to our policy the religious exemption applies to people whose
                religion precludes all vaccinations. I am unware of a religion that only prohibits COVID 19 vaccinations ( you should
                refer people to the campus COVID website. The EEOC allows employers to inquire a bit into the religious exemption.
             2. Can programs on the Anschutz campus insist that their students are vaccinated, even if they provide an exemption?
                Not if they have an approved religious or medical exemption however it may impact they students progression
                depending on the polices of the clinical sites.
             3. Can programs dismiss students if they fail to be vaccinated, even with an exemption? No, but see above

      Thanks in advance – I appreciate how complex this all is!

      Have a nice weekend,

      Lisa

      Lisa Neale, BA MSS
      Pronouns: she, her, hers
      Associate Director, Ombuds Office
      Ombuds | Certified Organizational Ombudsman Practitioner
      University of Colorado Denver | Anschutz
      Fitzsimons Building, Room 7005C
      (303)724.2950




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       Case No. 1:21-cv-02637-RM-KAS Document 30 filed 11/04/21 USDC Colorado pg 124 of
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       Case No. 1:21-cv-02637-RM-KAS Document 30 filed 11/04/21 USDC Colorado pg 125 of
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                                            Mail       Outlook



      Re: thanks for meeting
                              CUANSCHUTZ.EDU>
      Wed 8/11/2021 7:04 PM
      To: Zimmer, Shanta <SHANTA.ZIMMER@CUANSCHUTZ.EDU>
      Dear Dr. Zimmer,

      Thank you for getting back to me. It was also nice to talk with you yesterday, and I do appreciate your help
      reaching out to the hospital epidemiologists on the hospitals' policy on exemptions. I was frustrated yesterday
      after our conversation due to the unclear potential impact of me not vaccinated, but I am feeling relieved that
      hospitals do take exemptions. I cherish the opportunity that the school provides me to study medicine and am
      grateful that the Deans are providing me alternatives/accommodations while I am self-quarantined, and I will
      learn it well to serve patients in the future. I do hope the school can value and respect my religious belief and
      medical concerns, and I will be very happy to work with the school on any situations that may come up. I will also
      pay attention to the vaccine updates and keep myself informed about the pandemic progress. Hope everything
      will be settled next year or so, so we all don't have to worry too much about it.

      Also thanks for sharing the article with me. I will read it after the Friday exam. And I am looking forward to work
      with you in the near future.

      Have a good evening.

      Best Wishes,




      From: Zimmer, Shanta <SHANTA.ZIMMER@CUANSCHUTZ.EDU>
      Sent: Wednesday, August 11, 2021 11:34 AM
      To:                    CUANSCHUTZ.EDU>
      Subject: thanks for meeting

      Dear
      Thank you again for meeting with me yesterday. I enjoyed getting to meet you and hope to have a chance to see you and
      your wife in person when she visits some time.
      After our meeting, I reached out to the hospital epidemiologists to hear what their approach will be to our students and
      residents who are not vaccinated.
      The response was that for exemptions, masking will be required and twice a week COVID PCR testing.
      Below is an article that I received this morning about safety of the vaccine in people who had prior reactions. As I was
      pondering your history of the response you had to the influenza vaccine and also the TdaP, I thought about the possibility
      that you also experienced another concomitant viral infection, possibly even influenza itself which can causes some of the
      symptoms you described, even more commonly than the influenza vaccine. Just some food for thought about alternative
      hypotheses. I also wanted to emphasize that the covid vaccine is very different from a design than either the influenza or
      TdaP vaccines.
      Best,
      Shanta

      From: Zimmer, Shanta <SHANTA.ZIMMER@CUANSCHUTZ.EDU>
      Sent: Wednesday, August 11, 2021 8:14 AM
      To: Zimmer, Shanta <SHANTA.ZIMMER@CUANSCHUTZ.EDU>
      Subject:

      https://www.cdc.gov/mmwr/volumes/70/wr/mm7032e4.htm?s_cid=mm7032e4_w                              Exhibit 8
https://outlook.office.com/mail/id/AAMkAGZkNjE5MGM5LTAyODYtNGYxYi05MTMzLTk0NDU2Mjk3ODdiNgBGAAAAAADcoF5qQK4ST7Cp1CwOrpxn…           1/2
       Case No. 1:21-cv-02637-RM-KAS Document 30 filed 11/04/21 USDC Colorado pg 126 of
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                                            Mail      - Outlook

      Shanta M. Zimmer




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       Case No. 1:21-cv-02637-RM-KAS Document 30 filed 11/04/21 USDC Colorado pg 127 of
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                                            Mail      - Outlook



      Vaccine Verification Process Completed
      vaccine@cuanschutz.edu <vaccine@cuanschutz.edu>
      Fri 8/13/2021 10:00 AM
      To:                        CUANSCHUTZ.EDU>


            1 attachments (299 KB)
      Vaccine Verification Form - 8-13-2021.tif;


      [External Email - Use Caution]
      Hello
      Thank you for completing the University of Colorado Anschutz Medical Campus vaccine verification
      process. You have attested that you are vaccine exempted. Please keep this email for your records.
      If you are fully vaccinated, there is no further action needed.
      If you are not fully vaccinated, and have submitted an exemption, CU Anschutz requires that you follow
      all established safety protocols while on campus (complete the daily health questionnaire; wear a mask;
      observe physical distancing; self-report if symptomatic, test positive or exposed). A requirement for
      regular COVID-19 testing may follow.
      Learn about current campus protocols: CU Anschutz Return to Campus Information
      Find campus FAQ’s: CU Anschutz COVID-19 FAQs
      Thank you for helping keep #CUAnschutzTogether.




                                                                                              Exhibit 9
https://outlook.office.com/mail/id/AAMkAGZkNjE5MGM5LTAyODYtNGYxYi05MTMzLTk0NDU2Mjk3ODdiNgBGAAAAAADcoF5qQK4ST7Cp1CwOrpxn…   1/1
       Case No. 1:21-cv-02637-RM-KAS Document 30 filed 11/04/21 USDC Colorado pg 128 of
9/21/2021                                   240-
                                            Mail      - Outlook



      COVID Exemption
      Dwinnell, Brian <BRIAN.DWINNELL@CUANSCHUTZ.EDU>
      Wed 8/18/2021 4:10 PM
      Cc: Druck, Jeffrey <JEFFREY.DRUCK@CUANSCHUTZ.EDU>; Seymour, Deb <DEB.SEYMOUR@CUANSCHUTZ.EDU>; Shacklock, Haylee
      <HAYLEE.SHACKLOCK@CUANSCHUTZ.EDU>; Kireva, Regina <REGINA.KIREVA@CUANSCHUTZ.EDU>


            1 attachments (53 KB)
      CU Anschutz Religious Exemption Form 8-21.docx;


      If you are receiving this, your previous submission for exemption will not meet campus approval based on the new
      requirements. As stated previously, with the emergence of the Delta variant, the guidelines would likely change. The
      attached exemption form was provided today by our campus legal team and must be completed and uploaded in both
      MyRecordTracker as well as this central campus verification portal: https://www.cuanschutz.edu/coronavirus/vaccine-
      information/verification

      Please complete this as soon as possible as an exemption must be in place by 9/1/21. If you choose to be vaccinated, we are
      willing to provide you an extension if you receive the first vaccination prior to 9/1/21.

      Thank you!
      Brian D

      Brian G. Dwinnell, MD, FACP
      Associate Dean, Student Life
      Professor of Clinical Practice
      University of Colorado School of Medicine
      303-724-6402




                                                                                                  Exhibit 10
https://outlook.office.com/mail/id/AAMkAGZkNjE5MGM5LTAyODYtNGYxYi05MTMzLTk0NDU2Mjk3ODdiNgBGAAAAAADcoF5qQK4ST7Cp1CwOrpxn…            1/1
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                                                              Exhibit 11
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                                     Request for a Religious Exemption


                                                                                                Aug 22nd, 2021
School of Medicine
University of Colorado Denver
1635 Aurora Ct, Aurora, CO 80045


To whom this letter may concern,


        My name is           and I am a first-year medical student at the School of Medicine, University
of Colorado Denver Anschutz Medical Campus. As an international student from Canada, I was
welcomed by the school and was very excited to meet student peers during the orientation, while I have
enjoyed studying medicine for the past three weeks since the semester had begun. As a contributing
member of the student community, I plan to run for various representative positions at the Medical
Student Council and various interest groups, while I also intend to take the Global Health Track to
incorporate my interest in global health with the practice of medicine. I am grateful for this precious
education opportunity that I have received from the School of Medicine as well as the academic and
social support from the Deans at the Office of Student Life. It is my plan to study medicine well and
work diligently to complete my M.D. degree at the School of Medicine, so that I can employ my medical
knowledge to provide patients the best treatments.
        The purpose of this letter is to respectfully request a religious exemption for vaccination at the
University of Colorado Denver Anschutz Medical Campus. My request is based solely on religious
grounds, pursuant to my right within the Colorado Law Revised Statues §25-4-902, 903, Senate Bill
20-163, and House Bill 14-1288, as well as my right to religious freedom within the First Amendment
of the United States Constitution. Medical immunizations have issues that are contrary to my Buddhism
beliefs as I practice them on a daily basis. Enclosed in this letter, is a detailed elaboration of my practice
of Buddhism as well as my understanding of the Buddhism truths that prohibit vaccination, which are
supported by scriptures that concur with my religious convictions. It is my intention to share with and
help the readers to understand my unique perspectives on the ideology and presence of Buddhism in
my life.
         Before elaborating more details on my religious ideologies, I would like to humbly request that
this letter be treated with confidentiality and would greatly appreciate a high level of discretion and
privacy in handling my request for the religious exemption. My relationship with the Buddha,
understanding of the Buddhism philosophy and its practices are topics more of self and inner
contemplation of my mind and body, which are not discussed or shared in daily conversations with
others. As a result, I would expect one or at most a limited number of people will review my request
and be made aware of my request for a religious exemption.


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        Having grown up in a family that believes in Buddhism, I began my own discovery of the
Buddhism truths at the age of 21 when I began learning meditation, reading scriptures, adhering to the
Buddha’s teaching principles, and practicing them in my daily life. My faith had led me to realize that
vaccination is antithetical to the Buddha’s scriptures and Buddhism teaching. It was my regret that I
didn’t realize this conflict earlier in my life. My previous vaccinations, in contrast, was performed at
my birth or in my early childhood as I was a minor, when it was not my personal choice to be vaccinated
but the choice of the health care systems and the government in China that didn’t provide alternatives
or exemptions. The only time that I took a vaccine ever since I was 21 was the influenza and Tdap
vaccine at the University of Michigan in 2016, which was required for volunteering at the hospital. Yet,
as an international student who were not familiar with the laws in the U.S., I was neither aware of nor
informed about the opportunity to request a religious exemption before getting the vaccine. I was forced
to choose between my religion and my education. I struggled and waited until the very last day to
receive the vaccine. Later in my educational training in public health and epidemiology, I began aware
of the health care laws, especially the option of filing vaccination exemptions under the U.S.
Constitution and local state laws. Since then, I have vowed to the Buddha that I will never go against
my faith again and will adopt my religious beliefs as the basis for my medical care and healthcare
related decisions.
My personal story in Buddhism
        I grew up in a family that cherished Buddhism. Although not educated with knowledge in
Buddhism, my parents frequently brought me to the local Buddhism monasteries for praying to the
Buddha and Boddhisatva when I was young. After beginning studying abroad out of my home in China,
I had visited many Buddhism monasteries and took praying to the Buddha as a monthly activity out of
my school. At the age of 21, I had a gap year before attending college and decided to explore more in
Buddhism. I went to a well-known monastery in the mountain in northeastern China and spent days
there attending ceremonies and learning Buddhism scriptures. There, I took my three refuges and five
precepts, and vowed to the Buddha that I would abstain from killing, stealing, sexual misconduct, lying,
and intoxication. Upon entering college, I have decided to become a vegan, as the Buddha said not to
eat animals because our lives are created all equal in this universe and it is not right for one to kill and
eat another. Meanwhile, I began sitting meditation on a weekly basis to cultivate my mind, especially
exploring the connection between the mind and the body as well as that and the universe. Through
meditation, I came to the realization that the body and mind are in unity, where one’s wellbeing will
affect the other’s. During the winter or summer breaks, I usually spent weeks traveling to a monastery
in California to attend Buddhism retreats and listen to the dharma masters’ teaching on Buddha’s
scriptures. Throughout these years, I gradually developed a strong understanding of the Buddhism
philosophy and learned to incorporate it in my daily life.
        My Buddhism philosophy in one of the five precepts, not killing, has made the strongest impact
on my academics and daily life. As a participant of the summer undergraduate research internship
program at University of Texas-Southwestern Medical School after my sophomore year, I was initially
assigned to a lab that focus on DNA analysis on drosophila and mice. After being introduced to the lab
during my first day, I realized that the lab’s research relied heavily on killing drosophila and mice,
sacrificing their bodies to obtain DNA samples for analysis. I felt uncomfortable about killing living


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beings and sacrificing their life for publishable research outcomes, and shared my concerns with the
program director, who helped me identify another lab that didn’t involve the use of animals. On another
occasion in my senior year, I was studying a biology course on neurodegenerative diseases, in which
students were taught to grow drosophila and sacrifice them in weeks to compare their DNA samples.
Realizing that the practice ran against my Buddhism belief, I shared my thoughts with the professor and
was glad that he made an accommodation for me during the course and asked me to volunteer in the
Virginia Home, a location for patients of intellectual disabilities, instead. There are many instances like
these in the past ten years, and I was grateful that I could adhere and practice my faith of not killing in
my daily life.
        I came to realize the connection of body and mind through the sharing of a teacher in spirituality
and Buddhism. More than thirty years ago, she was diagnosed with blood cancer and her doctor
informed her that she would not live very long even with the medical treatment such as chemotherapy.
Instead of feeling distressed or discouraged, she turned to her inner-self and practice the Buddhism
philosophy by connecting with her mind. By sending love vibrations to the environment and aligning
herself to the soul, natural loving intelligence, wisdom, knowing, and intuition, she healed her mind on
her own and the body rehabilitated. To her doctor in the hospital, it was a miracle and the physiological
change in her body cannot be explained by medical science. Yet, to her, it was not a miracle, as she
shared with me that it was a normal practice of self-healing without interference from outside treatment,
such as chemotherapy, that everyone is capable of performing. With her sharing, I gradually began
exploring the underlining meaning behind the Buddha’s scriptures; through the practice of connecting
the mind and the body, I can perceive how they affect each other and maintain the alignment of my
mind with the love vibration which subsequently keep my body healthy.
        Meditation is another pathway for me to explore and realize my connection with the Buddha.
Through sitting meditations, I occasionally could perceive the past life of mine and vision the future. It
has led me to realize that the body is like a carrier of the soul while the soul has all knowing and healing
potential, just like the teacher has shared with me. I began contemplating the deep meaning of the
Buddha’s scripture and reflecting on my daily life experiences through meditation, and it frequently
occurred to me that I could understand the Buddha’s teaching more profoundly afterwards. Meditation
has therefore become an inseparable part of my life for many years.
The Buddha’s Scripture and Vaccination
       Throughout the past 10 years, I have explored the meaning of the Buddha’s scripture and
followed its guidance in my life. Medical vaccination was not endorsed in the Buddhism’s teaching,
and I have quoted the following lines from scriptures and teachings from dharma masters to elaborate
my reasoning.
        The Dharma Master Xuan Hua who set up the City of Ten Thousand Buddhas in California had
said, “our thoughts directly lead to our life experiences. Good thoughts will draw pleasant outcomes,
while bad thoughts will result in serious consequences. If accumulated for a long time, the bad thoughts
and their associated consequences may lead to karma, manifested by diseases and sufferings on human
beings.” The Buddha also stated “All states of being are determined by mind. It is mind that leads the
way. Just as the wheel of the oxcart follows the hoof print of the animal that draws it, so suffering will

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surely follow when we speak or act impulsively from an impure state of mind.” My understanding of
this teaching is that one can maintain his or her good health through the purity of thoughts and actions,
not sustained through vaccinations. If a person’s thought and action is not proper, a vaccination will not
heal that person’s diseases. In another word, suffering and disease will certainly follow if one’s actions
and words are not generated from a pure heart and mind. As a result, the solution to resolve a disease
and return to the healthy balance between mind and body is to reflect on one’s own thoughts and actions
and to realign them with the purity and properness, rather than through vaccinations; the body will heal
itself, just like my teacher’s personal story shared before. Moreover, as the vaccines are not created by
the nature, it creates disturbance to the balance and interactions among the mind, body, and nature, a
lesson that I have personally experienced after the last vaccination in 2016. (when I was not aware of
the option of religious exemption) My mind and body were blocked off from the natural, true
intelligence, health, happiness, creativity, and evolvement that I usually kept connected with the Buddha,
leading me unable to experience the true self and pursue enlightenment. As a result, I chose to abstain
from vaccinations in order to maintain my true self.
        Diseases and sufferings may seem intimidating but the Buddha has taught me that “correct
suffering” teaches one what to do right next time. The Buddha said, “As medicine puts an end to sickness,
so Nirvana to all sufferings.” Medicine may be used to end a sickness temporarily, but if the suffering
has not led one’s realization of correcting his or her mind, it will come back again and sometimes will
be even worse than its previous appearance. Vaccines circumvents potential diseases and subsequently
the sufferings that one may need to experience, but this is not helpful for one to learn and achieve
enlightenment through suffering. Sometimes, such sufferings may lead to death, but in Buddhism, death
does not mean the end to learn and experience the world. The soul will enter the wheel of the six realms
and come back to life until Nirvana is achieved. As a result, death itself is a lesson for one’s soul to
learn as well. If one can realize the origin of the suffering and correct the thoughts or actions, one will
complete a lesson and avoid repeating the same suffering in the next life. My understanding of the
Buddhism in this aspect has informed me that vaccination should not be taken as it may eliminate the
“correct sufferings” from my life.
         Sometimes people may need medications, and the Buddha’s teaching has taught me well on this
aspect. The Buddha said, “Do not dwell in the past, do not dream of the future; concentrate the mind
on the present moment,” and “All that we are is a result of what we have thought, it is founded on our
thoughts, it is made up of our thoughts. If a man speaks or acts with pure thought, happiness follows
him, like a shadow that never leaves him.” Vaccination is developed as a preventative method for a
potential disease in the future and will lead one’s mind to concentrate on the future instead of the present
moment, an opposition from the Buddha’s teaching. Moreover, the Majjhima Nikaya taught me,
“reflecting wisely, one uses the medicinal requisites only from protection from arisen afflictions.”
(Chapter 2. Sabbasava Sutta, Pg. 49, verse 16) Medications shall be used only for present, arisen
afflictions, not upcoming, potential ones. As vaccinations focus on the future, I would stay following
the Buddha’s teaching and focus on the present, and therefore choose not to be vaccinated.
        Even when medications are required, the Buddhism philosophy has provided me a solid
foundation in selecting medicine or treatment plans for myself. In Buddhism, I was taught that all living
beings in this world are created equally; one should not initiate harm on another, as it will initiate hatred


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and hinder one’s ultimate achievement of enlightenment and nirvana. Not-killing, one of the precepts,
elaborated this better in daily life, as I learn to cherish the lives of all and even the small beings, such
as a drosophila or a fly, and became a vegan for over ten years so far. In the past ten years, I decided
not to use products that involve with animal ingredients or animal testing, so as to adhere to the
Buddha’s teaching on Not-killing and Not-harming. As the ingredients of vaccines contain either
animal-derived chemicals or go through animal testing before going public, or both, it creates harm and
discomfort to the animals. Therefore, I identify it as not suitable for my health use, and choose not to
take it based on my practice of not-killing and not-harming in Buddhism.


        As a faithful Buddhism believer, I am exercising my understanding of and following the
Buddha’s teaching on the matter of vaccinations. It would be considered as immoral and a betrayal to
myself and my faith, if I choose to do otherwise. As a result, it is my hope that my sincere decision of
not to be vaccinated, based on my genuine religious beliefs and practices, will be honored and respected
by the school. Moreover, I wish the exemption will be granted, as I like studying at the school of
medicine and hope to complete my medical education here.
(This being a very private and personal matter, I ask that it remains confidential and only for the eyes
of relevant persons within the university. Thank you for taking the time to read my letter and for your
consideration in this matter.)


Sincerely,


MD Class of 2025
School of Medicine
University of Colorado Denver Anschutz Medical Campus




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                                            Mail      - Outlook



      Vaccination Exemption
      Dwinnell, Brian <BRIAN.DWINNELL@CUANSCHUTZ.EDU>
      Tue 8/24/2021 11:59 AM
      To:                    UANSCHUTZ.EDU>
      Cc: Zimmer, Shanta <SHANTA.ZIMMER@CUANSCHUTZ.EDU>; Spiering, Kimberly <KIMBERLY.SPIERING@UCDENVER.EDU>
      Dear      ,

      Thank you for submitting your request for religious exemption. The request has been reviewed and we need you to provide
      more information. This applies to all outstanding vaccinations.

      Please provide documentation that demonstrates that your religion is opposed to all immunizations. Citations from specific
      documents are not sufficient. The University will only accept requests for religious exemption that cite to the official
      doctrine of an organized religion, in this case, Buddhism, as announced by the leaders of that religion. Please provide this
      documentation by the end of the day on August 26, 2021.

      Please note that, in the course of reviewing your request, the University learned that the Dharma Realm Buddhist University
      set up by Dharma Master Xuan Hua who you list in your letter is in fact requiring vaccinations for all of its students, faculty
      and staff. https://www.buddhistdoor.net/news/dharma-realm-buddhist-university-in-california-resumes-in-person-classes-
      with-largest-student-cohort

      If you are not able to submit documentation to support your request for a religious exemption by the end of the day on
      August 26, 2021, the University will require that you comply with vaccination as the other Buddhist followers at DRBU are
      required to do. Without an approved religious exemption, you must demonstrate to us that you have initiated the vaccine
      process by September 1st or you will be referred to the School of Medicine’s Promotions Committee for dismissal. As an
      alternative, you may choose to withdraw from the School of Medicine. If you think you would be willing to take the vaccine
      after more deliberation, you could request a leave of absence.

      Sincerely,
      Deans Dwinnell and Zimmer


      Brian G. Dwinnell, MD, FACP
      Associate Dean, Student Life
      Professor of Clinical Practice
      University of Colorado School of Medicine
      303-724-6402




                                                                                                      Exhibit 13
https://outlook.office.com/mail/id/AAMkAGZkNjE5MGM5LTAyODYtNGYxYi05MTMzLTk0NDU2Mjk3ODdiNgBGAAAAAADcoF5qQK4ST7Cp1CwOrpxn…                1/1
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        August 26, 2021
        To: The School of Medicine, Drs. Brian Dwinnell and Shanta Zimmer
        From:
        Re: Additional request for COVID-19 vaccine exemption
My name is          and I am a first-year medical student at the School of Medicine, University of Colorado
Denver Anschutz Medical Campus.
        The purpose of my letter is to supply additional information on my sincerely held religious belief and
practices and to respectfully request a religious exemption for vaccinations. As I will describe below, the essence
of my request relates to the fact that current COVID-19 vaccines were all produced using human fetal cell
cultures and, accordingly, were developed by taking a life which violates the fundamental tenets of my long-
held Buddhist religion.
        The School of Medicine, University of Colorado Anschutz, is requesting and directing me, a student
enrolled in the Medical Doctor program, to get vaccinated with a COVID-19 vaccine. However, I cannot receive a
COVID-19 vaccine because to do so violates my sincere and long held religious beliefs and practices as a Buddhist.
         My letter will further elaborate my religious beliefs and practices and request the religious exemption for
COVID-19 vaccinations. Additional letters will be provided requesting exemptions for other vaccinations, including
Hepatitis B and Influenza. Moreover, in this letter, you will find more information on the definition of religion and
religious discrimination from the legal perspective and my responses to your initial reply (August 24, 2021 email)
to my initial request for exemption. My request is solely based on my sincerely held belief in Buddhism and my
relationship with the Buddha, and I would also respectfully invite the school to consider my exemption request
solely on the ground of my sincerely held beliefs and practices in Buddhism.
       Before elaborating, I would again like to humbly request that this letter be treated with confidentiality and
would greatly appreciate a high level of discretion and privacy in handling my request for the religious exemption.
         I took my three refuges and five precepts at a Buddhist monastery near my home at a very young age and
attended dharma assemblies in China and in the U.S. throughout the past years. These interactions cultivated my
Buddhism beliefs and my connection with the Buddha. At my home, I also established a room for an Avalokitesvara
Boddhisatva statue and have followed the practice of worshipping, reciting sutras, and performing meditations on
a daily basis. As a sincere believer in Buddhism and a follower of the Buddha’s teaching, I became a vegan for over
a decade and will continue until the end of my life. I have attached a photo of proof of the three refuges and five
precepts that I received when I was young and a photo of the Boddhisatva statue at my home.
         The currently available COVID-19 vaccines in the U.S. market are either developed from, or tested on,
fetal cell lines from aborted babies. Johnson & Johnson required the use of fetal cell cultures, specifically PER.C6,
to produce and manufacture its vaccines. Pfizer and Moderna used the fetal cells to characterize the SARS-CoV-2
spike protein and applied such a cell line to test the efficacy of both vaccines. None of the vaccines is completely
free from any use of abortion-derived cell lines.
(http://publichealth.lacounty.gov/media/Coronavirus/docs/vaccine/VaccineDevelopment_FetalCellLines.pdf)
         As a sincere Buddhist, I believe that production of vaccines using fetal cells from aborted babies is directly
against my belief in the Buddha’s doctrine of not-killing and not-harming. The first doctrine from the Five Precepts
that I adopted many years ago is to “…refrain from taking life”. I believe in not killing any living being in any form,



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including humans, animals, and even the small ants or flies. I believe that life should not be destroyed and reject
abortion because it involves the deliberate destroying of a life.
         The Buddha teaches me that all of “life is one.” This phrase means that “…all forms of life are essentially
related to one another and share a common essence.” I believe that all lives are basically equal, and they only differ
in terms of expressions of life and the external forms of beings. The Buddhism teaching also states that
“…individual human life begins at conception, and the new being, bearing the karmic identity of a recently deceased
individual, is therefore as entitled to the same moral respect as an adult human being.” A fundamental principle in
Buddhism is the Wheel of Rebirth, in which “…all forms of life will be reincarnated according to the karma they
accumulated while living. Someday, in the process of reincarnation when all karma has been completely exhausted,
the wheel of rebirth can be stopped,” and one will achieve Nirvana. As a result, if a Buddhist wants to reach this
Nirvana, he or she must carefully observe the 8-fold Path and the Ten Precepts that help prevent any accumulation
of karma. This is because the karma of killing, for example, is very heavy. “If one kills a sentient being, then for
500 lifetimes one will be killed by others,” as the Buddha teaches.
        The Mahayana Brahajala Sutra explains the first precept in this way: “A disciple of the Buddha shall not
himself kill, encourage others to kill, kill by expedient means, praise killing, rejoice at witnessing killing, or kill
through incantation or deviant mantras. He must not create the causes, conditions, methods, or karma of killing, and
shall not intentionally kill any living creature.”
        Based on these lessons that I learned from my connection with the Buddha and Buddhism’s scriptures, I
believe that destroying a baby’s life at conception is equal to destroying an individual’s life and therefore contrary
to my religious beliefs. I also believe that a fetal cell is a living form, and the use of the living form in the production
of vaccines is against the teaching of the Buddha, because it praises and encourages killing and violates the First
precept of the Buddhist doctrine.
        Thus, it is my sincerely held religious belief that, if being vaccinated with any of the currently available
vaccines like Pfizer, Moderna, and J&J, I would be cooperating with and complicit in abortion -killing-, and this
would result in a strong karma in my life and a violation of the Buddha’s teaching—a violation for which I would
be held accountable for and be harmed in my ability to achieve Nirvana. Moreover, I am opposed to taking all
vaccines that have a connection to abortion or the use of human fetal cells.
        For these reasons, I request a religious exemption that will exempt me from having to receive a COVID-19
vaccine. In the meantime, I would also respectfully ask that no adverse action be taken against me on account of
my religious beliefs. I recognize that I could be a symptomatic carrier of COVID-19 and, consequently, I am willing,
however, to comply with accommodations such as masking and weekly testing to ensure that I am healthy and
functional in my daily learning activities and interactions with patients. If exposed or self-identified as COVID-19
positive, I will stay in quarantine and refrain from interacting with others until I am recovered from the illness.
Meanwhile, I am also open to future alternative options for vaccinations, if they don’t violate my sincerely held
belief.
       The followings are to clarify legal perspectives on religious belief and respond to the schools’ denial letter
dated Aug 24th, 2021. Key information is underlined.
    1. According to the Title VII of the Civil Rights Act of 1964 and the U.S. Equal Opportunity Employment
       Commission’s guidance on religious discrimination, the definition of religion is broad. Title VII defines
       “religion” to include “all aspects of religious observance and practice as well as belief,” not just practices
       that are mandated or prohibited by a tenet of the individual’s faith. Religion includes not only traditional,
       organized religions such as Christianity, Judaism, Islam, Hinduism, Sikhism, and Buddhism, but also
       religious beliefs that are new, uncommon, not part of a formal church or sect, only subscribed to by a small
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        number of people, or that seem illogical or unreasonable to others.[19] Further, a person’s religious beliefs
        “need not be confined in either source or content to traditional or parochial concepts of religion.” A belief
        is “religious” for Title VII purposes if it is “religious” in the person’s “own scheme of things,” i.e., it is a
        “sincere and meaningful” belief that “occupies a place in the life of its possessor parallel to that filled by . . .
        God.” The Supreme Court has made it clear that it is not a court’s role to determine the reasonableness of
        an individual’s religious beliefs, and that “religious beliefs need not be acceptable, logical, consistent, or
        comprehensible to others in order to merit First Amendment protection.” An employee’s belief, observance,
        or practice can be “religious” under Title VII even if the employee is affiliated with a religious group that
        does not espouse or recognize that individual’s belief, observance, or practice, or if few – or no – other
        people adhere to it. Religious beliefs include theistic beliefs as well as non-theistic “moral or ethical beliefs
        as to what is right and wrong which are sincerely held with the strength of traditional religious views.”
        Religious observances or practices include, for example, attending worship services, praying, wearing
        religious garb or symbols, displaying religious objects, adhering to certain dietary rules, proselytizing or
        other forms of religious expression, and refraining from certain activities. Determining whether a practice
        is religious turns not on the nature of the activity, but on the employee’s motivation.
        (https://www.eeoc.gov/laws/guidance/section-12-religious-
        discrimination#h_9593682596821610748647076)
         A guidance for employers on evaluating religious accommodation requests is as follows. Though it refers
to a different state, it is only released on Aug 23rd, and similar legal procedures or professional conducts shall be
expected to be released in Colorado.
    2. According to the U.S. Equal Opportunity Employment Commission’s (EEOC) guidance on religious
       discrimination, because the definition of religion is broad and protects beliefs, observances, and practices
       with which the employer may be unfamiliar, the employer should ordinarily assume that an employee’s
       request for religious accommodation is based on a sincerely held religious belief. If, however, an employee
       requests religious accommodation, and an employer has an objective basis for questioning either the
       religious nature or the sincerity of a particular belief, observance, or practice, the employer would be
       justified in seeking additional supporting information. In determining whether an employee’s religious
       belief is sincerely held, a limited initial inquiry could include objective, general questions, without delving
       too far into an employee’s reasons for a particular belief and without requiring input from an outside source,
       such as a formal religious leader. Such inquiries might include asking how long the employee has followed
       the professed belief or what constitutes the basic tenets of the religion. The employer does not have to
       accept a high-level statement of religious observance that provides no details; an employer can ask about
       the specific belief, tenet, or observance that conflicts with the vaccination requirement. The template
       religious accommodation request form includes a question about the conflict presented. Employers should
       proceed with caution and obtain legal advice before seeking additional supporting information if they have
       doubts as to the sincerely held religious belief, including third-party verification (e.g., requesting
       verification from the employee’s pastor, rabbi, church elder, etc.). Because the definition of religion is
       broad and protects beliefs, observances, and practices with which the employer may be unfamiliar, the
       employer should ordinarily assume that an employee’s request for religious accommodation is based on a
       sincerely held religious belief.
(https://www.k12.wa.us/sites/default/files/public/communications/2021docs/FAQ-COVID-19-Vaccine-
Requirement-for-K-12-School-Employees.pdf)
        The Employment Law Landscape reveals the following:
    3. Exemption from a Vaccine Mandate Based on Religious Beliefs:
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   An employee may request, based on a sincerely-held religious belief, to remain unvaccinated, receive only a
   specific brand of the COVID-19 vaccine, or wait for an alternative version of the vaccine to become available.
   Employers should process these requests in the same manner as other accommodation requests. “Religion” is
   defined broadly under Title VII. According to the Guidance, employers should ordinarily assume that an
   employee’s request for religious accommodation is based on a sincerely held religious belief, practice, or
   observance, “unless the employer is aware of facts that provide an objective basis for questioning either the
   religious nature or the sincerity of a particular belief, practice, or observance,” in which case the employer could
   request additional supporting information.
(https://www.employmentlawlandscape.com/2021/06/eeoc-updates-vaccine-guidance-accommodation-
confidentiality-employer-incentives-and-more/)
       Also, “Sincerely Held Religious Beliefs Do Not Need to Be Express Tenets of a Religion in Order to
Require Accommodation.”
   4. In religious discrimination cases, employers often believe that the burden is on the employee to prove that
      the sincerely held religious practice (for example not getting vaccinated) is an express requirement of the
      employee’s religion, and absent proof of such requirement, no accommodation is necessary. However,
      the definition of sincerely held religious belief is not necessarily tied to express religious requirements.
(https://www.callaborlaw.com/entry/defining-sincerely-held-religious-beliefs-that-might-excuse-mandatory-
covid-19-vaccination)
         In the meantime, I have consulted with Harry Mihet, Esq., Vice President of Legal Affairs and Chief
Litigation Counsel for Liberty Counsel, regarding my sincerely held, religious beliefs. He cited:
   5. Supreme Court of the United States: Thomas v. Rev. Bd. of Ind. Emp. Sec. Div., 450 U.S. 707, 714
      (1981) "[i]ntrafaith differences of that kind are not uncommon among followers of a particular creed, and
      the judicial process is singularly ill equipped to resolve such differences . . . and the guarantee of free
      exercise is not limited to beliefs which are shared by all of the members of a religious sect. Particularly in
      this sensitive area, it is not within the judicial function and judicial competence to inquire whether the
      petitioner or his fellow worker more correctly perceived the commands of their common faith. Courts are
      not arbiters of scriptural interpretation"

   6. Supreme Court of the United States: Frazee v. Ill. Dep’t of Emp. Sec., 489 U.S. 829, 834 (1989)
      “Undoubtedly, membership in an organized religious denomination, especially one with a specific tenet
      forbidding members to work on Sunday, would simplify the problem of identifying sincerely held
      religious beliefs, but we reject the notion that to claim the protection [for sincerely held religious beliefs],
      one must be responding to the commands of a particular religious organization.”


   7. First Amendment of the United States Constitution:
   “Congress shall make no law respecting an establishment of religion, or prohibiting the free exercise thereof;
   or abridging the freedom of speech, or of the press; or the right of the people peaceably to assemble, and to
   petition the government for a redress of grievances.” The First Amendment guarantees freedoms concerning
   religion, expression, assembly, and the right to petition. It forbids Congress from both promoting one religion
   over others and also restricting an individual’s religious practices. It guarantees freedom of expression by
   prohibiting Congress from restricting the press or the rights of individuals to speak freely. It also guarantees
   the right of citizens to assemble peaceably and to petition their government.
   (https://www.law.cornell.edu/constitution/first_amendment)
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        I also consulted KrisAnne Hall, J.D., Chief Counsel, Liberty First Legal, Inc., on my case, and she cited:
        8. Under Title VII of the Civil Rights Act of 1964, individuals have the right to be free from
        discrimination based on religion. Title VII prohibits two categories discrimination. It is unlawful:
                a. “(1) to fail or refuse to hire or to discharge any individual, or otherwise to discriminate against
        any individual with respect to his compensation, terms, conditions, or privileges of employment, because
        of such individual’s race, color, religion, sex, or national origin;
                b. (2) to limit, segregate, or classify his employees or applicants for employment in any way
        which would deprive or tend to deprive any individual of employment opportunities or otherwise
        adversely affect his status as an employee, because of such individual’s race, color, religion, sex, or
        national origin.” 42 U.S.C. § 2000e—2(a).
          The above quotations are for the school’s reference on the legal rights of my sincerely-held religious
belief. I also have kept and will continue being in touch with the American Civil Liberties Union of Colorado
(ACLU), The National Association for the Advancement of Colored People (NAACP), and Marie Miller, J.D.
The Institute for Justice, for more legal perspectives of my sincerely-held religious belief.
        My religious beliefs are sincerely held for decades. Legally, I cannot be required to prove a church, a
monastery or a religious leader agrees with my sincere religious beliefs, my interpretation of the Buddha’s scripture,
or my instruction from the Buddha. My beliefs are my own, sincerely and deeply held for many years. Below are
responses to the school’s claims in the email dated Aug 24, 2021, to my initial religious exemption request.
    1. From my conversation with the Deans and from the claims laid in the email sent to me by the School of
       Medicine, it was apparent that my religious beliefs were misconstrued as a personal preference. But the
       citations and laws discussed above support and recognize the existence of my sincerely held religious
       beliefs. Moreover, from the point of religion, it is expected that no government, and no employer or school,
       has the right to inform me what I should believe or that what I believe is not acceptable. My sincerely held
       religious beliefs are not meant to be judged by others or deemed unacceptable, according to the Constitution.
       As a result, it is be subject to a violation of law and considered religious discrimination if my sincerely held
       religious beliefs are judged and not treated respectfully.

    2. The School of Medicine’s claim that “The University will only accept requests for religious exemption that
       cite to the official doctrine of an organized religion, in this case, Buddhism, as announced by the leaders of
       that religion.” The doctrines of the Five Precepts were introduced in Buddhist teaching over 2500 years ago
       and they are widely recognized among Buddhists and leaders. There are certainly rooms of disagreement
       among groups or individuals under the various forms of Buddhism or any other religion, but disagreements
       do not necessarily lead to derecognition and disrespect. As underlined in the previous legal section, my
       sincerely held religious beliefs and practices are not meant to be judged by or necessarily agreed by a
       particular religious group leader. It is my own sincerely-held religious beliefs and practices of Buddhism
       and my relationship with the Buddha, which is protected by the law. Clearly, it must be illustrated that the
       school’s claim or request, that all my religious beliefs and practices must be approved by a religious leader
       in order to be recognized as religious, has the lack of support from the U.S. law on religious freedom and
       religious discrimination, and therefore has the potential of violating the law in this aspect.

    3. The School of Medicine’s request to demonstrates that my religion is opposed to all immunizations. It has
       to be acknowledged that vaccinations or immunizations were a relatively recent invention thanks to the
       advancement of science and technology. All religions, prior to the first developed vaccines for small pox
       in the 1700s, have no scriptures about blood or RNA vaccinations or immunizations, because they were
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        conceived thousands of years ago. Since then, the scriptures or doctrines are subjected to diverse, not
        necessarily mutually-agreed, interpretations, by a sincerely religious believer like me or others, which serve
        as guiding principles on one’s life.
        From the legal perspective, the requirement for an official doctrine explicitly commenting on vaccines has
        no basis in either Colorado or federal law. In contrast, most of the case law relating to this area of the law
        suggests that a sincerely held religious belief can be either theistic or a moral and/or ethical belief as to
        what is right and wrong. Both, however, are acceptable if they are sincerely held. Colorado law, specifically,
        affirms this principle by explicitly providing that a valid “nonmedical exemption” can be based upon “a
        religious belief whose teachings are opposed to immunizations or a personal belief that is opposed to
        immunizations.” C.R.S. 25-4-901(1.7). This language almost certainly precludes imposing a requirement
        of official doctrine documentation. Moreover, religions are defined by the beliefs of its constituents, not
        uniform statutory constructs. The writings of Buddha predate vaccinations. I recognize that other
        individuals who practice my religion reach different conclusions about what is/is not permissible. I can only
        define my religious beliefs. The tenants of my religion, based on my interpretation and practice, preclude
        me from receiving vaccinations. It is expected that the school’s responsibility is to determine whether my
        beliefs are sincerely held. To require an “official doctrine” discriminates against my religion. I invite the
        school to acknowledge this point. As I have shared with the school about my sincerely held religious and
        guiding principles of Buddhism in my life, I humbly ask that the school respects my religious belief and
        principles that I adopted from Buddhism.

    4. The School of Medicine claims or requests that I need to comply with other Buddhis followers at DRBU.
       The respected Dharma Master Xuan Hua, whose teaching has made an important impact on my sincerely
       held religious beliefs, have passed away in 1995. He established the City of Ten Thousand Buddha (CTTB)
       in California in the early 1960s-1980s. CTTB is a Buddhism monastery that not only welcomes Buddhists
       of all groups or individuals but also other religions including but not limited to Christianity, Judaism,
       Daoism and others. There is no enforcement from the CTTB that one has to be a particular type of Buddhist
       in order to enter, live, or practice Buddhism there. CTTB is a monastery where I frequently visited in the
       past, but it doesn’t mean that I would need to follow CTTB’s guideline, especially when I am not physically
       there. It needs to be emphasized that my own sincerely held religious beliefs and practices are not controlled
       by the CTTB, or any other monastery across the world. Also, my relationship with the Buddha and my
       sincerely held religious beliefs in Buddhism are not meant to be judged by a third party. On the other hand,
       DRBU is a registered university in California, which is required by law to follow the public health guidance.
       It has to be clearly stated that I have no public or private relationship with the DRBU. As a result, the
       guidelines DRBU is following does not apply to me. It is recommended that the school shall conduct more
       research on this matter professionally before making any claims. The school’s claim on DRBU, enforcing
       me to follow its guideline, is not grounded and lacks the support of the law.
        I invite the university and the school to review its initial claims, to make legal and thorough claims, and to
recognized and respect my sincerely held religious belief. It is not my intention to create conflict. As a sincere
Buddhist for over decades, I hope the university will value and respect my religious belief, consider my case, and
grant me an exemption for the COVID-19 vaccines so that I can continue being a medical student and become a
great physician in the future. Thank you for reading this letter and your consideration.
Sincerely,


M.D. Candidate, Class of 2025
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                                                                                Undergraduate Medical Education

                                                                                Building 500, Room E1330
                                                                                13001 East 17th Place, MS F523
                                                                                Aurora, CO 80045

  August 30, 2021

  VIA ELECTRONIC MAIL


  Re:            – Request to Reconsider Vaccine Exemption

  Dear

  This letter is in response to your letter dated August 26, 2021, in which you ask the University of
  Colorado Anschutz Medical Campus (“University”) to reconsider its decision to deny your
  religious exemption request related to the University’s mandatory COVID-19 vaccination
  requirement.

  The University adopted its COVID-19 Vaccination Policy for the purpose of protecting the health
  and safety of the campus community including the patients that medical students treat in
  University, UC Health, and Children’s Hospital clinics. The University determined that a
  mandatory vaccination requirement for its employees and students is the best way to
  accomplish this goal.

  A recent study by the Centers for Disease Control and Prevention found that individuals who
  have not been vaccinated were nearly five times more likely to be infected with COVID-19 than
  vaccinated people. In addition, the study found that unvaccinated people are about 29 times
  more likely to be hospitalized with COVID-19 than those who are fully vaccinated. 1

  The University’s mandatory vaccination policy offers exemptions to individual’s whose religious
  beliefs are opposed to all vaccinations. When asked to explain how your religious beliefs
  prevent you from receiving the COVID-19 vaccine, you responded that you had several
  objections including (1) your belief that the COVID-19 vaccines involve cell lines from human
  fetal cell cultures, (2) your belief that the vaccine may be harmful to your body, and (3) your
  belief that a mandatory vaccine requirement violates your right to free choice.

  The rationale provided does not constitute a religious belief, but a personal objection to
  receiving the vaccine. You express disagreement with the development of the vaccine,
  disbelieve the scientifically accepted view that it is harmless to most people, and express
  concern that a mandatory requirement infringes on your freedom. The basis for your objections
  are all of a personal nature and not part of a comprehensive system of religious beliefs.

  Your materials include numerous legal citations that we have discussed with our legal counsel
  and we respectfully disagree with your interpretations.

  Having reconsidered your exemption request, it is denied. You must submit documentation that
  you have received the first vaccine via the campus portal by September 1, 2021. You will be
  allowed to continue attending school between the time you receive your first vaccination and the
  time you are fully vaccinated (two weeks after you receive the second dose of the vaccine).
  Failure to submit documentation that you have received the first vaccine by September 1, 2021


         1
             Morbidity and Mortality Weekly Report, Centers for Disease Control and Prevention, August 27, 2021.


                                                                                      Exhibit 15
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  will result in a referral to the Promotions Committee for further action, up to and including
  dismissal.


  Sincerely,




  Shanta M. Zimmer, MD
  Professor of Medicine,
  Senior Associate Dean for Education,
  Associate Dean for Diversity and Inclusion
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                                                                      Undergraduate Medical Education

                                                                      Building 500, Room E1330
                                                                      13001 East 17th Place, MS F523
                                                                      Aurora, CO 80045




  September 2, 2021


  VIA ELECTRONIC MAIL

                  @cuanschutz.edu

  Re: Request to Consider Vaccine Exemption based on Religious Grounds

  Dear Mr.        :

  On December 21, 2020, the Vatican’s doctrinal office, the Congregation for the Doctrine of the
  Faith (CDF), issued a statement noting it is “morally acceptable” for Catholics to take vaccines
  against COVID-19. Among other things, the CDF stated:

  "All vaccinations recognized as clinically safe and effective can be used in good conscience with
  the certain knowledge that the use of such vaccines does not constitute formal cooperation with
  the abortion from which the cells used in production of the vaccines derive” … “the morality of
  vaccination depends not only on the duty to protect one's own health, but also on the duty to
  pursue the common good."

  "In the absence of other means to stop or even prevent the epidemic, the common good may
  recommend vaccination, especially to protect the weakest and most exposed."

  In a statement released on December 14, 2020, the United States Conference of Catholic
  Bishops (USCCB) reiterated that, given the urgency of the crisis, “the lack of available
  alternative vaccines, and the fact that the connection between an abortion that occurred
  decades ago and receiving a vaccine produced today is remote, inoculation with the new
  COVID-19 vaccines in these circumstances can be morally justified.”

  The Colorado Catholic Conference of Bishops reaffirmed in its letter dated August 5, 2021, that
  use of some COVID-19 vaccines is morally acceptable. The CCC explains that a decision not to
  receive the COVID-19 Vaccine is a personal decision based on each person’s conviction.

  The University does not accept personal beliefs as a basis for not complying with its Covid 19
  vaccination requirement.

  The University adopted its COVID-19 Vaccination Policy for the purpose of protecting the health
  and safety of the campus community including the patients that pharmacy students treat in
  University, UC Health, and Children’s Hospital clinics. The University determined that a
  mandatory vaccination requirement for its employees and students is the best way to
  accomplish this goal.

  A recent study by the Centers for Disease Control and Prevention found that individuals who
  have not been vaccinated were nearly five times more likely to be infected with COVID-19 than


                                                                               Exhibit 16
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  vaccinated people. In addition, the study found that unvaccinated people are about 29 times
  more likely to be hospitalized with COVID-19 than those who are fully vaccinated. 1

  The University’s mandatory vaccination policy offers exemptions to individual’s whose religious
  beliefs are opposed to all vaccinations. When asked to explain how your religious beliefs
  prevent you from receiving the COVID-19 vaccine, you responded that you object based on
  your belief that the COVID-19 vaccines were developed from human cell lines derived from
  abortion.

  The rationale provided does not constitute a religious belief, but a personal objection to the
  development of the vaccine. The basis for your objection is of a personal nature and not part of
  a comprehensive system of religious beliefs.

  Having considered your exemption request, it is denied.

  You must submit verifiable documentation indicating you have received the first COVID-19
  vaccine dose to the School’s Office of Student Life and submit your verification via the campus
  portal by September 6, 2021. You will be allowed to continue attending school between the
  time you receive your first vaccination and the time you are fully vaccinated (two weeks after
  you receive the second dose of the Pfizer or Moderna vaccine or the single dose of the J&J
  vaccine). For any in-person activities, you will be required to follow campus safety protocols for
  unvaccinated individuals as set out in University policy, including, but not limited to, weekly
  testing, masking, and social distancing where possible.

  Alternatively, if you do not intend to submit documentation that you have received the first
  COVID-19 vaccine dose by September 6, 2021, you may request a Leave of Absence from the
  School or withdraw from the School by September 6, 2021.

  Failure to select any of these options will result in referral to the Promotions Committee for
  further action, up to and including dismissal.




  Shanta M. Zimmer, MD
  Professor of Medicine,
  Senior Associate Dean for Education,
  Associate Dean for Diversity and Inclusion




  1
      Morbidity and Mortality Weekly Report, Centers for Disease Control and Prevention, August 27, 2021.
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                                              A national public interest law firm defending life, family and religious liberty.



                                                             September 3, 2021

Jeremy Hueth                                               Shanta M. Zimmer, MD
Vice President and University Counsel                      Professor of Medicine
1800 Grant Street, Suite 800                               Senior Associate Dean for Education
Denver, CO 80203                                           Associate Dean for Diversity and Inclusion
Jeremy.hueth@cu.edu                                        shanta.zimmer@cuanschutz.edu
Sent via email                                             Sent via email

Steve Zweck-Bronner
Anschutz Medical Campus Counsel
Building 500, Room W5150
13001 E. 17th Place
Aurora, CO 80045
Steve.Zweck-Bronner@ucdenver.edu
Sent via email

Dear Messrs. Hueth & Zweck-Bronner & Dr. Zimmer:

        My name is Peter Breen, and I am Vice President and Senior Counsel for the Thomas More
Society. We are a non-profit, public interest law firm that has defended the rights of individuals and
organizations across the country for the past 25 years, including in Colorado. As relevant here, we
represent                   , a fourth-year medical student at the University of Colorado’s School of
Medicine (“the University”), after Mr.           was denied a religious exemption from the University’s
COVID-19 vaccine mandate (“the mandate”). That denial was based on the University’s illegitimate
reliance on Mr.         ’s supposed misunderstanding of his own Catholic faith, and despite the fact that
an ordained Catholic priest at Mr.          ’s parish signed Mr.       ’s exemption form. This is a direct
violation of the First Amendment.

        This letter is to request that the University immediately re-evaluate Mr.      ’s request for a
religious accommodation based on his asserted religious beliefs, not the University’s (flawed)
understanding of the teachings of the Catholic Church, before September 7, 2021, the day Mr.            has
been instructed to confirm receipt of the first dose of a COVID-19 vaccine.1 Otherwise, on behalf of Mr.
       , the Thomas More Society will timely move for a Temporary Restraining Order and Preliminary
Injunction in federal court against the University’s illegitimate denial of Mr.     ’s request for
religious exemption, and seek corresponding attorneys’ fees, costs, and damages as appropriate. A
government-run university has no business telling a believer what his personal religious belief should be.
And here, the University has grossly misrepresented Catholic teaching on COVID-19 vaccines.

        Mr.           is an exemplary student at the University’s medical school.


But when Mr.           submitted a request for religious accommodation from the University’s COVID-19
vaccine mandate on September 1, 2021, the University denied his request because Mr.            ’s beliefs
were allegedly “personal,” not religious, given the University’s flawed evaluation of Catholic Church
teaching and its corresponding erroneous conclusion that a Catholic cannot object to COVID-19 vaccines

1
 Mr.         has been informed that a “Promotions Committee” will meet on September 15, to decide the sanctions the school
will impose on him, because he has exercised his right to a religious exemption.

                                                                                                Exhibit 17
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on religious grounds.

        Mr.          ’s request for religious exemption (see Exhibit A) relied on several distinct religious
objections to the currently available COVID-19 vaccines. Primarily, Mr.              said he objected because
the vaccines were “created using aborted human fetuses,” in violation of “Catholic teaching maintain[ing]
that human life is sacred because we are made in the image of God.” (Id.) Indeed, it is inarguable that
during the course of their development, the currently available COVID-19 vaccines either used or were
tested on abortion-derived human fetal cell lines. See https://lozierinstitute.org/update-covid-19-vaccine-
candidates-and-abortion-derived-cell-lines/. Mr.            “acknowledged that there is debate within
different sects of the Catholic Church regarding this issue as it relates to medical research,” but that for
his Catholic beliefs, receiving a vaccine that relied on abortion-derived fetal cell lines in its development
“corroborates the false narrative that no other way might be found by which these advances could occur,
distorts our understanding of the sacridity of human life, and implicates those who reap the benefits of
this research in that initial, deplorable act, which deprived a human being of his or her right to life.” (Id.)

         Mr.        ’s position is consistent with a recent unanimous statement of the Colorado Catholic
bishops, who declared that “[t]here is a moral duty to refuse the use of medical products, including certain
vaccines, that are created using human cell lines derived from abortion,” while noting “it is permissible to
use such vaccines only under case-specific conditions—if there are no other alternatives available and the
intent is to preserve life.” A letter from the bishops of Colorado on COVID-19 vaccine mandates,
Colorado Catholic Conference, August 6, 2021, https://denvercatholic.org/a-letter-from-the-bishops-of-
colorado-on-covid-19-vaccine-mandates/. The bishops further noted that “[v]accination is not morally
obligatory and so must be voluntary.” (Id.)

        Additionally, Mr.          stated that the currently available COVID-19 vaccines’ unique
“mechanism of action” never before exercised at a large scale against a disease violates his “Catholic . . .
responsibility to make conscientious decisions regarding the use and care of my body,” given the lack of
current understanding of the vaccines’ long-term effects. (Id.) Thus, Mr.        said he believes “the
marginal benefit that is offered is not worth the potential risk.” (Id.)

       Once again, Mr.         ’s position was consistent with the Colorado Catholic bishops’ recent
statement, which also declared that “[a] person’s assessment of whether the benefits of a medical
intervention outweigh the undesirable side-effects are to be respected unless they contradict authoritative
Catholic moral teachings.” Colorado Bishops’ Letter, supra. The bishops further stated that “[t]he
Catholic Church teaches that a person may refuse a medical intervention, including vaccination, if his or
her conscience leads them to that decision.” (Id.)2

       Finally, in response to the University’s religious exemption questionnaire, Mr.          stated that
although he has received vaccinations in the past (presumably some of which were connected to
abortion), he previously “did not hold these firmly held beliefs,” and the long-term effects of COVID-19
vaccines are uniquely unknown. (Exhibit A.)

       In all, Mr.      ’s request for religious accommodation was consistent with the aforementioned
statement of the Colorado bishops, who stated: “Taken as a whole, these points mean a Catholic may

2
 Mr.         additionally stated that he sought a religious exemption because of his conscientious objection “to the use of
vaccinations as a form of social licensure” in order to participate fully in society, (Exhibit A), though this ground was
manifestly separate and independent from his other bases of religious objection (id.).

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judge it right or wrong to receive certain vaccines for a variety of reasons, and there is no Church law or
rule that obligates a Catholic to receive a vaccine – including COVID-19 vaccines.” Colorado Bishops’
Letter, supra.

        The University had a different idea. In particular, the University’s letter denying Mr.       ’s
request began by immediately quoting “the Vatican’s doctrinal office, the Congregation for the Doctrine
of the Faith,” which “issued a statement noting it is ‘morally acceptable’ for Catholics to take vaccines
against COVID-19.” (Letter, Exhibit B.) The University’s letter went on to quote statements by the
Vatican, the United States Conference of Catholic Bishops, and the aforementioned letter of the Colorado
Catholic bishops providing that it may be morally acceptable to receive some of the available COVID-19
vaccines. (Id.) The University’s letter then manifestly misinterpreted the aforementioned Colorado
bishops’ statement by declaring that said bishops “reaffirmed in [their] letter dated August 5, 2021 [sic],
that use of some COVID-19 vaccines is morally acceptable,” (id.), notwithstanding the Colorado bishops’
actual statement that individual Catholics may come to the conclusion that receiving abortion-connected
COVID vaccines is not morally acceptable. Colorado Bishops’ Letter, supra.

        The University’s letter then concluded that because Mr.              ’s religious objection is “based on
[his] belief that the COVID-19 vaccines were developed from human cell lines derived from abortion,”
his “rationale . . . does not constitute a religious belief, but a personal objection to the development of the
vaccine.” (Letter, Exhibit B.) Although the University’s letter stated that its “mandatory vaccination
policy offers exemptions to individuals whose religious beliefs are opposed to all vaccinations,” it told
Mr.           that “[t]he basis of your objection is of a personal nature and not part of a comprehensive
system of religious beliefs,” and therefore his request was denied. (Id.)

        The University’s willingness to provide religious exemptions to the COVID-19 vaccine mandate
on some asserted religious grounds, but not others, based on the University’s flawed understanding of a
religious objector’s theology, is a flagrant violation of the First Amendment. The U.S. Supreme Court has
plainly held that “we reject the notion that to claim the protection of the Free Exercise Clause, one must
be responding to the commands of a particular religious organization.” Frazee v. Illinois Dep’t of Emp.
Sec., 489 U.S. 829, 834, 109 S. Ct. 1514, 1517–18, 103 L. Ed. 2d 914 (1989) (emphasis added); see also
Thomas v. Rev. Bd. Of Indiana Emp. Sec. div., 450 U.S. 707, 714 (1981) (“[R]eligious beliefs need not be
acceptable, logical, consistent, or comprehensible to others in order to merit First Amendment
protection.”). In other words, the University’s denial of Mr.         ’s request for religious exemption
based on its understanding of the institutional Catholic Church’s teachings in this regard, and not on Mr.
       ’s own asserted religious beliefs, was wholly illegitimate and unconstitutional. And unsurprisingly,
it was also embarrassingly flawed—the very reason the First Amendment limits government institutions
from attempting such inquiries in the first place.

        Given the University’s willingness to offer religious exemptions for some religious reasons, but
not others, its vaccine mandate easily fails the test of neutrality required of government toward religion
under Employment Division v. Smith, 494 U.S. 872 (1990). And in view of the University’s willingness to
offer exemptions for various reasons (including religious and medical), but not for Mr.           ’s religious
reasons (including on the basis of the vaccines’ connection to abortion), the mandate also easily fails the
separate and independent test of general applicability under Smith. See Fulton v. City of Philadelphia, 141
S. Ct. 1868, 1877 (2021) (stating that a law lacks general applicability when it prohibits religious conduct
while allowing other conduct “that undermines the government’s asserted interests in a similar way”).

        Therefore, we request an immediate re-evaluation of Mr.             ’s request for religious

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Mr. Jeremy Hueth, et al.                              4                                       September 3, 2021

accommodation from the University COVID-19 vaccination mandate within the required parameters of
the First Amendment. Given the University’s admission that it is indeed offering religious exemptions
from the mandate, we will continue to closely monitor its evaluation of Mr.        ’s request. If the
University does not engage in such re-revaluation, we will timely pursue Mr.         ’s remedies in federal
court pursuant to 42 U.S.C. § 1983 and seek corresponding attorneys’ fees.

        Please respond to this request by noon on September 7. In the alternative, if the University needs
more time to evaluate our position, and is willing to extend its own deadlines for action against Mr.
       , please contact me directly. In the meantime, it is our understanding that no adverse action will be
taken against Mr.         until at least September 15, 2021. If that is not the case, please let me know
immediately. Thank you for your time and attention.

                                                      Very truly yours,



                                                      Peter Breen
                                                      THOMAS MORE SOCIETY
                                                      One of the attorneys for Mr.

Enclosures

cc:   Theresa Lynn Sidebotham              Paul M. Jonna                    Michael McHale
      Telios Law PLLC                      LiMandri & Jonna LLP             Thomas More Society
      19925 Monument Hill Road             P.O. Box 9120                    10506 Burt Circle, Suite 110
      Monument, CO 80132 (physical)        Rancho Santa Fe, CA 92067        Omaha, Nebraska 68114
      P.O. Box 3488                        Tel: (858) 759-9930              402-501-8586 (direct)
      Monument, CO 80132 (mailing)         Attorney for Mr.                 Attorney for Mr.
      (855) 748-4201
      Attorney for Mr.




         309 W. Washington Street | Suite 1250 | Chicago, IL 60606 | P: 312.782.1680 | F: 312.782.1887
                                               ThomasMoreSociety.org
                   “Injustice anywhere is a threat to justice everywhere.” - Dr. Martin Luther King
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                                                                                                                                                                 EXHIBIT A
                        University of Colorado
                        Denver I Anschutz Medical Campus

                 Religious Exemption From COVID-19 Vaccination Requirement
All University of Colorado Anschutz Medical Campus     students are required to be immunized againSt
                       ·    · · · ·               ·                                                      1,
COVID-19 prior to their partIcIpatIon in courses in t he F a II o· f 2021, which may be as early as June
                                       ·      · ·                                                         e
2021. However the University recognizes rel1g1ous exemptions based upon a religious belief whos
teachings are o�posed to immunizations. Under that circumstance, the University requires that
students submit this religious exemption form.


1.     Please explain why your sincerely held religious belief, practice, or observance prevents you
from getting a COVID-19 vaccination? Please include a detailed response.

The vaccine was created using aborted human fetuses. Catholic teaching maintains that human life is sacred because we are made in the image
                                                                                                                                                           of God. It also teaches that life begins
at conception, and that abortion is a mortal sin. A mortal sin is the gravest of transgressions within the Catholic faith. I acknowtedge that there
                                                                                                                                                         is debate within different sects of the Catholic
Church regarding this issue as it relates to medical research. Some justify research purposes that utilize aborted fetal tissue, using a cost-benefit
                                                                                                                                                           analysis. They state that the good that can
be derived from a broadly applicable medical advancement using what would otherwise be disregarded human tissue is a net positive that
                                                                                                                                                      justifies the use of these cells for that cause. In
response to this, I would argue that use of this tissue corroborates the false narrative that no other way might be found by which these advances
                                                                                                                                                            could occur, distorts our understanding of
the sacridity of human life, and implicates those who reap the benefits of this research in that initial, deplorable act, which deprived a human
                                                                                                                                                       being of his or her right to life.
As a Catholic, it is also my responsibility to make conscientious decisions regarding the use and care of my body. The vaccines provided against
                                                                                                                                                          COVI0-19 function by a mechanism of action
that has not previously been deployed at large scale against disease. It is impossible to understand or to know what the long-term effects
                                                                                                                                                  of these novel therapeutics will be, and on these
grounds, I do not feel that the marginal benefit that is offered is worth the potential risk.
Lastly, vaccination status is being used as leverage against individual liberty by gatekeeping participation in free society. I wish to file this religious
                                                                                                                                                              exemption, in part, to conscientiously
object to the use of vaccinations as a form of social licens.ure by which conformation to public policy--even public health policy--is unjustly used
                                                                                                                                                            against the ability of an individual to function
 and to succeed in their society.

 2.             Have you had an influenza or other vaccine in the past? How does this differ?

I have. This differs in two substantial ways. The first is personal. I did not hold these firmly held beliefs prior and will be seeking an exemption for the flu shot this year as well. Secondly, the flu
shot is not a new treatment modality. It is a vaccine that functions by the same mechanisms as all vaccines have functioned previously. It does not rely on new technology and recent
breakthroughs in biochemistry to function. The shot itself, as well as the mechanism by which it works have been tried and tested f or decades. This vaccine has not. The long-term effects of
the flu vaccine are known. The long-term effects of this vaccine cannot be known without further time.




8 si ning below, 1 acknowledge that although a religious exemption from the required COVID-19
v:cc�nation is recognized by CU Anschutz as the student's right, the clinical, lab, practica, and internship
sites that partner with CU Anschutz,                                                   or rescind a
student's clinical placement if that pa                                               tion or does not allow
unvaccinated individuals on their pre

   Student Name: _______                                                                                                                                    _____ __


   Statement of Exemption
   1 am hereby claim ing
                         a religious exemption from vaccination against COVID-19 as indicated abo ve.

   1 attest that the information I have provided on this form is complete and accurate.
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           09/01/2021
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                                                                                 Exhibit B
                                     240

                                                                      Undergraduate Medical Education

                                                                      Building 500, Room E1330
                                                                      13001 East 17th Place, MS F523
                                                                      Aurora, CO 80045




  September 2, 2021


  VIA ELECTRONIC MAIL

                  @cuanschutz.edu

  Re: Request to Consider Vaccine Exemption based on Religious Grounds

  Dear Mr.        :

  On December 21, 2020, the Vatican’s doctrinal office, the Congregation for the Doctrine of the
  Faith (CDF), issued a statement noting it is “morally acceptable” for Catholics to take vaccines
  against COVID-19. Among other things, the CDF stated:

  "All vaccinations recognized as clinically safe and effective can be used in good conscience with
  the certain knowledge that the use of such vaccines does not constitute formal cooperation with
  the abortion from which the cells used in production of the vaccines derive” … “the morality of
  vaccination depends not only on the duty to protect one's own health, but also on the duty to
  pursue the common good."

  "In the absence of other means to stop or even prevent the epidemic, the common good may
  recommend vaccination, especially to protect the weakest and most exposed."

  In a statement released on December 14, 2020, the United States Conference of Catholic
  Bishops (USCCB) reiterated that, given the urgency of the crisis, “the lack of available
  alternative vaccines, and the fact that the connection between an abortion that occurred
  decades ago and receiving a vaccine produced today is remote, inoculation with the new
  COVID-19 vaccines in these circumstances can be morally justified.”

  The Colorado Catholic Conference of Bishops reaffirmed in its letter dated August 5, 2021, that
  use of some COVID-19 vaccines is morally acceptable. The CCC explains that a decision not to
  receive the COVID-19 Vaccine is a personal decision based on each person’s conviction.

  The University does not accept personal beliefs as a basis for not complying with its Covid 19
  vaccination requirement.

  The University adopted its COVID-19 Vaccination Policy for the purpose of protecting the health
  and safety of the campus community including the patients that pharmacy students treat in
  University, UC Health, and Children’s Hospital clinics. The University determined that a
  mandatory vaccination requirement for its employees and students is the best way to
  accomplish this goal.

  A recent study by the Centers for Disease Control and Prevention found that individuals who
  have not been vaccinated were nearly five times more likely to be infected with COVID-19 than
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                                                                                                            P a g e |2




  vaccinated people. In addition, the study found that unvaccinated people are about 29 times
  more likely to be hospitalized with COVID-19 than those who are fully vaccinated. 1

  The University’s mandatory vaccination policy offers exemptions to individual’s whose religious
  beliefs are opposed to all vaccinations. When asked to explain how your religious beliefs
  prevent you from receiving the COVID-19 vaccine, you responded that you object based on
  your belief that the COVID-19 vaccines were developed from human cell lines derived from
  abortion.

  The rationale provided does not constitute a religious belief, but a personal objection to the
  development of the vaccine. The basis for your objection is of a personal nature and not part of
  a comprehensive system of religious beliefs.

  Having considered your exemption request, it is denied.

  You must submit verifiable documentation indicating you have received the first COVID-19
  vaccine dose to the School’s Office of Student Life and submit your verification via the campus
  portal by September 6, 2021. You will be allowed to continue attending school between the
  time you receive your first vaccination and the time you are fully vaccinated (two weeks after
  you receive the second dose of the Pfizer or Moderna vaccine or the single dose of the J&J
  vaccine). For any in-person activities, you will be required to follow campus safety protocols for
  unvaccinated individuals as set out in University policy, including, but not limited to, weekly
  testing, masking, and social distancing where possible.

  Alternatively, if you do not intend to submit documentation that you have received the first
  COVID-19 vaccine dose by September 6, 2021, you may request a Leave of Absence from the
  School or withdraw from the School by September 6, 2021.

  Failure to select any of these options will result in referral to the Promotions Committee for
  further action, up to and including dismissal.




  Shanta M. Zimmer, MD
  Professor of Medicine,
  Senior Associate Dean for Education,
  Associate Dean for Diversity and Inclusion




  1
      Morbidity and Mortality Weekly Report, Centers for Disease Control and Prevention, August 27, 2021.
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9/28/21, 6:23 AM                                             240Request for Reconsideration of Denial of Religious Exemption
                              Thomas More Society Mail - Immediate



                                                                                                         Peter Breen <pbreen@thomasmoresociety.org>



  Immediate Request for Reconsideration of Denial of Religious Exemption
  Spiering, Kimberly <KIMBERLY.SPIERING@ucdenver.edu>                                    Tue, Sep 7, 2021 at 12:06 PM
  To: "Zimmer, Shanta" <SHANTA.ZIMMER@cuanschutz.edu>, Peter Breen <pbreen@thomasmoresociety.org>, "Hueth,
  Jeremy" <JEREMY.HUETH@cu.edu>, "Zweck-Bronner, Steve" <STEVE.ZWECK-BRONNER@ucdenver.edu>
  Cc: Theresa Lynn Sidebotham <tls@telioslaw.com>, Paul Jonna <PJonna@limandri.com>, Michael McHale
  <mmchale@thomasmoresociety.org>


    Dear Peter,



    Please be advised that Mr.                ’s medical exemption request has been approved and he will not be referred
    to the School of Medicine’s Promotions Committee on September 15, 2021. He will be notified of this decision by the
    School of Medicine shortly.



    Please let me know if you have any questions.



    Best regards,



    Kimberly C. Spiering (Pronouns: she/her/hers)

    Senior Associate University Counsel

    University of Colorado

    Office of University Counsel - Denver│Anschutz Medical Campus

    t 303.724.9283

    f 303.724.4738

    kimberly.spiering@ucdenver.edu




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    delete the original transmission and its attachments without reading or saving in any manner. Thank you.

    [Quoted text hidden]




                                                                                                                                      Exhibit 18
https://mail.google.com/mail/u/1?ik=f1cc1a5ad9&view=pt&search=all&permmsgid=msg-f%3A1710263501748151719&simpl=msg-f%3A1710263501748151719                                     1/1
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  From: A Message From Dr David Brumbaugh
  <MessagefromDrDavidBrumbaugh@childrenscolorado.org>
  Sent: Monday, September 20, 2021 1:59 PM
  Subject: ACTION NEEDED: COVID-19 Vaccine Requirement


  To: All Children’s Colorado team members

  Dear team,

  On Sept. 1, we announced the process for team members to submit documentation for their approved
  COVID-19 vaccination series in order to comply with Children’s Colorado’s vaccination requirement
  deadline of Oct. 1, 2021. In that message we also shared that the Colorado State Board of Health issued
  an emergency rule on Aug. 30, 2021, requiring all licensed healthcare facilities to ensure their eligible
  employees, direct contractors and support staff “obtain full COVID-19 vaccination status by Oct. 31.”

  Currently, we are showing you as “Non-Compliant” with this requirement.

  Your action is required
   Children’s Colorado employees
   If you received your complete COVID-19 vaccine series at a Childrens’ mass vaccination clinic your
   compliance is complete and no action is required. You may disregard the rest of this email.

   If you received your complete COVID-19 vaccine series outside of Children’s Colorado,
   you must submit your proof of vaccination using the following link by Oct. 1, 2021.

   Children’s Colorado partners (e.g. non-CU medical staff, contractors, vendors, etc.)
   If you received your complete COVID-19 vaccine series at any location (Children’s Colorado or non-
   Children's Colorado clinic), you must complete your requirement using the following link by Oct. 1,
   2021.

   All CU affiliated partners (e.g. faculty, residents, administrative staff, students, etc.)
   If you received your complete COVID-19 vaccine series at any location (Children’s Colorado or non-
   Children's Colorado clinic), you must complete your requirement using the following link by Oct. 1,
   2021.

   Team members who previously submitted proof of vaccination through CU School of Medicine must
   complete their requirement through Children’s Colorado using the above link. However, if you
   have already received an approved medical or religious exemption through the CU School of
   Medicine you do not need to take further action.

   Requesting an exemption (applies to all of the above categories except CU affiliated partners)
   Submit an exemption request (medical or religious) by Oct. 1, 2021. The process, which requires use
   of a mandatory form, is described below.

   If you intend to request a medical or religious exemption, you must submit an exemption request by
   Oct. 1. Details regarding this process, including a mandatory form, are described below.


                                                                                   Exhibit 19
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   A table summarizing these requirements appears at the bottom of this email. If you have already
   completed the above steps, no further action is required. If you are a volunteer, you may disregard
   this communication and follow the previously communicated process for volunteers.



  How to request medical and religious exemptions
  Over the past week and a half, we have worked closely with the State Board to understand how to
  properly adhere to their mandate as we develop processes and plans for team members
  seeking exemptions to receiving the COVID vaccine.

  The State Board does not provide latitude for organizations to define medical or religious exemptions.
  The board is currently planning to issue their final rule Oct. 21, 2021. We will be monitoring any relevant
  and substantive changes over the next month. In the meantime, Children’s Colorado will allow team
  members seeking medical or religious exemptions to defer receipt of their first dose of the COVID-19
  vaccine until Oct. 21. After that date, we will review all requests for medical and/or religious exemption
  and notify the team member as to the decision on if an exemption is or is not granted.

  All team members who intend to seek a medical exemption or religious exemption must complete and
  submit their signed exemption form — linked below — and submit it via the instructions described on
  the form by Oct. 1, 2021, and will be required to follow PPE and-19 COVID PCR testing
  processes previously announced by Children’s Colorado. Details of this testing process will follow at a
  later date.

  Please note that the language regarding the vaccine mandate and medical and religious exemptions
  remains to be finalized by the State Board by Oct. 21, 2021. Team members who wish to request a
  medical or religious exemption should complete and submit the appropriate form as soon as possible
  and no later than Oct. 1. Please bear in mind that the submission of a request does not guarantee
  approval; however, your timely submission will enable Children’s Colorado to review your request as
  quickly as possible. Children’s Colorado will review all requests for exemptions, and will
  begin notifying team members of the decision to grant or not grant an exemption no earlier than Oct.
  21, 2021.

   Those seeking a medical exemption will be required to submit their request via the following form:

   A medical exemption must be signed by a physician, physician assistant, advanced practice nurse, or
   certified nurse midwife licensed in Colorado that a team member is medically contraindicated as
   described in the product labeling approved OR authorized by the FDA.

   Please have your medical provider sign this form, then follow the instructions on the form to
   complete your submission.


   The due date for submitting a request for medical exemption is Oct. 1, 2021.

   🗎 Download the official form for medical exemption requests >>
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   Those seeking a religious exemption will be required to submit their request via the following form:

   The State’s ruling requires documentation of religious exemptions, as defined
   by an organization’s facility policy. In accordance with this requirement, Children’s Colorado’s
   evaluation of religious exemptions will include Legal, Human Resources and Occupational Health
   review. Fill out the form, then follow the instructions on the form to complete your submission.

   The due date for submitting a request for religious exemption is Oct. 1, 2021.

   🗎 Download the official form for religious exemption requests >>

  Summary table (Published Sept. 16, 2021)
          Children’s Employee             Children’s Partners – Non-CU Medical        Anschutz Campus Colorado
                                             Staff, Contractors and Vendors         University Partners and Affiliates
                    If you received                          If you received                      If you received
          your complete COVID vaccine               your complete COVID                   your complete COVID
          series at a Childrens’ mass               vaccine series at Children’s          vaccine series at Children’s
          vaccination clinic your                   mass vaccination clinic your          mass vaccination clinic your
          compliance is complete and                proof of vaccination can be           proof of vaccination can be
          no action is required.                    completed in two ways:                submitted in two ways:
                    If you did not                 1. Grant release of COVID             1. Grant release of COVID
          receive your COVID vaccine                record via REDCap form, OR            record via REDCap form, OR
          series at a Children’s mass               2. Submit proof of                    2. Submit proof of
          vaccination clinic, you must:             vaccination by October 1st.           vaccination by October 1st.
          1. Submit proof of
          vaccination (if you have                            If you did not                       If you did not
          already completed this step               receive your COVID vaccine            receive your COVID vaccine
          no further action is required),           series at a Children’s mass           series at a Children’s mass
          OR                                        vaccination clinic, you must:         vaccination clinic, you must:
          2. Become vaccinated by                   1. Submit proof of                    1. Submit proof of
          October 1st and submit proof              vaccination (if you have              vaccination (if you have
          of vaccination, OR                        already completed this step           already completed this step
          3. Submit an exemption                    no further action is                  no further action is
          request (medical or religious)            required), OR                         required), OR
          by October 1st.                           2. Become vaccinated by               2. Become vaccinated by
                                                    October 1st and submit proof          October 1st and submit proof
                                                    of vaccination, OR                    of vaccination.
                                                    3. Submit an exemption
                                                    request (medical or                             Medical and
                                                    religious) by October 1st.            religious exemptions
                                                                                          approved through the
                                                                                          University of Colorado will
                                                                                          be accepted at CHCO. If you
                                                                                          received an exemption
                                                                                          through CU no action is
                                                                                          required. The Occupational
                                                                                          Health records will be
                                                                                          coordinated through the
                                                                                          two institutions.
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  Applies to all Children’s employees    Applies to all contractors, vendors     Applies to all faculty, fellows,
                                         and other partners who have an          residents, students, administrative
                                         active CHCO badge for any               leaders affiliated with any CU
                                         campus. Examples include:               Anschutz campus partner (Medical
                                                            Non-CU Medical School, Dental School, School of
                                                  Staff                          Nursing, etc.)
                                                            Hospital Shared
                                                  Services
                                                            Crothall
                                                            Clinical Vendors
                                                            Medical
                                                  Interpreters
                                                            Maintenance and
                                                  Construction Contractors
                                                            Other
                                                  Independent Contractors
  Note: Exemption requests will not be reviewed until after the final State
  Board of Health Ruling on October 21st. No vaccination is required until after
  this date for those requesting an exemption.

  Thank you for your ongoing patience, grace and attention as we continue to navigate this process. If you
  have questions about the vaccine requirement, the documentation process or others not answered in
  this message, please visit The Loop for FAQs. If you do not find the answer you’re looking for, submit
  your question via The Loop.

  Sincerely,
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                                                           Exhibit 20
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          July 27, 2021                                                    VHA DIRECTIVE 1193(1)
                                                                                     Appendix B

          x I notified my immediate supervisor in writing that I have a deeply held religious
          belief that prevents me from receiving the COVID-19 vaccine. I understand that by
          declining to receive the vaccine within eight weeks of publication of this directive, or
          within eight weeks of beginning employment, I must wear a face mask according to
          requirements and guidelines within VHA Directive 1193, Coronavirus Disease 2019
          Vaccination Program for Title 38 Health Care Personnel.



          Supervisor Signature
                                                 O

                                                                   111M11011
                                                                   Supervisor Email


          I have read and fully understand the information on this form and have been given the
          opportunity to have my questions answered. I understand that violation of the directive
          may result in disciplinary action up to and including removal from Federal service.

         Name (print):                                              Last 4 SS#

         DeptiServ:      C      ( if [A

         Employee Signature:                                             Date:         6,6 t

            VHA Title 38 HCP are to provide this form to the VHA facility Employee
         °CCU tionaftlealth Office„ Secure electronic submission is permissible.


            7) O n c e a VHA employee checks the box and completes the exemption form, he or

     she is automatically exempted from the mandatory vaccination policy, and permitted to continue

     in the same job function, with the same duties and responsibilities. The only requirement (or

     accommodation) for exempt employees is that they must wear a face mask according to

     requirements and guidelines within VITA Directive 1193, as stated on the exemption form above.

            8) O n August 13, 2021, 1 submitted the above exemption form.

            9) O n August 16, 2021, my exemption was formally acknowledged.

            10) W i t h my religious exemption in place, and with the face mask accommodation, I

    am permitted to carry out my duties and responsibilities to the same extent as always. I interact
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     and counsel patients, both inpatients and outpatients, both with COVID and without COVID, in

     the entire hospital in Augusta, as well as other facilities. I interact and counsel with other healthcare

     workers routinely as well.

             11) A s part of my counseling of other healthcare employees within the VA Maine

     Healthcare System, I became personally aware of more than 100 other employees with sincerely

     held religious convictions that prohibit them from accepting vaccinations. These employees

     requested and obtained religious exemptions from the mandatory COVID-19 vaccination

     requirement using the same form and procedure that I did. These employees are permitted to

     continue their duties and responsibilities, including direct patient care, to the same extent that they

     did previously, subject to the masking accommodation described above.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021
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   of their religious beliefs, and supervisors are not required to "approve" those beliefs. Here is a true

   and accurate copy of the VHA exemption form:

    n D e p a r t m e n t of Veterans Affairs                                            COVID-19 VACCINATION
      DATE WA I D D 1 T M :    )8/04/2021

      I am a VHA I X I Employee         I       Other - please indicate:


      CHECK ONE STATEMENT BELOW AND COMPLETE AND SIGN THE LAST SECTION OF THIS FORM PRIOR TO
      SUBMISSION TO EMPLOYEE OCCUPATIONAL HEALTH.

      I I i received the full COVID-19 vaccine series (any required documentation is attached).
          I have been granted a medical exemption from receiving the COVID-19 vaccine
          I have a contraindication for the COVID-19 vaccine as defined by Centers for Disease Control and Prevention (CDC). The
          reasons for contraindication must be recognized contraindications and precautions by the CDC. found here.
          https://vmv.cdc,govivaccines/covid-19(Clinical-considetationsfcovid-19-vaccines-us.html?CDC A A retVal-=littps%3A%2F'Yi
          2Fwww.cdc.00v%2Fvaccines%2Fcovid-19%2Finfo-bv-product%2Fclinical-considerations.htrnl, located under Interim Clinical
          Considerations for Use or Vaccine Indications This has been discussed and acknowledged by my personal physician I
          understand that by declining to receive the vaccine within eight weeks of publication of this directive. or within eight weeks of
          beginning employment, I must wear a face mask according to requirements and guidelines within VHA Directive 1193.
          COVID-19 Vaccination Program for VHA Employees and Health Care Personnel


          Printed Physician Name and Address
          Mir




          Physician Signature                                           Date clf.11 DD M T , N a t i o n a l Provider Identification Number
          Istai




          Supervisor Signature                                          Date L i f t t L i D I T Y t i S u p e r v i s o r Email

           notified my immediate supervisor in writing that I have a deeply held religious belief that prevents me from receiving the
          COVID-19 vaccine
          I understand that by declining to receive the vaccine ..rithin eight weeks of publication of this directive, or within eight weeks
          of beginning employment. I must hear a face mask according to requirements and guidelines within VHA Directive 1193.
          COVID-19 Vaccmatror Program for I/HA Employees and Health Care Personnel




          Supervisor Signature              D       a       t       e          /3/M n n YITTi S u p e r v i s o r Email


      I have read and fully understand the information on this form and have been given the opportunity to have my questions
      answered. I understand that violation of the directive may result in disciplinary action up to and including removal from Federal
      service

      Name iprintj                  L                           a                    s                       t                     4 SS#

      Dept /Seri                                                                                           Date a f / DD/ITY1). 0 8 / 0 4 / 2 0 2 1


      Employee Signature


      VHA Title 3BHCP are to provide this form to the VHA facility Employee Occupational Health Office. Secure electronic
      submission is permissible.
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          7) O n c e a VHA employee checks the box and completes the exemption form, he or

   she is automatically exempted from the mandatory vaccination policy, and permitted to continue

   in the same job function, with the same duties and responsibilities. The only requirement (or

   accommodation) for exempt employees is that they must wear a face mask according to

   requirements and guidelines within VHA Directive 1193. as stated on the exemption form above.

           8) O n August 13. 2021. I submitted the above exemption form.

                  On the same date, my exemption was formally acknowledged.

           10) M y exemption and accommodation permit me to continue all of my previous duties

   and responsibilities, including working on-site, interacting with colleagues, and providing quality

   and safe care to my patients. As part of my accommodation, I am required to use a mask, as stated

   in the exemption form. My individual facility is also requiring twice weekly testing for COVID-

   19 for those exempted healthcare workers such as myself who have to work in ihe long term care

   unit. I comply with all of these requirements.
                                                                •
           I 1) U n t i l recently. I was also working as a per diem nurse at Eastport Memorial Nursing

   Home, in Eastport, Maine. I requested a religious exemption there as well. I was told that even

   though my employer winded to provide me with an exemption, it could not do so because the State

   of Maine had abolished religious exemptions for healthcare workers. My employment there was

   terminated as a result.

          Pursuant to 28     §     1746, I declare under penalty of perjury that the foregoing is true

   and correct.

          Dated: September 16, 2021
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                                                           EMPLOYEE WITNESS # 3
                                DECLARATION OF

           I,                      , declare as follows:

           1)      I am over the age of 18, and competent to testify as follows, based upon my personal

    knowledge.

           2)      I am employed as a chemotherapy nurse at the Veterans Affairs (“VA”) Medical

    Center in Portland, Oregon. My hospital is part of the Veterans Health Administration (“VHA”).

           3)      The VHA is the largest integrated health care system in the United States,

    employing more than 367,200 full time health care professionals and support staff, who deliver

    healthcare services to over 9 million veterans at 1,293 healthcare facilities throughout the United

    States. (See https://www.va.gov/health/aboutvha.asp).

           4)      In Oregon, the VA Portland Healthcare System serves over 95,000 veterans at more

    than a dozen facilities throughout the state. (See https://www.portland.va.gov/about/index.asp).

           5)      The VHA permits and freely grants exemptions and accommodations to healthcare

    employees with sincerely held religious objections to mandatory vaccinations, including COVID-

    19 vaccination.

           6)      The VHA form for requesting and obtaining a religious exemption and

    accommodation from its mandatory COVID-19 vaccination policy is very simple, and requires

    employees only to check a box indicating that they have a deeply held religious belief that prevents

    them from receiving the COVID-19 vaccine, and that they have notified their immediate

    supervisor in writing of that belief. Employees are not required or expected to explain the nature

    of their religious beliefs, and supervisors are not required to “approve” those beliefs. Here is a true

    and accurate copy of the VHA exemption form:
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                                     240




      July 27, 2021               V              H              A               DIRECTIVE 1193

                                                                                     Appendix B



      E l I notified my immediate supervisor in writing that I have a deeply held religious
      belief that prevents me from receiving the COVID-19 vaccine. I understand that by
      declining to receive the vaccine within eight weeks of publication of this directive, or
      within eight weeks of beginning employment, I must wear a face mask according to
      requirements and guidelines within VHA Directive 1193, Coronavirus Disease 2019
      Vaccination Program for Title 38 Health Care Personnel.


                                          07/28/2021
      Supervisor Signature               Date S u p e r v i s o r Email


      I have read and fully understand the information on this form and have been given the
      opportunity to have my questions answered. I understand that violation of the directive
      may result in disciplinary action up to and including removal from Federal service.

      Name (print):                                             Last 4 SS#

      Dept./Serv: Chemo Clinic
      Employee Signature:                                           Date: 07/28/2021

        VHA Title 38 HCP are to provide this form to the VHA facility Employee
      Occupational Health Office. Secure electronic submission is permissible.


           7) O n c e a VHA employee checks the box and completes the exemption form, he or

    she is automatically exempted from the mandatory vaccination policy, and permitted to continue

    in the same job function, with the same duties and responsibilities. The only VHA requirement (or

    accommodation) f o r exempt employees is that they must wear a face mask according to

    requirements and guidelines within VHA Directive 1193, as stated on the exemption form above.

           8) O n July 28, 2021, I submitted the above exemption form.

           9) O n the same day, my exemption was formally acknowledged.
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                                     240




           10) M y exemption and accommodation permit me to continue all of my previous duties

    and responsibilities, including working on-site, interacting with colleagues, and providing quality

    and safe care to my patients. As part of my accommodation, I am required to use a mask, as stated

    in the exemption form. My individual facility is also requiring weekly testing for COVID-19. I

    comply with all of these requirements.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 16, 2021
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                                     240



                                                           EMPLOYEE WITNESS # 4
                                DECLARATION OF

            I,                     , declare as follows:

           1)       I am over the age of 18, and competent to testify as follows, based upon my personal

    knowledge.

           2)       I am employed as a Direct Support Professional at Shangri-La, in Salem, Oregon.

    Shangri-La is a non-profit human services organization dedicated to providing services, including

    healthcare services, to individuals with disabilities. My job responsibilities include providing

    direct support to individuals with intellectual disabilities.

           3)       The State of Oregon does not prohibit healthcare employers from providing

    religious exemptions and accommodations to healthcare employees with sincerely held religious

    objections to mandatory vaccinations.

           4)       On September 9, 2021, my employer granted me a religious exemption and

    accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

    notice that I received:
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          5)      My accommodation permits me to continue all of my previous duties and

   responsibilities, including working on-site, interacting with colleagues, and providing quality and

   safe care to individuals with intellectual disabilities. I am required to undergo weekly testing as

   part of my accommodation. I comply with this requirement.

          6)      I am personally aware that 2 other employees who work with me and who interact

    with both on-site clients and on-site colleagues were also granted religious exemptions and

    accommodations from the COVID-19 vaccination requirement.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

   and correct.

           Dated: September 16, 2021




                                                                                                   __
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                                     240



                                                            EMPLOYEE WITNESS # 5
                                 DECLARATION OF

                                      declare as follows:

           1)   I   am over the age of 18, and competent to testify as follows, based upon my personal

   knowledge.

           2)   I   am employed as a registered nurse at Saint Agnes Hospital in Fresno, California.

   St. Agnes is owned by Trinity Health, which employs about 123,000 healthcare workers at

   facilities in 22 states.

           3) T h e State o f California does not prohibit healthcare employers from providing

   religious exemptions and accommodations to healthcare employees with sincerely held religious

   objections to mandatory vaccinations.

           4) I n August 2021, Trinity Health granted m e a religious exemption and

   accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

   notice that I received:



                                              r i Trinity Health


                                            CASE N.
                                         CREATION DATE: 07 ■ 202


                               2021 Covid-19 Vaccination Document

                                             Colleague ID:
                                  Organization: F0I Saint Agnes Medical Center
                                      Legal Full Name:
                                      Preferred Name:




                              Is the 2021 Covid-19 Vaccination Fxem tion Approved?
                                                        Yes
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                                     240




           5) M y accommodation permits me t o continue all o f my previous duties and

   responsibilities, including working on-site, interacting with colleagues, and providing quality and

    safe care to my patients. As part of my accommodation, I am required to use PPE, monitor and

   report symptoms daily, submit to temperature checks upon entering my facility, and undergo

    COVID-19 testing twice per week. I comply with all of these requirements.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

   and correct.

           Dated: September 14, 2021
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                                     240


                                          EMPLOYEE WITNESS # 6
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                                     240




           6) M y accommodation permits me to continue all o f my previous duties and

   responsibilities, including working on-site, interacting with colleagues, and providing quality and

   safe care to my patients. As part of my accommodation, I am required to use PPE, self-monitor

   and report symptoms, and undergo weekly testing for COVID-19. I comply with all of these

   requirements.

           7)   1 am personally aware that 3 other individuals who work for Sutter Health and who

    interact with both on-site patients and on-site colleagues were also granted religious exemptions

    and accommodations from the COVID-19 vaccination requirement.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 14, 2021
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                                          E        EE       E
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                                    EMPLOYEE WITNESS # 8
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            7)      I   am personally aware that approximately 20 other employees who work at my

     hospital and who interact with both on-site patients and on-site colleagues were also granted

     religious exemptions and accommodations from the COVID-19 vaccination requirement.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021
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                                         EMPLOYEE WITNESS #
Case No. 1:21-cv-02637-RM-KAS Document 30 filed 11/04/21 USDC Colorado pg 178 of
                                     240




           5) M y accommodation permits me to continue all o f my previous duties and

    responsibilities, including working on-site, interacting with colleagues, and providing quality and

    safe care to my patients in the ICU. I am required to follow the same COVID-19 safety protocols

    that all other Multicare employees follow and have been following since the start of the pandemic..

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 16, 2021
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                                   EMPLOYEE WITNESS # 10
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                                     240




         5) M y accommodation permits me to continue all o f my previous duties and

  responsibilities, including working on-site, interacting with colleagues, and providing quality and

  safe care to my patients in the ICU. As part of my accommodation, I am required to use PPE and

  to wear a mask outside o f any enclosed, private office space. I comply with all o f these

  requirements.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

  and correct.

         Dated: September 16, 2021
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                                         EMPLOYEE WITNESS # 11
Case No. 1:21-cv-02637-RM-KAS Document 30 filed 11/04/21 USDC Colorado pg 182 of
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                    5) M y accommodation permits me to continue all o f my previous duties and

            responsibilities, including working on-site and in ambulances, interacting with colleagues, and

            providing quality and safe care to my patients. As part of my accommodation, 1am required to use

             PPE and test weekly for COVID-19. I comply with all of these requirements.

                   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

             and correct.

                   Dated: September 14, 2021
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                                       EMPLOYEE WITNESS # 12
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            6)   I   am personally aware that 2 other employees who work at my hospital and who

     interact with both on-site patients and on-site colleagues were also granted religious exemptions

     and accommodations from the COVID-19 vaccination requirement.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 16, 2021
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                                        EMPLOYEE WITNESS # 13
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                                          EMPLOYEE WITNESS # 14
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                                                      EMPLOYEE WITNESS # 15
                              DECLARATION OF

           I,                      , declare as follows:

            1) I am over the age of 18, and competent to testify as follows, based upon my personal

    knowledge.

           2) I am employed as a registered nurse in the Intensive Care Unit at Advocate Aurora

    Health/Memorial Hospital in Burlington, Wisconsin. Advocate Healthcare employs over 70,000

    healthcare workers in Wisconsin and Illinois.

            3) The State of Wisconsin does not prohibit healthcare employers from providing

    religious exemptions and accommodations to healthcare employees with sincerely held religious

    objections to mandatory vaccinations.

           4) On September 1, 2021, my employer granted me a religious exemption and

    accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

    notice that I received:
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                                'Your request br COVID Vaccine Rekpous Exemption
                                has been reviewed by the Exemption Committee

                                'our Exemption is:

                                  Approved. This approval grants you en exemption
                                iron receiving the COvID-19 vaccine this year end
                                !Or the duratIon of your employment wen AAH

                                 Appicra    f a r m   LOIN} swan* rthewman




                                . With the approval, you need to complete the
                                folcrwing raquiranairds•

                                    1. Must comply with current Advocate Aurora
                                           gi.iidanice on PPE use
                                    2. Must comply with current Advocate Aurora
                                           guidance on travel and testing requirements:
                                           and
                                    3. Nkiat complete me then-current SaleCheck, or
                                           deity COVID-19 syrnp1orn screening process
                                           prier to anteing an Advocate Aurora site.


           5) M y accommodation permits m e t o continue a l l o f m y previous duties and

    responsibilities, including working on-site, interacting with colleagues, and providing quality and

    safe care to my patients. As part of my accommodation, I am required to use PPE, self-monitor

    and report symptoms daily using a company app, and follow company guidance on travel and

    testing requirements. I comply with all of these requirements.

           6) I am personally aware that 12 other employees at my location who interact with both

    on-site patients a n d o n -site colleagues w e r e also granted religious exemptions a n d

    accommodations from the COVID-19 vaccination requirement.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 14, 2021
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                                     240



                                                         EMPLOYEE WITNESS # 16
                                 DECLARATION OF

           I,               , declare as follows:

           1)      I am over the age of 18, and competent to testify as follows, based upon my personal

    knowledge.

           2)      I am employed as a registered vascular ultrasound technician at Minneapolis Heart

    Institute in Minneapolis, Minnesota. Minneapolis Heart Institute is part of Allina Health, which

    employs 29,000 healthcare workers at 12 hospitals and 90 clinics in Minnesota and Wisconsin.

           3)      The State of Minnesota does not prohibit healthcare employers from providing

    religious exemptions and accommodations to healthcare employees with sincerely held religious

    objections to mandatory vaccinations.

           4)      On September 2, 2021, Allina Health granted me a religious exemption and

    accommodation from its mandatory COVID-19 vaccination policy. This is a true and accurate

    copy of the approval notice that I received:
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           5)      My accommodation permits me to continue all of my previous duties and

    responsibilities, including working on-site, interacting with colleagues, and providing quality and

    safe care to my patients. As part of my accommodation, I am required to use PPE, follow masking

    guidelines, and undergo regular testing for COVID-19. I comply with all of these requirements.

           6)      I am personally aware that at least 100 other employees within Allina Health, and

    very likely more, who interact with both on-site patients and on-site colleagues were also granted

    religious exemptions and accommodations from the COVID-19 vaccination requirement.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 16, 2021

                                                                                                    __
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                                     240



                                                   EMPLOYEE WITNESS # 17
                              DECLARATION OF

           I,                          , declare as follows:

           1)      I am over the age of 18, and competent to testify as follows, based upon my personal

    knowledge.

           2)      I am employed as a registered nurse in the pediatric emergency room at University

    of Chicago Medical Center, in Chicago, Illinois.

           3)      The State of Illinois does not prohibit healthcare employers from providing

    religious exemptions and accommodations to healthcare employees with sincerely held religious

    objections to mandatory vaccinations.

           4)      On September 1, 2021, my employer granted me a religious exemption and

    accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

    notice that I received:
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                                     240




           5) M y accommodation permits me to continue all o f my previous duties and

    responsibilities, including working on-site, interacting with colleagues, and providing quality and

    safe care to my patients. As part of my accommodation, I am required to use PPE, which I and all

    of my colleagues do.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 16, 2021
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                                           EMPLOYEE WITNESS # 18
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          6)      I   am personally aware that 15 other individuals at various Advocate Health facilities

   who interact with both on-site patients and on-site colleagues were also granted religious

   exemptions and accommodations from the COVID-19 vaccination requirement.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

   and correct.

          Dated: September 14, 2021
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                                          EMPLOYEE WITNESS # 19
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                                     EMPLOYEE WITNESS # 20
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                                     240




          5) M y accommodation permits me to continue all o f my previous duties and

   responsibilities, including working on-site, interacting with colleagues, and providing quality and

   safe care to ICU patients. As part of my accommodation, I am required to use PPE, self-monitor

   and report symptoms daily using a company app, and follow company guidance on travel and

   testing requirements. I comply with all of these requirements.

          6)    I   am personally aware that 1 other individual at my location who interacts with both

   on-site patients and on-site colleagues was also granted religious exemptions and accommodations

   from the COVID-19 vaccination requirement

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 14, 2021
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                                          EMPLOYEE WITNESS # 21
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                                     240




             5) M y accommodation permits me to continue all o f my previous duties and

      responsibilities, including working on-site, interacting with colleagues, and providing quality and

      safe care to my patients (inpatients, outpatients and ER patients). As part of my accommodation,

      I am required to use PPE as everyone else, follow masking guidelines, and undergo COVID-19

      testing twice per week. I comply with all of these requirements.

             6)   I   am personally aware that 5 other employees who work at my hospital and who

      interact with both on-site patients and on-site colleagues were also granted religious exemptions

      and accommodations from the COVID-19 vaccination requirement.

             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

      and correct.

             Dated: September 16, 2021
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                                        EMPLOYEE WITNESS # 22
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                                     240




    report symptoms, and observe physical distancing when and as possible. I comply with all of these

    requirements.

           6)       I am personally aware that at least 3 other employees at my location who interact

    with both on-site patients and on-site colleagues were also granted religious exemptions and

    accommodations from the COVID-19 vaccination requirement.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 16, 2021

                                                                _                              _____
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                                       EMPLOYEE WITNESS # 23
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                                     240




           5)       My accommodation permits me to continue all of my previous duties and

    responsibilities, including working on-site, interacting with colleagues, and providing quality and

    safe care to my patients. As part of my accommodation, I am required to use PPE, monitor and

    report symptoms, and observe physical distancing when and as possible. I comply with all of these

    requirements.

           6)       I am personally aware that at least 5 other employees at my location who interact

    with both on-site patients and on-site colleagues were also granted religious exemptions and

    accommodations from the COVID-19 vaccination requirement.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 16, 2021

                                                                _                                ____
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                                         EMPLOYEE WITNESS # 24
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     safe care to my patients. As part of my accommodation, I am required to use PPE, observe physical

     distancing and self-monitor and report symptoms. I comply with all of these requirements.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

           Dated: September 14, 2021
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                                       EMPLOYEE WITNESS # 25
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                                     240




          6)      I   am personally aware that 4 other employees at my location who interact with both

   on-site patients a n d o n -site colleagues were also granted religious exemptions a n d

   accommodations from the COVID-19 vaccination requirement.

          PursuAnt to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

   and correct.

          Dated: September 14, 2021
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                                                     EMPLOYEE WITNESS # 26
                              DECLARATION OF

           I,                       , declare as follows:

           1)      I am over the age of 18, and competent to testify as follows, based upon my personal

    knowledge.

           2)      I am employed as a bedside registered nurse in the Neuro Step Down Intensive Care

    Unit at Henry Ford Health System in Detroit, Michigan. Henry Ford Health employs over 30,000

    healthcare workers at over 40 hospitals.

           3)      The State of Michigan does not prohibit healthcare employers from providing

    religious exemptions and accommodations to healthcare employees with sincerely held religious

    objections to mandatory vaccinations.

           4)      On August 23, 2021, my employer granted me a religious exemption and

    accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

    notice that I received:
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           5)      My accommodation permits me to continue all of my previous duties and

    responsibilities, including working on-site, interacting with colleagues, and providing quality and

    safe bedside care to my patients. As part of my accommodation, I am required to use PPE and self-

    monitor and report symptoms. I comply with all of these requirements.

           6)      I am personally aware that 2 other employees at my location who interact with both

    on-site patients and on-site colleagues were also granted religious exemptions and

    accommodations from the COVID-19 vaccination requirement.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 14, 2021

                                                                                                _____
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                                       EMPLOYEE WITNESS # 27
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                                                        EMPLOYEE WITNESS # 28
                               DECLARATION OF

           I,                  , declare as follows:

           1)      I am over the age of 18, and competent to testify as follows, based upon my personal

    knowledge.

           2)      I am employed as a registered nurse at the Ambulatory Surgical Center of Temple

    University, in Philadelphia, Pennsylvania. Temple University has a premier educational and

    research health system.

           3)      The State of Pennsylvania does not prohibit healthcare employers from providing

    religious exemptions and accommodations to healthcare employees with sincerely held religious

    objections to mandatory vaccinations.

           4)      On September 10, 2021, Temple University granted me a religious exemption and

    accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the approval

    notice that I received:
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                                                     EMPLOYEE WITNESS # 29
                            DECLARATION OF

             I,                         , declare as follows:

             1)    I am over the age of 18, and competent to testify as follows, based upon my personal

    knowledge.

             2)    I am employed as a registered respiratory therapist at Holy Redeemer Hospital, in

    Meadowbrook, Pennsylvania. My hospital is part of the Redeemer Health System, which employs

    approximately 2,500 employees.

             3)    I also work on a per diem basis at St. Mary’s Medical Center, in Langhorne,

    Pennsylvania. This facility is part of Trinity Health.

             4)    The State of Pennsylvania does not prohibit healthcare employers from providing

    religious exemptions and accommodations to healthcare employees with sincerely held religious

    objections to mandatory vaccinations.

             5)    On August 12, 2021, Holy Redeemer Hospital granted me a religious exemption

    and accommodation from its mandatory COVID-19 vaccination policy. This is a copy of the

    approval notice that I received:




             6)    I have also received an exemption and accommodation from St. Mary’s and Trinity

   Health.
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           7)      At both of my employers, my accommodation permits me to continue all of my

    previous duties and responsibilities, including working on-site, interacting with colleagues, and

    providing quality and safe care to my patients. As part of my accommodation at Holy Redeemer

    Hospital, I am required to use PPE and to undergo periodic testing for COVID-19. At St.

    Mary’s/Trinity, I am required to use PPE, monitor and report symptoms, and observe physical

    distancing when and as possible. I comply with all of these requirements.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

    and correct.

           Dated: September 16, 2021

                                                                ____
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                                         EMPLOYEE WITNESS # 30
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                                         EMPLOYEE WITNESS # 31
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          5) M y accommodation permits me to continue all o f my previous duties and

   responsibilities, including working on-site, interacting with colleagues, and providing quality and

   safe care to my patients. As part of my accommodation, I am required to use PPE and undergo

   COVID-19 testing once per week (starting in October). I comply with all of these requirements.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

   and correct.

          Dated: September 16, 2021
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                                        EMPLOYEE WITNESS # 32
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            5) M y accommodation permits me to continue all o f my previous duties and

     responsibilities, including working on-site, interacting with colleagues, and providing quality and

     safe care to my patients. As part of my accommodation, I am required to use PPE, monitor and

     report symptoms, and observe physical distancing when and as possible. I comply with all of these

     requirements.

            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct.

            Dated: September 14, 2021
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                                                           Exhibit 21
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PROFESSIONAL DEVELOPMENT (/TOPIC/PROFESSIONAL-DEVELOPMENT)


Guidelines for the Consideration of Application for Transfer or Advanced Standing



Preamble: These guidelines are established:
                                                                                                                      Exhibit 22
   1. to assist medical schools in the handling of applications
      a. from individuals currently enrolled in a medical school who are interested in transfer to another medical school,
      b. from individuals previously, but not currently, enrolled in a medical school who are interested in enrollment with advanced standing at a medical school,
         and/or
      c. from individuals with specialized education and training who are interested in enrollment with advanced standing at a medical school, and
   2. to ensure communication and cooperation among medical schools and between medical schools and the AAMC.
      a. Once a student enters medical school, it is expected that the individual has chosen a school where he/she will remain for completion of the entire
         undergraduate medical curriculum. However, circumstances may arise that cause an individual to seek transfer to another medical school. A medical
         student has a right to apply for transfer from one medical school to another medical school. A medical school has a responsibility to provide a transcript of
         the individual's academic record and a letter of evaluation, if requested by the student, to another medical school.
      b. Medical schools should not recruit applicants for transfer from other institutions. The acceptance of transfers should be limited to students who
         demonstrate compelling circumstances as one of the reasons for their request for transfer.
      c. Each medical school determines whether or not it will accept transfer students.
      d. Schools that accept transfer students should develop and publish criteria for the acceptance of transfer applicants or applicants for advanced standing.
      e. Schools that accept transfer students should develop and publish the timetable for the availability of transfer application material; deadline dates for the
         receipt of applications and for the receipt of transcripts, the school letter of evaluation, and faculty recommendations; and the date for notification of
         acceptance. The application materials should include information about the approximate number of places available for transfer students for the next
         academic year and the criteria for selection.
       f. Applications for transfer or advanced standing should include an official transcript and an official letter of evaluation from the Dean/Associate Dean for Student
         Affairs or other appropriate official of the applicant's current school.
          i. The transcript should document the individual's entire academic history at the medical school, including notation of any leaves-of-absence, schedule
            modifications, and an explanation of the grading system. If any of these items are not included on the school's transcript, they should be included in the
            letter of evaluation.
          ii. The letter of evaluation should state the eligibility (or expected eligibility) of the individual for promotion to the next academic year at the student's
            current school. The letter should address the academic and non-academic qualifications of the individual for the eventual practice of medicine. Specific
            comment should be included on any infractions of the school's code of ethical and behavioral conduct.
         iii. The application for transfer or advanced standing should include a question asking the applicant to state whether he or she has ever been the recipient
            of any action by any postsecondary institution for unacceptable academic performance such as dismissal, disqualification or suspension, or for
            conduct violations.
      g. It is recommended that a school's transfer application deadline be no later than May 1 preceding the academic year of anticipated enrollment.
      h. It is recommended that the school accepting the student telephone or email the Associate Dean of Student Affairs or other appropriate official at the
         student's current school at the time an acceptance is offered. A copy of the letter of acceptance should be sent to the Associate Dean for Student Affairs at
         the institution where the applicant is currently enrolled at the time of acceptance.
       i. The letter of acceptance for a transfer should state clearly the starting date, the year of the curriculum that the student will enter, any conditions of
         acceptance (such as a passing score on the USMLE), and implications for the transfer student if all conditions of the transfer are not met.
       j. Ideally, an individual should not be permitted to enroll as a transfer student at the receiving school prior to receipt of an official letter of acceptance by the
         student and confirmation by the receiving school that the student has resigned from the student's current school. If another arrangement is used, it should
         be with the full understanding of both schools.
      k. Medical schools are expected to report acceptances of Advanced Standing/Transfer Students to the AAMC by adding and updating the acceptee's
         information in the Student Records System (SRS).
       l. Medical schools are expected to notify the AAMC when an accepted applicant withdraws as a candidate for admission so that the Advanced
         Standing/Transfer Student Master Acceptance List can be maintained accurately.


Developed by the Group on Student Affairs Steering Committee, March 20, 1995
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Approved by the AAMC Executive Council, June 22, 1995


Updated July 18, 2016




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                                          Tuesday, October 19, 2021 at 6:35:15 PM Mountain Daylight Time

Subject:    Vaccine Veriﬁca*on Process Completed
Date:       Monday, September 13, 2021 at 3:11:56 PM Mountain Daylight Time
From:       vaccine@cuanschutz.edu
To:
AFachments: Vaccine Veriﬁca*on Form - 9-13-2021.*f

Hello


Thank you for completing the University of Colorado Anschutz Medical Campus vaccine verification
process. You have attested that you are vaccine exempted. Please keep this email for your records.


If you are fully vaccinated, there is no further action needed.


If you are not fully vaccinated, have submitted an exemption or have registered partially
vaccinated, CU Anschutz requires that you follow all established safety protocols while on campus
(complete the daily health questionnaire; wear a mask; observe physical distancing; self-report if
symptomatic, test positive or exposed). A requirement for regular COVID-19 testing will follow.


Learn about current campus protocols: CU Anschutz Return to Campus Information


Find campus FAQ’s: CU Anschutz COVID-19 FAQs


Thank you for helping keep #CUAnschutzTogether.




                                                                         Exhibit 23
                                                                                                  Page 1 of 1
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 September 7, 2021

 VIA ELECTRONIC.MAIL

                    @cuanschutz.edu


 Re: Request to Consider Vaccine Exemption based on Religious Grounds

 Dear           :


 Wereceived your submission for religious exemption from the campus COVID-19 vaccination
 requirement. Pursuant to guidance from the CU Anschutz Exemption Verification Team, we have the
 following information and decision regarding your request.

 The University adopted its COVID-19 Vaccination Policy for the purpose of protecting the health and
 safety of the campus community including the patients that medical students treat in University, UC
 Health, and Children’s Hospital clinics. The University determined that a mandatory vaccination
 requirementfor its employees and students is the best way to accomplishthis goal.

 Arecent study by the Centers for Disease Control and Prevention found thatindividuals who have not
 been vaccinated were nearly five times morelikely to be infected with COVID-19 than vaccinated
 people. In addition, the study found that unvaccinated people are about 29 times morelikely to be
 hospitalized with COVID-19 than those who are fully vaccinated. *

 The University’s mandatory vaccination policy offers exemptions based on a person’s religious belief
 whoseteachings are opposedto all immunizations,i.e., your religion teaches you and all other
 adherentsimmunizationsareunderallcircumstances:Whenaskedtoexplainhow your
 religious beliefs prevent you from receiving the COVID-19 vaccine, you respondedthat you object based
 on yourbelief that the COVID-19 vaccines were developed from human cell lines derived from abortion.

 The basis for your objection to vaccination against COVID-19is of a personal nature and notpart of a
 comprehensive system ofreligious beliefs.

 Having considered your exemption request and the campus COVID-19 vaccination policy, your requestis
 not approved.

 Please submit verifiable documentation indicating you have received the first COVID-19 vaccine dose to
 the School’s Associate Dean for Student Affairs and Admissions, and submit your verification via the
 campusportal by September 15, 2021. Youwill be allowed to continue attending school between the
 time you receive yourfirst vaccination and the time you are fully vaccinated (two weeks after you
 receive the second dose of the Pfizer or Moderna vaccine or the single dose of the J84 vaccine). For any
 in-person activities, you will be required to follow campus safety protocols for unvaccinated individuals
 as set out in University policy, including, but not limited to, weekly testing, masking, and social
 distancing where possible.




 Y Morbidity and Mortality Weekly Report, Centers for Disease Control and Prevention, August 27, 2021.



                                                                                           Exhibit 24
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 Alternatively, if you do not intend to submit documentation that you have received the first COVID-19
 vaccine dose to the Associate Dean for Student Affairs and Admissions by September 15, 2021, you may
 request-a-Leave-of Absence from the School or withdraw from the School-by September 15;2021. Your
 fall 2021 tuition and fees will be returned if you withdraw or go on a leave of absence. Please let the
 Associate Dean for StudentAffairs and Admissions know if you wouldlike more information about any
 theseoptions.


 Failure to select any of these optionswill result in referral to the Student Performance Committee for
 further action, up to and including dismissal.

 Sincerely,




 Eric P. Mediavilla, DDS
 Associate Dean for Student Affairs and Admissions
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                                                         Exhibit 25
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                                                          Exhibit 26
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                                                                       Academ c Off ce 1
                                                                       Ma Stop 8202
                                                                                  th
                                                                       12631 E. 17 Avenue
                                                                       Aurora, Co orado 80045
                                                                       p 303.724.1764 f 303.724.1761

  Having considered your exemption request, it is denied. You must submit documentation that
  you have received the first vaccine to the Anesthesiologist Assistant Program and via the campus
  portal by September 1, 2021. Even if the University had approved your exemption, an
  accommodation would not be possible because of the undue burden it would cause to the
  Program’s ability to provide safe patient care. You will be allowed to continue attending school
  between the time you receive your first vaccination and the time you are fully vaccinated (two
  weeks after you receive the second dose of the vaccine).

  Alternatively, if you do not intend to submit documentation that you have received the first
  vaccine by September 1, 2021, you may withdraw from the Program or request a Leave of
  Absence from the Program by September 1, 2021.

  Failure to select any of these options will result in further action by the Program, up to and
  including dismissal.

  Sincerely,




  Ann-Michael Holland, MMSc, CAA
  Director, Master of Science Program
  Department of Anesthesiology
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                                                                           Academic Office 1
                                                                           Mail Stop 8202
                                                                           12631 E. 17th Avenue
                                                                           Aurora, Colorado 80045

Date: September 3, 2021

To:
       Anesthesiologist Assistant Student
       Master of Science Program
       Department of Anesthesiology

Dear       ,

In response to the significant risks associated with the ongoing COVID-19 pandemic to all healthcare
professions, the University of Colroado’s Anschutz Medical Campus adopted a campus-wide policy that
requires all students, staff, and faculty to submit proof of vaccination against COVID-19 or receive an
approved medical or religious exemption.

The campus policy states that religious exemptions will be approved if they indicate that the individual
holds religious beliefs that are opposed to all vaccinations.

In your exemption request, you stated that you object to all of the COVID-19 vaccines based on your
belief that those COVID-19 vaccines were developed from human cell lines derived from abortion.

On August 26, 2021, Dr. Shanta Zimmer sent you an email explaining that your religious exemption
request did not meet the policy requirement and explaining the alternative options available to you,
including leave of absence or withdrawal.

On August 30, 2021, you received a letter from Ms. Ann-Michael Holland, the Program Director of the
Anesthesiologist Assistant Program (“Program”) denying your religious exemption request because the
rationale provided does not constitute a religious belief, but a personal objection to receiving the
COVID-19 vaccines.

On August 31, 2021, you provided Ms. Holland with a letter expressing your view as to why you believe
your religious exemption request should have been approved.

On August 31, 2021, you also had a conversation with Ms. Holland as well as Mr. David Dunipace from
the program regarding the denial of your religious exemption request. As you discussed and pursuant to
the Program Handbook, your failure to comply with University Policy and the Program Handbook could
be sent to the Progress and Promotions Committee (“PPC”) for consideration to determine whether that
policy violation constituted Nonclinical Misconduct. You agreed that it should be sent to the PPC to
make that determination.

On August 31, 2021, Ms. Holland sent you an email and letter confirming that this matter would be
referred to the PPC and attaching the documents that the Progress & Promotions Committee would
review as well as the letter from Ms. Holland confirming the referral to the PPC. Ms. Holland also
attached the Program Handbook for your reference regarding the PPC’s involvement and the appeals
process.

                                                                        Exhibit 27
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                                                                           Academic Office 1
                                                                           Mail Stop 8202
                                                                           12631 E. 17th Avenue
                                                                           Aurora, Colorado 80045



The PPC met on August 31, 2021 at 7:30 pm and determined that the policy violation at-issue would
constitute Non-Clinical Misconduct.

On September 1, 2021, Ms. Amy Hebbert sent you an email attaching a letter that conveyed that
decision by the PPC that the policy violation at-issue constitutes Non-Clinical Misconduct, specifically,
“Neglecting mandatory requirements for Program and University compliance.”

On September 1, 2021, you stated that you would like to appear before the PPC as soon as possible.
Although the Program asked if you would like additional time to consider a withdrawal or a leave of
absence before appearing before the PPC, you answered in the negative and reiterated that you wished to
appear before the PPC.

On September 3, 2021 at 9 am, the PPC was convened on short notice to provide you an opportunity to
address them regarding the policy violation. On September 3, 2021, you appeared before the PPC along
with your student advocate, Dr. John Repine.

You presented your case and participated in answering any questions from the PPC.

On September 3, 2021, after due deliberation and consideration of all documentation, evidence and
information as described above, the Committee recommended to me that in accordance with University
Policy and the Program Handbook Non-Clinical Misconduct (pages 25 through 26), you should be
dismissed from the University of Colorado Master of Science in Anesthesiology Program.

I have received the Committee’s recommendation and accept that decision. Please be aware of the
appeals process as described in detail in the Program Handbook on pages 30 through 31.

If you wish to appeal the Committee’s decision, you must let me know in writing of the desire to appeal
and the reason for doing so by the end of the day on Tuesday September 7, 2021. At that time, I will
initiate the process with the Department of Anesthesiology’s Acting Vice Chair of Education, Dr. Shanta
Zimmer.

We understand this is an extremely difficult situation and we appreciate your participation in the
process. Please do not hesitate to reach out if you have any questions.



Ann-Michael Holland, MMSc, CAA
Director
Master of Science Program
Department of Anesthesiology
School of Medicine

Copy to Dr. John Repine and Dr. Shanta Zimmer
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                                  Campus Administrative Policy

  Policy Title:    COVID-19 Vaccination Requirement and Compliance


  Policy Number: 3012               Functional Area: General Administration


  Effective:                        September 24, 2021
  Date Last Amended/Reviewed:       September 24, 2021
  Date Scheduled for Review:        September 24, 2028
  Supersedes:                       COVID-19 Vaccination Requirement and Compliance
                                    September 1, 2021

  Approved by:                      Donald M. Elliman, Jr
                                    Chancellor, University of Colorado Anschutz Medical Campus

  Prepared by:                      Office of University Counsel

  Reviewing Office:                 Office of the Chancellor of the CU Anschutz Medical Campus
  Responsible Officer:              Executive Vice Chancellor for Administration and Finance |
                                    CFO, University of Colorado Anschutz Medical Campus

  Applies to:                       CU Anschutz Medical Campus


   A.    INTRODUCTION

         The purpose of this policy is to protect the health and safety of the University of Colorado
         Anschutz Medical Campus (“CU Anschutz”) community, including all faculty, staff,
         students, badged affiliates, persons of interest (POIs), visitors, and volunteers
         (“Individuals”) who work or learn on the Anschutz Medical Campus or off campus in
         connection with CU Anschutz programs. This policy requires all Individuals who
         currently or may in the future access any CU Anschutz facility or participate in any CU
         Anschutz program, or whose employment or academic activities may require in-person
         interaction with other CU Anschutz employees, students, patients, study subjects, or
         members of the public, regardless of location, to become fully vaccinated against
         COVID-19 with a vaccine that has been approved by the World Health Organization
         (“WHO”) as of June 1, 2021, subject to limited exceptions and exemptions.1 In addition,
         this policy requires Individuals to receive booster shots for those specific vaccines, as

  1
   As of June 1, 2021, the WHO has approved the following COVID-19 vaccines: Pfizer-BioNTech,
  Moderna, Johnson & Johnson, Oxford–AstraZeneca, Sinovac, and Sinopharm.

                                                  1
                                                                              Exhibit 28
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        required or recommended by the WHO or Centers for Disease Control.

        All faculty, staff, badged affiliates, and POIs must submit proof of COVID-19 vaccination
        prior to the individual’s start date or prior to accessing or participating in any CU Anschutz
        program. Students must submit proof of COVID-19 vaccination in accordance with their
        program deadline, which varies by program. Students who will initially participate in
        University-related activities remotely will be required to submit proof of COVID-19
        vaccination before starting any in-person component of their curriculum whether on
        campus, or at a clinical site or remote location. Individuals who do not provide proof of
        vaccination may be subject to additional safety protocols as described more fully below.


   B.   DEFINITIONS

        1.    The term “employees” includes, but is not limited to, all full and part -time staff,
              faculty, post-doctoral fellows, medical residents, predoc trainees, and fellows.

        2.    The term “badged affiliates” includes, but is not limited to, any individual who has
              a CU Anschutz badge to access campus facilities, whether leased or owned on or
              off campus, including badged contractors and employees at affiliated institutions
              who have a CU Anschutz badge and access campus facilities on a regular basis.

        3.    The term “students” includes, but is not limited to, all students, including part-
              time, full-time, degree-seeking, non-degree seeking, hybrid (combination of
              online and in person, either: (i) on campus and/or (ii) in clinical settings), visiting
              students, undergraduate, or graduate students enrolled at CU Anschutz.

   C.   POLICY STATEMENT

        All Individuals, who are, or may access any University facility or participate in any
        University program, or whose employment or academic activities may require in-person
        interaction with other CU Anschutz employees, students, patients, study subjects or
        members of the public, including external conferences, regardless of location, must be
        fully vaccinated against COVID -19unless they have received an approved medical or
        religious accommodation as further described below. Individuals are required to
        comply with this Policy, regardless of the Individual’s frequency on campus or
        interaction with other employees, students, patients, or others. For example, even a one-
        time visit or interaction requires compliance.

        Positions or programs that require on-campus presence or interaction with others will not
        be allowed to be performed remotely in order to avoid compliance with this Policy.
        However, Individuals who hold positions that have been previously approved by a
        supervisor as being 100% remote without any current or future presence at any CU
        Anschutz facility (owned or leased) or participation in any Anschutz program, or whose
        employment or academic activities do not require in-person interaction with other CU
        Anschutz employees, students, patients or study subjects of the Anschutz Medical
        campus, regardless of location, are not required to be comply with this policy. Schools,
        departments, and units may implement additional rules, and requirements, related to
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           university business that takes place off-campus. It is recommended that university
           events that are held off-campus follow the university safety protocols, including, but not
           limited to wearing masks, social distancing, and not attending if feeling sick.

         1.       Vaccine Verification

                   All Individuals must submit verification of COVID-19 vaccination. Employees,
                   badged affiliates, POIs, and volunteers must submit verification of their COVID-
                   19 vaccination via the campus verification system. Submission of false or
                   fabricated vaccine information may be grounds for discipline, including
                   termination of employment or dismissal from a program. Visitors will not be
                   required to submit verification via the campus verification system, but will be
                   required to submit verification to the department or unit hosting their visit. It is
                   the responsibility of the unit who is hosting the visitor to ensure the visitor’s
                   compliance with this Policy. Students must submit proof of COVID-19
                   vaccination to their individual Schools/College/programs in the same manner that
                   they would submit proof of other required vaccinations.

                   In the absence of an approved medical or religious accommodation under Section
                   2 of this Policy, an Individual’s failure to provide valid proof of vaccination may
                   lead to discipline, up to and including termination. Schools, departments, or
                   individual units may require addition documentation verifying vaccine status,
                   beyond what is required by the campus verification system, including providing a
                   vaccine card.

         2.       Accommodations

                  Individuals may receive a medical or religious accommodation if they are unable to
                  receive the vaccine for medical reasons or sincerely held religious beliefs as further
                  described below. Supervisors and unit heads will be made aware that an Individual
                  has received an accommodation, but will not be aware of the reason for the
                  accommodation.

                  A medical accommodation may be granted if vaccination is absolutely
                  contraindicated due to other medical conditions.2 A Physician (MD, DO),
                  Advanced Practice Nurse (APN), or Physician Assistant licensed in Colorado,
                  must sign the medical exemption form and attest to the accuracy of the
                  information contained therein. Employees, badged affiliates, visitors, and
                  volunteers must submit their medical exemption forms via the approved campus
                  database, which is a campus-wide platform. Students must submit their medical
                  exemption forms to their individual Schools/College/programs in the same manner
                  that they would submit exemptions for other required vaccinations. A medical
                  accommodation will not be granted, if the accommodation poses an undue
                  hardship or the accommodation poses a direct threat to the health or safety of the

 2
  Currently, the only absolute contraindications to COVID-19 vaccination are i) severe immediate allergic reaction to
 a previous dose or to a component of the COVID-19 vaccine, ii) immediate reaction of any severity to a previous
 dose or known (diagnosed) allergy to a component of the COVID-19 vaccine.
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                  Individual or others.

                  A religious accommodation may be granted based on an employee’s religious
                  beliefs. Employees must submit their religious accommodation request form via
                  the campus verification system. A religious accommodation will not be granted
                  if the accommodation would unduly burden the health and safety of other
                  Individuals, patients, or the campus community.

                  Religious accommodations are not currently available to students or applicants.

                  Individuals who are granted medical or religious accommodations will be
                  required to adhere to additional safety protocols, including, but not limited to
                  wearing masks, social distancing, staying home when sick, quarantining in
                  accordance with current Centers for Disease Control (“CDC”) guidance,
                  submitting daily attestations, and undergoing frequent asymptomatic testing.3

                  Unvaccinated Employees, Badged Affiliates, or POIs who fail to complete the
                  COVID -19 verification form or comply with required safety protocols for
                  accommodated individuals will be referred to their Supervisor for potential
                  action and/or discipline, up to and including termination. Supervisors will be
                  required to provide Campus Human Resources with information regarding such
                  action and/or discipline with respect to unvaccinated employees.

                  Unvaccinated students who fail to submit verification of vaccination or comply
                  with required safety protocols for accommodated individuals may be referred to
                  their respective School/College/program for potential action and/or discipline, up
                  to and including termination from the program. Schools/College/programs will be
                  required to provide the Associate Vice Chancellor for Student Affairs at CU
                  Anschutz with information regarding such action and/or discipline.

                  Individuals who are not vaccinated and do not have an approved medical or
                  religious accommodation, will not be allowed to access University facilities or
                  programs in person. Individuals who previously tested positive for COVID-19
                  will not be granted an accommodation unless they obtain a note from a
                  physician or health care provider that indicates vaccination is absolutely
                  contraindicated.

                  The COVID-19 pandemic and its impact on campus operations is rapidly
                  evolving.

                  Individuals are encouraged to consult the COVID-19 website referenced in
                  Section D(4) below on a regular basis for up-to-date information regarding CU


  3
   Currently, Individuals who are required to submit to ongoing asymptomatic testing will be required to do so on
  a weekly basis, but the frequency of testing is subject to change at CU Anschutz’ discretion based on evolving
  medical and scientific recommendations.

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                 Anschutz’ COVID-19-related policies, procedures, and guidance.

       3.        Reasonable Accommodations under the ADA

                 CU Anschutz recognizes that some medical conditions may be protected under
                 the Americans with Disabilities Act and amendments (“ADA”), entitling
                 students and employees to request reasonable accommodations.

                 If you are a student at the CU Anschutz Medical Campus and need to make an
                 application for reasonable accommodations or need information regarding the
                 ADA, contact the Office of Disability Access and Inclusion at (303) 724-5640
                 or disabilityresources@cuanschutz.edu.

                 If you are an employee and need to make an application for reasonable
                 accommodations or need information regarding the ADA, contact the ADA
                 Coordinator at (303) 315-2700 or HR.ADACoordinator@ucdenver.edu.

  D.    RELATED POLICIES, PROCEDURES, FORMS, GUIDELINES, AND
        OTHER RESOURCES

        1.       Related Administrative Policy Statements (APS) and Other Policies

             •    Campus Policy 7014: Student Immunization Requirements and
                  Compliance

        2.       Forms

             •    CU Anschutz Student Medical Exemption Form

        3.       Other Resources (i.e., training, secondary contact information)

             •    CU Anschutz COVID-19 Resources
             •    EEOC What you Should Know About COVID-19 and the ADA, the
                  Rehabilitation Act, and other EEOC laws

 Notes
 1.    Dates of official enactment and amendments:

       June 3, 2021: Approved by the CU Anschutz Chancellor

 2.    History:

       June 3, 2021: This is a new policy. As part of CU Anschutz ongoing response to the
       COVID-19 pandemic, the University of Colorado system decided to require that all
       faculty and staff be vaccinated against COVID-19 by September 1, 2021, and that all
       students be vaccinated against COVID-19 before the start of each respective School’s Fall
       Semester. Chancellor Elliman further decided that this Policy will apply to volunteers,
       visitors, and badged affiliates who come to CU Anschutz Medical Campus. Religious
                                                   5
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       and Medical Exemptions from the Policy are available.

       September 1, 2021: Updated for clarifying language and forms section

       September 24, 2021: Clarifying language for religious and medical accommodations.

 3.    Initial Policy Effective Date: June 2, 2021

 4.    Cross References/Appendix:

       •   Campus Policy 7014: Student Immunization Requirements and Compliance
       •   CU Denver Student Code of Conduct




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